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               EXHIBIT A
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                                Pachulski Stang Ziehl & Jones LLP
                                        10100 Santa Monica Blvd.
                                               13th Floor
                                         Los Angeles, CA 90067
                                                                        October 31, 2021
JIS                                                                     Invoice 129229
                                                                        Client   85353
                                                                        Matter   00002
                                                                                 JIS

RE: Tort Claimants' Committee

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2021
               FEES                                                    $1,927,818.75
               EXPENSES                                                  $35,083.66
               TOTAL CURRENT CHARGES                                   $1,962,902.41

               BALANCE FORWARD                                         $6,812,442.79
               TOTAL BALANCE DUE                                       $8,775,345.20
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  Summary of Services by Professional
  ID        Name                            Title                   Rate           Hours               Amount

 AJK        Kornfeld, Alan J.               Partner               1145.00          27.00         $30,915.00

 ARP        Paul, Andrea R.                 Case Man. Asst.        350.00           0.50              $175.00

 BDD        Dassa, Beth D.                  Paralegal              425.00           0.30              $127.50

 BEL        Levine, Beth E.                 Counsel                825.00         142.70        $117,727.50

 CAK        Knotts, Cheryl A.               Paralegal              395.00           2.70             $1,066.50

 CHM        Mackle, Cia H.                  Counsel                675.00           1.00              $675.00

 CJB        Bouzoukis, Charles J.           Case Man. Asst.        350.00           2.70              $945.00

 CMC        Curts, Chuck M.                 Other                  395.00           1.80              $711.00

 DG         Grassgreen, Debra I.            Partner               1095.00          56.50         $61,867.50

 DHH        Hinojosa, Diane H.              Paralegal              395.00          20.20             $7,979.00

 GFB        Brandt, Gina F.                 Counsel                825.00          16.90         $13,942.50

 GNB        Brown, Gillian N.               Counsel                795.00         165.00        $131,175.00

 GSG        Greenwood, Gail S.              Counsel                825.00           1.60             $1,320.00

 IAWN       Nasatir, Iain A. W.             Partner               1025.00         158.70        $162,667.50

 JEO        O'Neill, James E.               Partner                925.00         141.80        $131,165.00

 JIS        Stang, James I.                 Partner               1195.00         116.60        $139,337.00

 JKH        Hunter, James K. T.             Counsel               1095.00          38.30         $41,938.50

 JSP        Pomerantz, Jason S.             Partner                850.00          50.50         $42,925.00

 JWL        Lucas, John W.                  Partner                825.00         222.10        $179,726.25

 KHB        Brown, Kenneth H.               Partner                995.00         132.90        $132,235.50

 KKY        Yee, Karina K.                  Paralegal              425.00          41.50         $17,637.50

 KLL        LaBrada, Kerri L.               Paralegal              460.00           5.90             $2,714.00

 KSN        Neil, Karen S.                  Case Man. Asst.        350.00          11.40             $3,990.00

 LAF        Forrester, Leslie A.            Other                  450.00          13.40             $6,030.00

 LCT        Thomas, Elizabeth C.            Paralegal              425.00           0.80              $340.00

 MAM        Matteo, Mike A.                 Paralegal              395.00          79.80         $31,521.00

 MBL        Litvak, Maxim B.                Partner                950.00           0.30              $285.00

 MK         Kulick, Myra                    Other                  395.00          14.20             $5,609.00

 MPK        Manning , Miriam                Counsel                795.00         120.00         $95,400.00

 MSP        Pagay, Malhar S.                Partner                875.00         220.30        $192,762.50
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 NLH        Hong, Nina L.                  Partner                875.00         6.00             $5,250.00

 PEC        Cuniff, Patricia E.            Paralegal              425.00         0.60              $255.00

 PJJ        Jeffries, Patricia J.          Paralegal              425.00        13.20             $5,610.00

 RBO        Orgel, Robert B.               Partner               1145.00        62.70         $71,791.50

 RMS        Saunders, Robert M.            Counsel                825.00        78.30         $64,597.50

 SLL        Lee, Sophia L.                 Other                  395.00        18.00             $7,110.00

 SWG        Golden, Steven W.              Associate              625.00       200.40        $125,250.00

 TCF        Flanagan, Tavi C.              Counsel                875.00        17.00         $14,875.00

 VAN        Newmark, Victoria A.           Counsel               1050.00        56.20         $59,010.00

 WLR        Ramseyer, William L.           Counsel                795.00        24.10         $19,159.50

                                                                             2283.90        $1,927,818.75
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  Summary of Services by Task Code
  Task Code         Description                                                Hours                         Amount

 BL                 Bankruptcy Litigation [L430]                                36.20                      $22,854.00

 CA                 Case Administration [B110]                                  37.00                      $14,655.00

 CO                 Claims Admin/Objections[B310]                               37.20                      $18,856.50

 CP                 Compensation Prof. [B160]                                    9.40                       $6,702.00

 CPO                Comp. of Prof./Others                                        3.30                       $1,887.50

 GC                 General Creditors Comm. [B150]                             284.10                  $224,634.00

 H                  Hearings                                                    26.10                      $25,179.50

 IC                 Insurance Coverage                                           3.90                       $4,082.50

 ME                 Mediation                                                   70.20                      $73,877.00

 NT                 Non-Working Travel                                           8.50                       $3,506.25

 PD                 Plan & Disclosure Stmt. [B320]                            1766.10                $1,530,126.00

 RPO                Ret. of Prof./Other                                          0.90                        $582.50

 SL                 Stay Litigation [B140]                                       1.00                        $876.00

                                                                              2283.90                $1,927,818.75
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  Summary of Expenses
  Description                                                                              Amount
Attorney Service [E107]                                                                 $3,939.25
Auto Travel Expense [E109]                                                              $1,144.60
Bloomberg                                                                                 $262.69
Conference Call [E105]                                                                     $14.20
Federal Express [E108]                                                                    $115.51
Filing Fee [E112]                                                                          $75.00
Hotel Expense [E110]                                                                    $1,493.34
Lexis/Nexis- Legal Research [E                                                          $1,708.69
Outside Services                                                                       $21,139.05
Pacer - Court Research                                                                    $869.80
Postage [E108]                                                                            $426.13
Reproduction Expense [E101]                                                                $78.60
Reproduction/ Scan Copy                                                                 $3,336.80
Transcript [E116]                                                                         $480.00

                                                                                       $35,083.66
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                                                                                            Hours            Rate       Amount

  Bankruptcy Litigation [L430]
 10/01/2021   PEC     BL        Prepare Objection to Debtors' Motion for Protective           0.40        425.00         $170.00
                                Order for filing and service (.3); Draft Certificate of
                                Service (.1)

 10/01/2021   JEO     BL        Finalize TCC's Objection to Debtors' Motion for               1.40        925.00        $1,295.00
                                Protective Order

 10/03/2021   JIS     BL        Calls with J. Lucas re settlement of preliminary              0.40      1195.00          $478.00
                                injunction and confidentiality issues.

 10/03/2021   JEO     BL        Review emails regarding extension of Preliminary              0.50        925.00         $462.50
                                Injunction Stipulation

 10/03/2021   MPK     BL        Review docket re mediation motion, objections,                1.30        795.00        $1,033.50
                                ruling and email to V. Newmark re same

 10/03/2021   JWL     BL        Review and revise BSA's changes to the sixth                  3.30        825.00        $2,722.50
                                stipulation regarding extension of the preliminary
                                injunction (.7); review of further BSA changes to
                                sixth stipulation and prepare email to BSA in
                                response (.4); another review and revise of BSA's
                                changes to the sixth stipulation (.4); call with M.
                                Linder regarding changes to sixth stipulation (.5);
                                call with J. Stang regarding same (.4); another call
                                with M. Linder and M. Andolina regarding six
                                stipulation (.3); further calls with M. Linder
                                regarding finalizing sixth stipulation (.3); review
                                final sixth stipulation and respond for sign-off (.3);

 10/04/2021   GNB     BL        Email with Malhar S. Pagay regarding preparation              0.10        795.00          $79.50
                                for internal PSZJ call today; Email with Matthew K.
                                Babcock and Malhar S. Pagay regarding preparation
                                for call today with PSZJ and Berkeley Research
                                Group, LLC.

 10/04/2021   GNB     BL        Briefly review insurers’ group statement regarding            0.10        795.00          $79.50
                                discovery deadlines.

 10/04/2021   MSP     BL        Email exchange with James I. Stang, et al. re:                0.10        875.00          $87.50
                                Washburn litigation.

 10/04/2021   JEO     BL        Review pleadings filed by pro se claimant Washburn            0.80        925.00         $740.00
                                (.6) and send email to PSZJ team re same (.2)

 10/05/2021   BDD     BL        Research discovery issues for G. Brown and email              0.20        425.00          $85.00
                                G. Brown re same.

 10/06/2021   BDD     BL        Emails G. Brown and S. Golden re discovery project            0.10        425.00          $42.50

 10/07/2021   KKY     BL        Draft notice of service of discovery (propounding             0.30        425.00         $127.50
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                                                                                             Hours            Rate       Amount
                                insurers)
 10/07/2021   KKY     BL        Draft notice of service of discovery (FCR)                     0.30        425.00         $127.50

 10/07/2021   KKY     BL        Draft notice of service of discovery (TCJC)                    0.30        425.00         $127.50

 10/07/2021   KKY     BL        Review and revise notice of service of discovery               0.20        425.00          $85.00
                                (Debtors)

 10/07/2021   KKY     BL        Correspond with team re service of discovery                   0.40        425.00         $170.00

 10/08/2021   GFB     BL        Review and respond to emails with Malhar Pagay                 0.10        825.00          $82.50
                                regarding document review project.

 10/08/2021   KKY     BL        Review and revise participating parties service list           3.80        425.00        $1,615.00

 10/08/2021   KKY     BL        Prepare for filing and service subpoenas                       2.20        425.00         $935.00

 10/08/2021   KKY     BL        Email (.1) to Reliable re service of subpoenas; and            0.30        425.00         $127.50
                                prepare (.2) attachments to same

 10/11/2021   GNB     BL        Email with Steven W. Golden regarding pro se                   0.10        795.00          $79.50
                                abuse survivor complaint against Official Committee
                                of Tort Claimants.

 10/11/2021   JKH     BL        Emails from, to Steven W. Golden regarding and                 0.40      1095.00          $438.00
                                review of Washburn complaint

 10/11/2021   JEO     BL        Finalize notice of withdrawal of 2004 motion and               1.00        925.00         $925.00
                                arrange for filing and service

 10/11/2021   SWG     BL        Research and begin drafting motion to dismiss                  3.40        625.00        $2,125.00
                                adversary complaint.

 10/12/2021   KKY     BL        Prepare for filing and service notice of withdrawal re         0.20        425.00          $85.00
                                2004 motion

 10/13/2021   KKY     BL        Review and revise notice of service of discovery               0.20        425.00          $85.00
                                (Debtors)

 10/13/2021   KKY     BL        Draft (.2) and prepare for filing (.2) notice of service       0.40        425.00         $170.00
                                of discovery (Eric Green and Resolutions)

 10/13/2021   KKY     BL        Draft (.2) notice of service of subpoenas; and                 1.40        425.00         $595.00
                                prepare (1.2) attachments to same

 10/14/2021   KKY     BL        Prepare exhibits to notice of service re subpoenas             1.50        425.00         $637.50
                                (10/8/21)

 10/14/2021   KKY     BL        Prepare for filing and service notice of service of            0.20        425.00          $85.00
                                discovery (Case Works)

 10/14/2021   KKY     BL        Draft (.2) and prepare for filing and service (.2)             0.40        425.00         $170.00
                                notice of service of discovery (Reciprocity)
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                                                                                         Hours            Rate       Amount

 10/14/2021   KKY     BL        Prepare for filing and service notice of service of        0.20        425.00         $85.00
                                discovery (Eric Green and Resolutions)

 10/15/2021   JEO     BL        Review agenda for 10/19 hearing and circulate to           0.50        925.00        $462.50
                                Committee Members and counsel

 10/15/2021   JEO     BL        Emails with PSZJ team re preparation for 10/19             0.50        925.00        $462.50
                                hearing

 10/15/2021   JEO     BL        Review BSA reply to Motion for Protective Order            0.50        925.00        $462.50

 10/17/2021   JEO     BL        Review correspondence from claimants and forward           0.80        925.00        $740.00
                                to PSZJ team for response.

 10/19/2021   JKH     BL        Emails from, to Steven W. Golden regarding                 0.30      1095.00         $328.50
                                Washburn draft motion to dismiss and review same

 10/19/2021   MSP     BL        Email exchange with S. Hershey, John W. Lucas re:          0.30        875.00        $262.50
                                protective order acknowledgment.

 10/20/2021   MSP     BL        Review and revise motion to dismiss Washburn               0.40        875.00        $350.00
                                litigation (.30); email exchange with Steven W.
                                Golden , James E. O'Neill re: same (.10).

 10/24/2021   JEO     BL        Email correspondence with PSZJ team and                    0.50        925.00        $462.50
                                Committee members and counsel re 10/25 hearing

 10/25/2021   KKY     BL        Draft notice of service re responses to debtors'           0.20        425.00         $85.00
                                discovery requests

 10/26/2021   KKY     BL        Review and revise notice of service re responses to        0.10        425.00         $42.50
                                debtors' discovery requests

 10/26/2021   KKY     BL        Draft notice of service re responses to propunding         0.20        425.00         $85.00
                                insurers' discovery requests

 10/26/2021   KKY     BL        Draft notice of service re responses to Century's          0.20        425.00         $85.00
                                discovery requests

 10/26/2021   KKY     BL        Draft notice of service re responses to Coalition's        0.20        425.00         $85.00
                                discovery requests

 10/26/2021   KKY     BL        Draft notice of service re responses to TCJC's             0.20        425.00         $85.00
                                discovery requests

 10/26/2021   KKY     BL        Review and revise participating parties service list       1.10        425.00        $467.50

 10/27/2021   CHM     BL        Review discovery emails re search issues and reply.        0.40        675.00        $270.00

 10/27/2021   KKY     BL        Prepare for filing and service notice of service re        0.30        425.00        $127.50
                                responses to debtors' discovery requests

 10/27/2021   KKY     BL        Prepare for filing and service notice of service re        0.30        425.00        $127.50
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                                                                                          Hours            Rate        Amount
                                responses to propounding insurers' discovery
                                requests
 10/27/2021   KKY     BL        Prepare for filing and service notice of service re         0.30        425.00          $127.50
                                responses to Century's discovery requests

 10/27/2021   KKY     BL        Prepare for filing and service notice of service re         0.30        425.00          $127.50
                                responses to Coalition's discovery requests

 10/27/2021   KKY     BL        Prepare for filing and service notice of service re         0.30        425.00          $127.50
                                responses to TCJC's discovery requests

 10/27/2021   KKY     BL        Review and revise participating parties service list        1.30        425.00          $552.50

 10/28/2021   CHM     BL        Review emails re search issues and narrowing and            0.60        675.00          $405.00
                                confer with G. Brown re same.

 10/30/2021   JEO     BL        Emails with Gillian Brown re plan discovery and             0.40        925.00          $370.00
                                document review

                                                                                           36.20                      $22,854.00

  Case Administration [B110]
 10/01/2021   PEC     CA        Review Agenda for 10/5/21 Hearing and circulate             0.20        425.00           $85.00
                                (.1); Coordinate binder preparation (.1)

 10/01/2021   CJB     CA        Prepare hearing binder for hearing on 10/5/21.              0.70        350.00          $245.00

 10/01/2021   KSN     CA        Maintain document control.                                  0.90        350.00          $315.00

 10/04/2021   KKY     CA        Review and revise critical dates                            1.90        425.00          $807.50

 10/04/2021   ARP     CA        Prepare hearing notebook for hearing on 10-4-21.            0.10        350.00           $35.00

 10/04/2021   KSN     CA        Maintain document control.                                  1.00        350.00          $350.00

 10/05/2021   KKY     CA        Review and revise critical dates                            3.30        425.00         $1,402.50

 10/05/2021   KKY     CA        Draft notice of withdrawal re 2004 motion                   0.20        425.00           $85.00

 10/05/2021   KKY     CA        Draft certificate of service for notice of withdrawal       0.10        425.00           $42.50
                                re 2004 motion

 10/05/2021   ARP     CA        Prepare Virtual notebook for hearing on 10-5-21.            0.10        350.00           $35.00

 10/05/2021   KSN     CA        Maintain document control.                                  0.90        350.00          $315.00

 10/06/2021   KKY     CA        Review and revise critical dates                            0.30        425.00          $127.50

 10/06/2021   KSN     CA        Maintain document control.                                  0.70        350.00          $245.00

 10/07/2021   KKY     CA        Review and revise 2002 service list                         0.50        425.00          $212.50
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                                                                                         Hours            Rate       Amount

 10/07/2021   KKY     CA        Review and revise critical dates                           1.20        425.00         $510.00

 10/07/2021   KKY     CA        Prepare participating parties service list                 4.70        425.00        $1,997.50

 10/07/2021   ARP     CA        Maintain document control.                                 0.20        350.00          $70.00

 10/07/2021   KSN     CA        Maintain document control.                                 0.50        350.00         $175.00

 10/08/2021   KKY     CA        Review and revise 2002 service list                        0.40        425.00         $170.00

 10/08/2021   KKY     CA        Review and revise critical dates                           0.70        425.00         $297.50

 10/11/2021   KSN     CA        Maintain document control.                                 0.50        350.00         $175.00

 10/12/2021   KSN     CA        Maintain document control.                                 0.70        350.00         $245.00

 10/13/2021   GNB     CA        Review and revise pro hac application.                     0.10        795.00          $79.50

 10/13/2021   KKY     CA        Draft pro hac vice motion (Miriam Manning)                 0.20        425.00          $85.00

 10/13/2021   KKY     CA        Draft pro hac vice motion (Gillian N. Brown)               0.20        425.00          $85.00

 10/13/2021   KKY     CA        Draft pro hac vice motion (Beth Levine)                    0.20        425.00          $85.00

 10/13/2021   KSN     CA        Maintain document control.                                 0.40        350.00         $140.00

 10/14/2021   KKY     CA        Prepare for filing pro hac vice motion (Miriam             0.10        425.00          $42.50
                                Manning)

 10/14/2021   KKY     CA        Prepare for filing pro hac vice motion (Gillian N.         0.10        425.00          $42.50
                                Brown)

 10/14/2021   KKY     CA        Prepare for filing pro hac vice motion (Beth Levine)       0.10        425.00          $42.50

 10/14/2021   KKY     CA        Review and revise critical dates                           0.60        425.00         $255.00

 10/14/2021   KSN     CA        Maintain document control.                                 0.40        350.00         $140.00

 10/15/2021   CJB     CA        Prepare hearing binder for hearing on 10/19/21.            1.90        350.00         $665.00

 10/15/2021   KSN     CA        Maintain document control.                                 0.80        350.00         $280.00

 10/18/2021   CAK     CA        Assist in preparation for 10/19/21 hearing                 0.40        395.00         $158.00

 10/18/2021   KKY     CA        Prepare for filing and service notice of service re        0.70        425.00         $297.50
                                subpoenas (10/8/21 service)

 10/18/2021   KKY     CA        Prepare for filing and service notice of service re        0.30        425.00         $127.50
                                subpoenas (10/9/21 service)

 10/18/2021   KKY     CA        Prepare for filing and service notice of service re        0.30        425.00         $127.50
                                subpoenas (10/12/21 service)

 10/18/2021   CJB     CA        Prepare hearing binder for hearing on 10/19/21.            0.10        350.00          $35.00
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                                                                                             Hours            Rate        Amount

 10/18/2021   KSN     CA        Maintain document control.                                     0.90        350.00          $315.00

 10/19/2021   ARP     CA        Prepare Virtual notebook for hearing on 10-19-21.              0.10        350.00           $35.00

 10/21/2021   KSN     CA        Maintain document control.                                     0.30        350.00          $105.00

 10/22/2021   KSN     CA        Maintain document control.                                     0.60        350.00          $210.00

 10/25/2021   KKY     CA        Review and revise critical dates                               0.20        425.00           $85.00

 10/26/2021   KKY     CA        Review and revise critical dates                               0.20        425.00           $85.00

 10/26/2021   KSN     CA        Maintain document control.                                     0.80        350.00          $280.00

 10/27/2021   KSN     CA        Maintain document control.                                     0.40        350.00          $140.00

 10/28/2021   KKY     CA        Review and revise critical dates                               2.50        425.00         $1,062.50

 10/28/2021   KSN     CA        Maintain document control.                                     0.70        350.00          $245.00

 10/29/2021   KKY     CA        Review and revise critical dates                               2.70        425.00         $1,147.50

 10/29/2021   KSN     CA        Maintain document control.                                     0.90        350.00          $315.00

                                                                                              37.00                      $14,655.00

  Claims Admin/Objections[B310]
 10/04/2021   GNB     CO        Email internal PSZJ team, John L. Spencer, and                 0.10        795.00           $79.50
                                Timothy Peace regarding PBGC claim discovery.

 10/04/2021   GNB     CO        Email James K.T. Hunter regarding analysis useful              0.10        795.00           $79.50
                                to PBGC claim.

 10/04/2021   VAN     CO        Analysis regarding PBGC claim legal issues.                    0.70      1050.00           $735.00

 10/04/2021   JWL     CO        Prepare statute of limitation chart for Claro (.7); call       1.00        825.00          $825.00
                                with K. McNally regarding claims review (.3);

 10/05/2021   GNB     CO        Email to James K.T. Hunter regarding PBGC claim                0.30        795.00          $238.50
                                objection and discovery.

 10/05/2021   JWL     CO        Prepare statute of limitation overlay for existing             5.30        825.00         $4,372.50
                                BSA settlements and judgments (1.0); call with
                                Claro regarding claims data (.7); review claims data
                                info for Claro regarding statute issue for claims
                                settled to date (3.6);

 10/07/2021   DHH     CO        Review filed claims for duplicate claims filed in              2.50        395.00          $987.50
                                other bankruptcy cases.

 10/08/2021   DHH     CO        Review filed claims for duplicate claims filed in              1.30        395.00          $513.50
                                other bankruptcy cases.
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                                                                                         Hours            Rate        Amount

 10/11/2021   DHH     CO        Review filed claims for duplicate claims filed in          3.20        395.00         $1,264.00
                                other bankruptcy cases.

 10/12/2021   DHH     CO        Review filed claims for duplicate claims filed in          1.20        395.00          $474.00
                                other bankruptcy cases.

 10/13/2021   SLL     CO        Research all firm related Diocese/Religious Order          1.80        395.00          $711.00
                                cases and chart significant abuse for comparison per
                                BSA request.

 10/14/2021   JEO     CO        Review correspondence from claimants and forward           1.00        925.00          $925.00
                                to PSZJ team for responses

 10/14/2021   SLL     CO        Research all firm related Diocese/Religious Order          6.20        395.00         $2,449.00
                                cases and chart significant abuse for comparison per
                                BSA request.

 10/16/2021   JEO     CO        Review claims objections filed in BSA case                 0.50        925.00          $462.50

 10/18/2021   DHH     CO        Review filed claims for duplicate claims filed in          1.20        395.00          $474.00
                                other bankruptcy cases.

 10/19/2021   DHH     CO        Review filed claims for duplicate claims filed in          1.20        395.00          $474.00
                                other bankruptcy cases.

 10/20/2021   DHH     CO        Review filed claims for duplicate claims filed in          1.20        395.00          $474.00
                                other bankruptcy cases.

 10/21/2021   DHH     CO        Review filed claims for duplicate claims filed in          1.20        395.00          $474.00
                                other bankruptcy cases.

 10/22/2021   DHH     CO        Review filed claims for duplicate claims filed in          1.20        395.00          $474.00
                                other bankruptcy cases.

 10/25/2021   DHH     CO        Review filed claims for duplicate claims filed in          1.20        395.00          $474.00
                                other bankruptcy cases.

 10/26/2021   DHH     CO        Review filed claims for duplicate claims filed in          1.20        395.00          $474.00
                                other bankruptcy cases.

 10/27/2021   DHH     CO        Review filed claims for duplicate claims filed in          1.20        395.00          $474.00
                                other bankruptcy cases.

 10/28/2021   DHH     CO        Review filed claims for duplicate claims filed in          1.20        395.00          $474.00
                                other bankruptcy cases.

 10/29/2021   DHH     CO        Review filed claims for duplicate claims filed in          1.20        395.00          $474.00
                                other bankruptcy cases.

                                                                                          37.20                      $18,856.50
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                                                                                        Hours            Rate       Amount

  Compensation Prof. [B160]
 10/19/2021   CAK     CP        Draft charts for June 2021 fee application                0.40        395.00         $158.00

 10/19/2021   WLR     CP        Draft June 2021 fee application                           3.10        795.00        $2,464.50

 10/22/2021   CAK     CP        Revise 5th Quarterly fee application                      0.20        395.00          $79.00

 10/22/2021   CAK     CP        Review and update June 2021 fee application               1.10        395.00         $434.50

 10/22/2021   KKY     CP        Prepare for filing and service 16th fee app of PSZJ       0.30        425.00         $127.50
                                for August 2021

 10/22/2021   WLR     CP        Review and revise June 2021 fee application               2.00        795.00        $1,590.00

 10/22/2021   JEO     CP        Review and finalize Monthly Application for               0.40        925.00         $370.00
                                Compensation [Sixteenth] and Reimbursement of
                                Expenses of Pachulski Stang Ziehl & Jones LLP, as
                                Counsel to the Tort Claimants' Committee for the
                                period from June 1, 2021 to June 30, 2021

 10/24/2021   JWL     CP        Prepare PSZJ July 2021 monthly fee application            1.50        825.00        $1,237.50
                                (1.5);

 10/25/2021   CAK     CP        Coordinate obtaining ledes format for June 2021 fee       0.10        395.00          $39.50
                                application

 10/29/2021   KKY     CP        Review and revise fee chart                               0.10        425.00          $42.50

 10/31/2021   WLR     CP        Review correspondence from Gillian Brown re               0.20        795.00         $159.00
                                criteria for review of electronically stored
                                information relating to Plan confirmation and reply
                                re same

                                                                                          9.40                      $6,702.00

  Comp. of Prof./Others
 10/01/2021   JEO     CPO       Review and finalize BRG's monthly and quarterly           0.40        925.00         $370.00
                                fee application

 10/01/2021   LCT     CPO       Prepare notice to BRG combined 12th monthly/5th           0.20        425.00          $85.00
                                interim fee application (.1); coordinate filing and
                                service of fee application (.1).

 10/05/2021   KKY     CPO       Review and revise fee chart                               0.30        425.00         $127.50

 10/06/2021   KKY     CPO       Email to James E. O'Neill re Rock Creek fees              0.20        425.00          $85.00

 10/06/2021   KKY     CPO       Draft joinder to request to clarify ruling on             0.50        425.00         $212.50
                                Coalition's expenses
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 10/06/2021   JEO      CPO      Email follow up to A&M re fee payment for Rock               0.20        925.00         $185.00
                                Creek

 10/15/2021   KKY      CPO      Draft (.1), file (.1), and prepare for filing (.1)           0.30        425.00         $127.50
                                certification of no objection re 9th fee app of Pasich
                                for July/August 2021

 10/15/2021   KKY      CPO      Review and revise fee chart                                  0.10        425.00          $42.50

 10/15/2021   KKY      CPO      Email to James E. O'Neill re Pasich fees                     0.20        425.00          $85.00

 10/15/2021   JEO      CPO      Review status of Pasich fee application and sign off         0.40        925.00         $370.00
                                on CNO for filing (.2); Email to A&M team re filing
                                of CNO.

 10/27/2021   CAK      CPO      Review and update Rock Creek September 2021 fee              0.50        395.00         $197.50
                                application

                                                                                             3.30                      $1,887.50

  General Creditors Comm. [B150]
 10/01/2021   JIS      GC       Attend conference call with non-TCC state court              1.60      1195.00         $1,912.00
                                counsel re plan issues.

 10/01/2021   RMS      GC       Work on response to survivor communications                  2.60        825.00        $2,145.00

 10/01/2021   LAF      GC       Update TCC website.                                          0.50        450.00         $225.00

 10/01/2021   SWG      GC       Receive and respond to numerous emails from                  0.80        625.00         $500.00
                                survivors.

 10/01/2021   SWG      GC       Edit website based on recent case developments.              0.70        625.00         $437.50

 10/03/2021   JIS      GC       Attend TCC member only meeting                               1.50      1195.00         $1,792.50

 10/03/2021   RMS      GC       Email exchange with John W. Lucas and Steven W.              0.40        825.00         $330.00
                                Golden regarding survivor communications

 10/03/2021   JWL      GC       Prepare general response to survivors and counsel            3.00        825.00        $2,475.00
                                inquiries regarding case status and plan issues (.8);
                                prepare general response to survivors and council
                                regarding plan and disclosure statement issues (.9);
                                provide specific response to survivors and counsel
                                regarding case status (.6); attend TCC member only
                                meeting regarding next steps in case (.7) (partial
                                call);

 10/03/2021   SWG      GC       Receive and respond to numerous emails from                  0.70        625.00         $437.50
                                survivors

 10/03/2021   SWG      GC       Edit comprehensive response to claimants                     0.30        625.00         $187.50
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                                                                                           Hours            Rate       Amount

 10/04/2021   MK      GC        Draft letter to claimant per email request; email to         0.10        395.00          $39.50
                                RMS

 10/04/2021   LAF     GC        Update TCC website.                                          0.80        450.00         $360.00

 10/04/2021   JWL     GC        Review TCC website and provide comments for                  0.50        825.00         $412.50
                                updates and changes (.5);

 10/04/2021   SWG     GC        Receive and respond to numerous emails from                  1.30        625.00         $812.50
                                survivors.

 10/05/2021   DG      GC        Attend weekly state court counsel call (partial call)        0.80      1095.00          $876.00

 10/05/2021   DG      GC        Call with J. Lucas re: town hall (.2); work on town          1.30      1095.00         $1,423.50
                                hall slides (1.1)

 10/05/2021   DG      GC        Further revisions to slide deck for town hall                0.70      1095.00          $766.50

 10/05/2021   IAWN GC           Attend telephone conference state court counsel.             1.00      1025.00         $1,025.00

 10/05/2021   MSP     GC        Attend meeting with state court counsel.                     1.00        875.00         $875.00

 10/05/2021   JEO     GC        Review pleadings filed by pro se parties regarding           0.50        925.00         $462.50
                                prisoners

 10/05/2021   RMS     GC        Work on responses to survivor communications                 0.40        825.00         $330.00

 10/05/2021   LAF     GC        Update TCC website per S Golden.                             1.00        450.00         $450.00

 10/05/2021   JWL     GC        Call with D. Kennedy regarding case status (.7);             3.20        825.00        $2,640.00
                                respond to case specific inquiries from survivors and
                                counsel (1.3); call with D. Grassgreen re town hall
                                (.2); attend weekly state court counsel meeting (1.0).

 10/05/2021   SWG     GC        Receive and respond to numerous emails from                  0.90        625.00         $562.50
                                survivors.

 10/06/2021   RMS     GC        Work on survivor communications                              0.80        825.00         $660.00

 10/06/2021   RMS     GC        Email exchanges with James I. Stang and John W.              0.40        825.00         $330.00
                                Lucas regarding survivor communications

 10/06/2021   JWL     GC        Call with TCC chairs regarding town hall (.5);               0.50        825.00         $412.50

 10/06/2021   SWG     GC        Receive and respond to numerous emails from                  1.20        625.00         $750.00
                                survivors

 10/07/2021   DG      GC        Call with J. Lucas, J. Stang and John Humphrey and           2.40      1095.00         $2,628.00
                                Doug Kennedy (co-chairs) re: town hall prep
                                (partial)(1.3); revise slides (2x) and prepare other
                                materials for town hall (1.1)

 10/07/2021   DG      GC        Town Hall Prep (.7); Town Hall (1.3) and followup            2.40      1095.00         $2,628.00
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                                                                                           Hours            Rate       Amount
                                after Town Hall (.4)
 10/07/2021   DG       GC       Review and comment on FAQ's for town hall                    0.30      1095.00          $328.50

 10/07/2021   JIS      GC       Prepare for (.2); and attend town hall (1.3).                1.50      1195.00         $1,792.50

 10/07/2021   JIS      GC       Call with Committee co-chairs, J. Lucas and D.               1.70      1195.00         $2,031.50
                                Grassgreen regarding town hall preparation.

 10/07/2021   JIS      GC       Follow up call to town hall with PSZJ and                    0.40      1195.00          $478.00
                                committee co chairs.

 10/07/2021   MK       GC       Continue drafting responses to BSA survivor                  0.80        395.00         $316.00
                                correspondence

 10/07/2021   MSP      GC       Attend and respond to survivor questions during              2.10        875.00        $1,837.50
                                Q&A session at Town Hall meeting (1.3) and pre-
                                and post- meetings. (.8)

 10/07/2021   RMS      GC       Work on responses to survivor communications                 1.50        825.00        $1,237.50

 10/07/2021   JWL      GC       Respond to inquiries from survivors and counsel              7.10        825.00        $5,857.50
                                regarding case status (1.3); prepare for Oct. 7 town
                                hall (1.); attend town hall (1.3); prep session with
                                TCC chairs (1.3) (Partial); attend town hall and pre
                                and post meeting (.8); respond to survivor and
                                counsel inquiries after town hall (.5);

 10/07/2021   SWG      GC       Receive and respond to inquiries from survivors.             0.30        625.00         $187.50

 10/07/2021   SWG      GC       Participate in town hall                                     1.30        625.00         $812.50

 10/08/2021   JIS      GC       Call with J. Lucas regarding town hall update.               0.50      1195.00          $597.50

 10/08/2021   JIS      GC       Call with state court counsel regarding status of case       0.50      1195.00          $597.50
                                and plan issues.

 10/08/2021   RMS      GC       Work on Survivor communications                              1.10        825.00         $907.50

 10/08/2021   RMS      GC       Email exchange with Steven W. Golden regarding               0.10        825.00          $82.50
                                survivor communications

 10/08/2021   LAF      GC       Update TCC website with plan deck, other edits.              1.50        450.00         $675.00

 10/08/2021   JWL      GC       Prepare background info for New Jersey councils              4.20        825.00        $3,465.00
                                (.5); call with reporter regarding the same (.6); call
                                with J. Stang re town hall (.5);prepare and revise
                                email to survivors regarding statute of limitations
                                questions (.8); respond to case inquiries from
                                survivors and counsel (1.6);call with S. Golden re
                                survivor communications (.2)

 10/08/2021   SWG      GC       Call with J. Lucas re: correspondence with                   0.20        625.00         $125.00
                                survivors.
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 10/08/2021   SWG      GC       Receive and respond to numerous emails from                 1.30        625.00         $812.50
                                survivors.

 10/09/2021   JWL      GC       Research regarding moiton to dismiss complaint              0.50        825.00         $412.50
                                filed by survivor against TCC (.5);

 10/10/2021   JWL      GC       Respond to media inquiry regarding case status (.4);        0.40        825.00         $330.00

 10/11/2021   JIS      GC       Call J. Lucas regarding press release.                      0.40      1195.00          $478.00

 10/11/2021   MK       GC       Attention to BSA correspondence; claims research,           3.40        395.00        $1,343.00
                                drafting, email exchanges with RMS and updating
                                tracking chart

 10/11/2021   JWL      GC       Call with potential settlement trustee (1.); revise         5.80        825.00        $4,785.00
                                TCC press release regarding plan (1.3); prepare
                                email to local councils regarding confidential info
                                protocol (.5); review local council dashboards
                                regarding the same (.5); respond to survivor and
                                counsel inquiries regarding case status (1.2); call
                                with J. Stang re press release (.4); respond to press
                                inquiries (.9).

 10/11/2021   SWG      GC       Receive and respond to numerous emails from                 1.90        625.00        $1,187.50
                                survivors

 10/12/2021   DG       GC       Attend State Court Counsel call (partial)                   1.70      1095.00         $1,861.50

 10/12/2021   DG       GC       Review and comment on D. Kennedy summary of                 0.20      1095.00          $219.00
                                Town hall points

 10/12/2021   JIS      GC       Attend state court counsel call (1.8); and follow up        2.10      1195.00         $2,509.50
                                with PSZJ team (.3).

 10/12/2021   JIS      GC       Attend Zero Abuse Project press conference                  1.00      1195.00         $1,195.00
                                regarding child protection issues.

 10/12/2021   JIS      GC       Call John Lucas regarding communications                    0.20      1195.00          $239.00
                                consultant.

 10/12/2021   RBO      GC       Attend weekly state court counsel call (1.8), and           2.10      1145.00         $2,404.50
                                continue with PSZJ attorneys only (.3) regarding
                                TCC plan

 10/12/2021   RBO      GC       Review articles calling for congressional                   0.10      1145.00          $114.50
                                investigation of BofA operations

 10/12/2021   RMS      GC       Work on survivor communications                             2.30        825.00        $1,897.50

 10/12/2021   JWL      GC       Call with public relations firm regarding                   6.40        825.00        $5,280.00
                                communications (1.); work on website updates (.5);
                                call with B. Kehr regarding communication with
                                survivors (1.); attend J. Anderson press conference
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                                (.9); attend weekly state court counsel call regarding
                                updates and status of case (1.8); and follow up with
                                PSZJ team (.3); respond to survivors and counsel
                                regarding case status (.9).
 10/12/2021   SWG      GC       Receive and respond to numerous emails from                  1.00        625.00         $625.00
                                survivors.

 10/13/2021   JIS      GC       Call with J. Lucas and co-chairs regarding town hall.        0.50      1195.00          $597.50

 10/13/2021   RMS      GC       Work on response to survivor communications                  0.50        825.00         $412.50

 10/13/2021   LAF      GC       Update TCC site with letter.                                 1.30        450.00         $585.00

 10/13/2021   JWL      GC       Attend call with J. Stang and TCC chairs regarding           1.40        825.00        $1,155.00
                                town hall prep (.5); review and revise plan press
                                release (.9)

 10/13/2021   SWG      GC       Receive and respond to numerous emails from                  1.60        625.00        $1,000.00
                                survivors.

 10/14/2021   DG       GC       Town Hall prep (.6); host town hall (1.3); debrief           2.20      1095.00         $2,409.00
                                call (.3)

 10/14/2021   JIS      GC       Prepare for (.6); and attend town hall (1.3).                1.90      1195.00         $2,270.50

 10/14/2021   JIS      GC       Review SOL slide for town hall.                              0.20      1195.00          $239.00

 10/14/2021   JIS      GC       Post town hall review with co-chairs and PSZJ.               0.60      1195.00          $717.00

 10/14/2021   MK       GC       Attention to BSA survivor correspondence; finalize           1.10        395.00         $434.50
                                and send correspondence; email exchanges with
                                RMS and NDL; update tracking chart

 10/14/2021   MK       GC       Attention to BSA survivor correspondence; finalize           0.60        395.00         $237.00
                                and send correspondence; email exchanges with
                                RMS and NDL; update tracking chart

 10/14/2021   MK       GC       Attention to BSA survivor correspondence; finalize           2.70        395.00        $1,066.50
                                and send correspondence; email exchanges with
                                RMS and NDL; update tracking chart

 10/14/2021   MSP      GC       Email to James I. Stang re: survivor questions.              0.10        875.00          $87.50

 10/14/2021   MSP      GC       Attend and provide responses to survivors’ in Town           1.30        875.00        $1,137.50
                                Hall Q&A.

 10/14/2021   RMS      GC       Work on response to survivor communications                  4.60        825.00        $3,795.00

 10/14/2021   JWL      GC       Prepare materials for Oct. 14 Town Hall (3.1);               5.00        825.00        $4,125.00
                                attend town hall prep session (.6); attend town hall
                                (1.3).

 10/14/2021   SWG      GC       Receive and respond to numerous emails from                  3.90        625.00        $2,437.50
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                                                                                        Hours            Rate       Amount
                                survivors.
 10/14/2021   SWG     GC        Prepare for weekly TCC town hall                          0.50        625.00         $312.50

 10/14/2021   SWG     GC        Attend weekly town hall                                   1.30        625.00         $812.50

 10/14/2021   SWG     GC        Attend debrief of weekly TCC call                         0.60        625.00         $375.00

 10/15/2021   RMS     GC        Work on survivor communications                           2.20        825.00        $1,815.00

 10/15/2021   LAF     GC        Update creditor site; relink town hall videos.            2.80        450.00        $1,260.00

 10/15/2021   JWL     GC        Respond to inquiries by survivors and counsel             1.20        825.00         $990.00
                                regarding case status (1.2).

 10/15/2021   SWG     GC        Receive and respond to numerous emails from               2.50        625.00        $1,562.50
                                survivors

 10/16/2021   RMS     GC        Work on reponses to survivor communications               3.30        825.00        $2,722.50

 10/16/2021   SWG     GC        Receive and respond to numerous emails from               1.30        625.00         $812.50
                                survivors.

 10/18/2021   MK      GC        Research re and drafting of response correspondence       0.40        395.00         $158.00
                                to survivor

 10/18/2021   RMS     GC        Work on survivor communications                           0.40        825.00         $330.00

 10/18/2021   RMS     GC        Telephone conference with Steven W. Golden                0.20        825.00         $165.00
                                regarding survivor communications

 10/18/2021   LAF     GC        Upload transcript to TCC site.                            0.50        450.00         $225.00

 10/18/2021   JWL     GC        Respond to survivor and counsel inquiries regarding       1.40        825.00        $1,155.00
                                case status (1.4);

 10/18/2021   SWG     GC        Receive and respond to numerous emails from               4.20        625.00        $2,625.00
                                survivors.

 10/18/2021   SWG     GC        Call with R. Saunders re: responding to survivor          0.20        625.00         $125.00
                                emails.

 10/19/2021   MK      GC        Attention to drafting correspondence to survivors;        1.60        395.00         $632.00
                                email exchanges with RMS; Review
                                correspondence; research claims and DOC
                                information; update tracking chart

 10/19/2021   MK      GC        Attention to drafting correspondence to survivors;        0.60        395.00         $237.00
                                email exchanges with RMS; Review
                                correspondence; research claims and DOC
                                information; update tracking chart

 10/19/2021   RMS     GC        Work on responses survivor communications                 4.70        825.00        $3,877.50
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 10/19/2021   LAF      GC       Update TCC site.                                            0.80        450.00         $360.00

 10/19/2021   JWL      GC       Prepare Town Hall notice for Oct. 21 meeting (.5);          1.50        825.00        $1,237.50
                                work on town hall materials and presentation for
                                Oct. 21 (1.0);

 10/19/2021   SWG      GC       Receive and respond to numerous emails from                 2.00        625.00        $1,250.00
                                survivors.

 10/19/2021   SWG      GC       Continue drafting motion to dismiss pro se adversary        3.40        625.00        $2,125.00
                                proceeding filed against TCC

 10/20/2021   JIS      GC       Calls with WSJ regarding plan issues.                       1.20      1195.00         $1,434.00

 10/20/2021   MSP      GC       Email exchange with John W. Lucas, Robert M.                0.30        875.00         $262.50
                                Saunders et al. re: responses to survivors’ questions
                                at Town Hall.

 10/20/2021   RMS      GC       Work on survivor communications                             2.20        825.00        $1,815.00

 10/20/2021   LAF      GC       Update BSA site with TDP.                                   0.30        450.00         $135.00

 10/20/2021   JWL      GC       Work on Town Hall materials for Oct. 21 (2.5);              2.50        825.00        $2,062.50

 10/20/2021   SWG      GC       Receive and respond to numerous emails from                 1.70        625.00        $1,062.50
                                survivors.

 10/21/2021   DG       GC       Review materials for Town Hall from J. Lucas and            2.90      1095.00         $3,175.50
                                revise same (.8); further revisions (.3); attend town
                                hall (1.8)

 10/21/2021   JIS      GC       Attend TCC town hall.                                       1.80      1195.00         $2,151.00

 10/21/2021   JIS      GC       Review town hall materials.                                 0.20      1195.00          $239.00

 10/21/2021   MSP      GC       Attend and respond to survivor questions in Q&A             1.80        875.00        $1,575.00
                                session of Town Hall.

 10/21/2021   RMS      GC       Participated in TCC Town Hall (1.8); including              2.30        825.00        $1,897.50
                                preparation, etc. (.5).

 10/21/2021   RMS      GC       Legal research for memorandum regarding survivor            1.10        825.00         $907.50
                                communications (.7); call with S. Golden re same
                                (.4)

 10/21/2021   RMS      GC       Work on survivor communications                             1.40        825.00        $1,155.00

 10/21/2021   RMS      GC       Telephone conference with Steven W. Golden                  0.40        825.00         $330.00
                                regarding survivor communications

 10/21/2021   JWL      GC       Prepare for Oct. 21 TCC town hall (3.0); attend town        5.30        825.00        $4,372.50
                                hall (1.8); post town hall debrief (.5)
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                                                                                            Hours            Rate       Amount

 10/21/2021   SWG     GC        Receive and respond to numerous emails from                   2.10        625.00        $1,312.50
                                survivors

 10/21/2021   SWG     GC        Participate in weekly town hall meeting.                      1.80        625.00        $1,125.00

 10/21/2021   SWG     GC        Post town hall debrief with PSZJ team                         0.50        625.00         $312.50

 10/21/2021   SWG     GC        Call with R. Saunders re survivor reponses.                   0.40        625.00         $250.00

 10/22/2021   MK      GC        Review BSA correspondence; research claims for                2.30        395.00         $908.50
                                claim info and attorney info; draft response letters;
                                email exchanges with RMS regarding same; update
                                tracking chart and forward to RMS

 10/22/2021   RMS     GC        Legal research for and drafting memorandum                    7.70        825.00        $6,352.50
                                regarding survivor communications

 10/22/2021   LAF     GC        Update TCC site.                                              0.50        450.00         $225.00

 10/22/2021   JWL     GC        Work on Town Hall materials for Oct. 28 meeting               3.10        825.00        $2,557.50
                                (1.6); prepare talking points for press releases (1.5);

 10/22/2021   SWG     GC        Receive and respond to numerous emails from                   3.30        625.00        $2,062.50
                                survivors.

 10/22/2021   SWG     GC        Draft and send emails to PSZJ team re: website                0.40        625.00         $250.00
                                maintenance.

 10/23/2021   RMS     GC        Legal research for (4.1); and drafting memorandum             7.30        825.00        $6,022.50
                                regarding survivor communications (3.2).

 10/23/2021   SWG     GC        Receive and respond to numerous emails from                   1.40        625.00         $875.00
                                survivors.

 10/24/2021   RMS     GC        Legal research for and drafting memorandum                    6.10        825.00        $5,032.50
                                regarding survivor communications

 10/24/2021   SWG     GC        Receive and respond to numerous emails from                   0.60        625.00         $375.00
                                survivors.

 10/25/2021   RMS     GC        Legal research for and drafting memorandum                    6.80        825.00        $5,610.00
                                regarding survivor communications

 10/25/2021   JWL     GC        Prepare email to TCC that summarizes Oct. 25                  1.80        825.00        $1,485.00
                                discovery ruling (.3); work on updates to TCC
                                website (.5); work on preparations for Oct. 28 TCC
                                Town Hall (1.0);

 10/25/2021   SWG     GC        Receive and respond to numerous emails from                   4.50        625.00        $2,812.50
                                survivors.

 10/26/2021   DG      GC        Review outline of questions for Town Hall                     0.20      1095.00          $219.00
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                                                                                           Hours            Rate       Amount

 10/26/2021   DG       GC       Review and analyze memorandum by Rob Saunders                0.50      1095.00          $547.50
                                on communication protocols

 10/26/2021   MK       GC       Review BSA correspondence; draft response;                   0.60        395.00         $237.00
                                research claim information for letter; update tracking
                                chart and email to RMS

 10/26/2021   RMS      GC       Legal research for (4.3); and drafting memorandum            7.20        825.00        $5,940.00
                                regarding survivor communications (2.9).

 10/26/2021   RMS      GC       Review of materials relevant to survivor                     1.00        825.00         $825.00
                                communications

 10/26/2021   JWL      GC       Review and revise TCC video press release (.5);              0.50        825.00         $412.50

 10/26/2021   SWG      GC       Receive and respond to numerous emails from                  6.00        625.00        $3,750.00
                                survivors.

 10/27/2021   DG       GC       Review questions; posts and press re: town hall (.3);        0.70      1095.00          $766.50
                                prepare for town hall (.4)

 10/27/2021   MSP      GC       Attend and respond to survivor questions in Q&A              1.00        875.00         $875.00
                                session of Town Hall.

 10/27/2021   RMS      GC       Worn on survivor communications                              0.30        825.00         $247.50

 10/27/2021   RMS      GC       Telephone conference with Steven W. Golden                   0.10        825.00          $82.50
                                regarding survivor correspondence

 10/27/2021   SWG      GC       Receive and respond to numerous emails from                  3.00        625.00        $1,875.00
                                survivors (2.9); call with R. Saunders re same (.1).

 10/28/2021   DG       GC       Call with John Lucas and TCC chairs to prepare for           0.70      1095.00          $766.50
                                Town Hall

 10/28/2021   DG       GC       Town Hall meeting (2.1); debrief with Committee              2.40      1095.00         $2,628.00
                                (.3)

 10/28/2021   JIS      GC       Attend town hall meeting (2.1); attend debrief of            2.40      1195.00         $2,868.00
                                town hall (.3).

 10/28/2021   MSP      GC       Respond to survivor questions in Town Hall Q&A               1.60        875.00        $1,400.00
                                session.

 10/28/2021   RMS      GC       Work on survivor communications                              0.30        825.00         $247.50

 10/28/2021   RMS      GC       Preparation for and participated in TCC Town Hall            2.00        825.00        $1,650.00

 10/28/2021   LAF      GC       Update TCC website.                                          0.30        450.00         $135.00

 10/28/2021   JWL      GC       Call with D. Grassgreen and TCC chairs regarding             3.10        825.00        $2,557.50
                                town hall (.7); call with S. Golden re survivor
                                reposes (.3); attend town hall session (2.1); and
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                                                                                         Hours            Rate       Amount
                                follow up with team after town hall (.3).
 10/28/2021   SWG      GC       Receive and respond to numerous emails from                2.50        625.00        $1,562.50
                                survivors.

 10/28/2021   SWG      GC       Call with J. Lucas re: survivor communications.            0.20        625.00         $125.00

 10/28/2021   SWG      GC       Attend weekly TCC town hall.                               2.10        625.00        $1,312.50

 10/28/2021   SWG      GC       Work on survivor responses to questions.                   1.20        625.00         $750.00

 10/29/2021   RMS      GC       Work on survivor communications                            4.40        825.00        $3,630.00

 10/29/2021   JWL      GC       Call with S. Golden regarding survivor                     0.30        825.00         $247.50
                                correspondence (.3);

 10/29/2021   SWG      GC       Receive and respond to numerous emails from                3.00        625.00        $1,875.00
                                survivors.

 10/29/2021   SWG      GC       Call with J. Lucas re survivor reponses.                   0.30        625.00         $187.50

 10/30/2021   JIS      GC       Work on sale of artwork issues.                            0.20      1195.00          $239.00

 10/30/2021   RMS      GC       Work on survivor communications                            1.60        825.00        $1,320.00

 10/30/2021   SWG      GC       Receive and respond to numerous emails from                1.50        625.00         $937.50
                                survivors

 10/31/2021   RMS      GC       Work on survivor communications                            0.60        825.00         $495.00

                                                                                         284.10                  $224,634.00

  Hearings
 10/05/2021   DG       H        Atttend hearing on confirmation scheduling                 0.70      1095.00          $766.50

 10/05/2021   KHB      H        Attend hearing on scheduling order.                        0.70        995.00         $696.50

 10/05/2021   JWL      H        Attend hearing on confirmation hearing scheduling          0.70        825.00         $577.50
                                order (.7);

 10/19/2021   IAWN H            Attend hearing re mediation privilege and protective       2.50      1025.00         $2,562.50
                                order

 10/19/2021   JIS      H        Partial attendance at hearing regarding Debtor's           3.10      1195.00         $3,704.50
                                motion for protective order.

 10/19/2021   KHB      H        Attend hearing on debtors' motion for protective           3.80        995.00        $3,781.00
                                order and status conference re plan confirmation
                                discovery (3.8);

 10/19/2021   MSP      H        Appear at omnibus hearing.                                 3.90        875.00        $3,412.50

 10/19/2021   JEO      H        Prepare for and attend omnibus hearing on                  5.00        925.00        $4,625.00
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                                                                                         Hours            Rate        Amount
                                Protective Order and other matters
 10/19/2021   JWL      H        Attend hearing on BSA protective order and status          3.20        825.00         $2,640.00
                                conference (3.9);

 10/25/2021   DG       H        Hearing re: motion for protective order and to             0.70      1095.00           $766.50
                                compel Green discovery

 10/25/2021   KHB      H        Attend hearing on mediation privilege and protective       0.60        995.00          $597.00
                                order.

 10/25/2021   JEO      H        Attend hearing re Judge's ruling on Motion for             0.60        925.00          $555.00
                                Protective Order and Century's Motion to Compel
                                re Eric Green

 10/25/2021   JWL      H        Attend Oct. 25 hearing regarding protective order          0.60        825.00          $495.00
                                ruling (.6);

                                                                                          26.10                      $25,179.50

  Insurance Coverage
 10/06/2021   IAWN IC           Telephone conference w/ Jennings, Neely,                   0.50      1025.00           $512.50
                                Winstead, Dechart, Le Chevailer, Quinn, Schulman
                                re deliverable for insurers

 10/07/2021   IAWN IC           Telephone conference w/ Jennings, Quinn, Le                0.70      1025.00           $717.50
                                Chevalier, Grim, Schulman, Gallagher re insurance
                                offers

 10/07/2021   IAWN IC           Telephone conference with Schulman re telephone            0.10      1025.00           $102.50
                                call

 10/08/2021   IAWN IC           Review multiple settlement letters to insurers             0.80      1025.00           $820.00

 10/13/2021   IAWN IC           Telephone conference w/ insurance coverage group           0.50      1025.00           $512.50
                                (FCR & Coalition coverage counsel) re Zurich and
                                Enstar demands

 10/14/2021   JIS      IC       Emails with I. Nasatir regarding terms of insurance        0.50      1195.00           $597.50
                                settlements.

 10/15/2021   IAWN IC           Telephone conferences and texts with Schulman re           0.30      1025.00           $307.50
                                Zenith settlement

 10/18/2021   IAWN IC           Telephone conference with w/ lee (Enstar) and              0.50      1025.00           $512.50
                                Schulman re settlement

                                                                                           3.90                       $4,082.50

  Mediation
 10/01/2021   IAWN ME           Attended New York mediation                                8.00      1025.00          $8,200.00
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 10/01/2021   JIS      ME       Attend New York mediation.                               7.00      1195.00          $8,365.00

 10/01/2021   JWL      ME       Attend New York mediation (7.0);                         7.00        825.00         $5,775.00

 10/08/2021   IAWN ME           Exchange emails with Gallagher, FCR re offers to         0.30      1025.00           $307.50
                                insurers

 10/20/2021   RBO      ME       Review James I. Stang message regarding mediation        0.10      1145.00           $114.50
                                and respond

 10/21/2021   IAWN ME           Draft two lengthy emails re mediation strategy and       0.40      1025.00           $410.00
                                issues with schedule and send to PSZJ team

 10/21/2021   IAWN ME           Exchange emails with Schulman re mediation.              0.10      1025.00           $102.50

 10/21/2021   IAWN ME           Review Kim email re mediation agenda and forward         0.10      1025.00           $102.50
                                to Stang with comment

 10/21/2021   IAWN ME           Review Stang email to mediators re agenda.               0.10      1025.00           $102.50

 10/22/2021   IAWN ME           Review mediation agenda and Stang emails re same         0.10      1025.00           $102.50

 10/26/2021   IAWN ME           Attend Los Angeles mediation                             4.90      1025.00          $5,022.50

 10/26/2021   JIS      ME       Attend Los Angeles mediation session.                    9.30      1195.00         $11,113.50

 10/26/2021   JWL      ME       Virtually attend Los Angeles mediation (5.0);            5.00        825.00         $4,125.00

 10/27/2021   IAWN ME           Attend Los Angeles mediation                             5.10      1025.00          $5,227.50

 10/27/2021   JIS      ME       Attend Los Angeles mediation.                           10.20      1195.00         $12,189.00

 10/27/2021   JWL      ME       Attend Oct. 27 Los Angeles mediation (4.8);              4.80        825.00         $3,960.00

 10/28/2021   IAWN ME           Attend Los Angeles mediation                             3.20      1025.00          $3,280.00

 10/28/2021   JIS      ME       Attend Los Angeles mediation.                            4.50      1195.00          $5,377.50

                                                                                        70.20                      $73,877.00

  Non-Working Travel
 10/02/2021   JWL      NT       Travel from New York to San Francisco after              8.50        825.00         $3,506.25
                                mediation (8.5). (Billed at 1/2 normal rate)

                                                                                         8.50                       $3,506.25

  Plan & Disclosure Stmt. [B320]
 10/01/2021   GNB      PD       Telephone conference with Malhar S. Pagay and            0.70        795.00          $556.50
                                Steven W. Golden regarding Plan discovery.

 10/01/2021   GNB      PD       Draft requests for production to Debtors.                1.50        795.00         $1,192.50
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 10/01/2021   GNB      PD       Review emails from internal PSZJ team regarding             1.20        795.00         $954.00
                                Plan strategy for integration into discovery.

 10/01/2021   GNB      PD       Revise and edit litigation chart.                           0.30        795.00         $238.50

 10/01/2021   GNB      PD       Prepare email for internal insurance team regarding         0.50        795.00         $397.50
                                discovery requests.

 10/01/2021   GNB      PD       Revise agenda for October 4 PSZJ internal team              0.70        795.00         $556.50
                                regarding discovery strategy.

 10/01/2021   GNB      PD       Email with Beth E. Levine regarding Plan discovery.         0.20        795.00         $159.00

 10/01/2021   IAWN PD           Review and comment on protective order                      0.70      1025.00          $717.50

 10/01/2021   IAWN PD           Worked on RFP for Hartford and comments to team             0.70      1025.00          $717.50

 10/01/2021   JIS      PD       Call Malhar Pagay regarding scheduling of litigation        0.30      1195.00          $358.50
                                issues.

 10/01/2021   KHB      PD       Review opposition to motion to protective order (.2);       2.70        995.00        $2,686.50
                                analysis and revise internal memo re plan objection
                                and discovery (2.2); call with Malhar Pagay re plan
                                objection and discovery (.3); emails between debtor
                                and Century re settlement trustee discovery (.2);
                                emails with S. Golden re opposition to protective
                                order motion (.2); emails from R. Orgel re plan
                                discovery issues (.2); email from D. Grassgreen re
                                plan discovery issues (.2); emails with S. Golden re
                                plan discovery (.2).

 10/01/2021   MAM      PD       Create and forward list for Gillian N. Brown                0.60        395.00         $237.00
                                regarding Century Indemnity subpoenas.

 10/01/2021   MAM      PD       Update discovery chart for Gillian N. Brown.                0.40        395.00         $158.00

 10/01/2021   MAM      PD       Emails to Gillian N. Brown regarding list of                0.20        395.00          $79.00
                                subpoenas served in September of 2021.

 10/01/2021   MAM      PD       Create and forward to Gillian N. Brown list of              0.10        395.00          $39.50
                                discovery served in September of 2021.

 10/01/2021   MAM      PD       Revise and forward to Gillian N. Brown list of              0.30        395.00         $118.50
                                discovery served in September of 2021.

 10/01/2021   MSP      PD       Call with Gillian N. Brown and Steve W. Golden re:          0.70        875.00         $612.50
                                Plan discovery.

 10/01/2021   MSP      PD       Telephone call with James I. Stang re: Plan                 0.30        875.00         $262.50
                                discovery strategy.

 10/01/2021   MSP      PD       Review and revise Objection to Debtors' Motion for          1.10        875.00         $962.50
                                Protective Order (.9); email exchange with James I.
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                                Stang, John W. Lucas, Robert B. Orgel, Debra I.
                                Grassgreen, S. Gurvitz, James E. O'Neill, et al. re:
                                same (.20).
 10/01/2021   MSP     PD        Attention to Plan confirmation litigation discovery           4.90        875.00        $4,287.50
                                issues, logistics and coordination (4.7); email
                                exchanges with James I. Stang, Gillian N. Brown,
                                Steve W. Golden, Kenneth H. Brown, Beth E.
                                Levine, R. Pfister, S. Gurvitz, J. Schulman, et al. re:
                                same (.20).

 10/01/2021   MSP     PD        Telephone call with Kenneth H. Brown re: Plan                 0.30        875.00         $262.50
                                discovery.

 10/01/2021   MSP     PD        Email exchange with Robert B. Orgel, Debra I.                 0.40        875.00         $350.00
                                Grassgreen, Victoria A. Newmark, Gillian N.
                                Brown, et al. re: Potential Plan objections.

 10/01/2021   MSP     PD        Email exchange with Gillian N. Brown, Steve W.                0.40        875.00         $350.00
                                Golden, James I. Stang, et al. re: questions for
                                litigation team, agenda items for discussion re: Plan
                                confirmation.

 10/01/2021   MSP     PD        Email exchange with S. Gurvitz re: RSA motion                 0.40        875.00         $350.00
                                depositions; review transcripts re: same.

 10/01/2021   RBO     PD        Review Malhar S. Pagay message regarding                      1.00      1145.00         $1,145.00
                                discovery and Debra Grassgreen comments
                                regarding plan objections (.1), analyze same and
                                propose focus and provisions for TCC plan (.7);
                                Review Kenneth H. Brown comments and respond
                                (.2)

 10/01/2021   RBO     PD        Review and revise plan objection list (.5) and TDP            0.60      1145.00          $687.00
                                (.1)

 10/01/2021   JEO     PD        Review status of TCC letter re plan                           0.30        925.00         $277.50

 10/01/2021   JEO     PD        Email to Court re withdrawal of 3013 motion                   0.20        925.00         $185.00

 10/01/2021   JEO     PD        Review discovery issues related to plan                       1.00        925.00         $925.00

 10/01/2021   JSP     PD        Review correspondence/documents from M.                       1.70        850.00        $1,445.00
                                Babcock regarding plan discovery issues

 10/01/2021   JSP     PD        Analysis regarding protocol in connection with plan           1.90        850.00        $1,615.00
                                discovery issues, including declassification

 10/01/2021   VAN     PD        Work on plan confirmation issues outline.                     3.00      1050.00         $3,150.00

 10/01/2021   MPK     PD        Review Purdue case, judge's rulings re third party            3.60        795.00        $2,862.00
                                releases and draft notes re same (3.2); draft email to
                                V. Newmark re Purdue findings (.4)
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 10/01/2021   JWL      PD       Attend non -TCC state court counsel group call             1.60        825.00        $1,320.00
                                regarding Plan issues (1.6).

 10/01/2021   SWG      PD       Update objection to protective order motion.               0.30        625.00         $187.50

 10/01/2021   SWG      PD       Update plan discovery per various emails from team.        1.00        625.00         $625.00

 10/01/2021   SWG      PD       Call with M. Pagay and G. Brown re:                        0.70        625.00         $437.50
                                plan/confirmation litigation.

 10/02/2021   GNB      PD       Draft requests for production to Debtors re Plan.          1.20        795.00         $954.00

 10/02/2021   IAWN PD           Review Newmark/Stang/Pagay emails re plan                  0.20      1025.00          $205.00
                                objection outline and Green discovery

 10/02/2021   JIS      PD       Attend BSA conference call with Debtor, insurers           1.10      1195.00         $1,314.50
                                and other plan parties regarding scheduling order.

 10/02/2021   KHB      PD       All BSA call re proposed scheduling order (1.1);           1.50        995.00        $1,492.50
                                review proposed order and prepare for same (.4).

 10/02/2021   MSP      PD       Attend meet and confer with counsel re: Proposed           1.20        875.00        $1,050.00
                                Confirmation Scheduling Order (1.1); email
                                exchange with James I. Stang, John W. Lucas,
                                Kenneth H. Brown, Steve W. Golden, Iain Nasatir
                                re: same (.1).

 10/02/2021   MSP      PD       Work on confirmation litigation discovery issues,          4.50        875.00        $3,937.50
                                logistics and coordination (4.3); email exchanges
                                with James I. Stang, Gillian N. Brown, Kenneth H.
                                Brown, Victoria A. Newmark, et al. re: same (.2).

 10/02/2021   BEL      PD       Draft FCR document requests.                               3.20        825.00        $2,640.00

 10/02/2021   VAN      PD       Work on plan confirmation issues outline.                  6.30      1050.00         $6,615.00

 10/02/2021   SWG      PD       Continue drafting plan confirmation-related                1.30        625.00         $812.50
                                discovery

 10/03/2021   GNB      PD       Draft requests for production to Debtors re                2.10        795.00        $1,669.50
                                solicitation and Plan.

 10/03/2021   GNB      PD       Email with internal PSZJ team regarding solicitation       0.60        795.00         $477.00
                                and Plan discovery.

 10/03/2021   GNB      PD       Telephone conference with Malhar S. Pagay                  0.20        795.00         $159.00
                                regarding Plan discovery.

 10/03/2021   GNB      PD       Revise proposed agenda for tomorrow’s internal             0.10        795.00          $79.50
                                PSZJ call re Plan discovery.

 10/03/2021   GNB      PD       Email David H. Judd and Matthew K. Babcock                 0.10        795.00          $79.50
                                regarding Plan discovery.
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 10/03/2021   GNB      PD       Review proposed scheduling order for Plan                  0.10        795.00          $79.50
                                discovery.

 10/03/2021   IAWN PD           Review Brown/Pagay/Golden emails re scheduling             0.70      1025.00          $717.50
                                order

 10/03/2021   IAWN PD           Review scheduling order draft                              0.10      1025.00          $102.50

 10/03/2021   IAWN PD           Review Zurich scheduling order                             0.10      1025.00          $102.50

 10/03/2021   IAWN PD           Review Pagay report re meet and confer with                0.10      1025.00          $102.50
                                debtors

 10/03/2021   IAWN PD           Review Hartford RFPs and emails re same from               0.50      1025.00          $512.50
                                team

 10/03/2021   IAWN PD           Call with J. Stang re plan coverage issues.                0.20      1025.00          $205.00

 10/03/2021   JIS      PD       Call K. Brown re plan litigation issues and                0.80      1195.00          $956.00
                                identification of discovery issues.

 10/03/2021   JIS      PD       Call I. Nasatir regarding insurance coverage issues        0.20      1195.00          $239.00
                                for plan confirmation.

 10/03/2021   KHB      PD       Call with J. Stang re plan objection and discovery         2.60        995.00        $2,587.00
                                (.8); review proposed revision to scheduling order
                                and emails to M. Pagay re same (.8); emails to S.
                                Golden and G. Brown re Me Too motion (.3); emails
                                with PSZJ re plan discovery (.5); review stipulation
                                extending preliminary injunction and emails with J.
                                Lucas and M. Andolina re same (.2).

 10/03/2021   MSP      PD       Email to W. Lucas re: Plan discovery, confirmation         0.30        875.00         $262.50
                                scheduling, etc.

 10/03/2021   MSP      PD       work on Plan confirmation litigation discovery             2.70        875.00        $2,362.50
                                issues, logistics and coordination (2.6); email
                                exchange with Kenneth H. Brown, Gillian N.
                                Brown, Steve W. Golden, James I. Stang, S. Gurvitz,
                                K. McNally, et al. re: same (.1).

 10/03/2021   MSP      PD       Work on to production requests to Future Claims            2.80        875.00        $2,450.00
                                Representative (2.7); email exchange with Beth E.
                                Levine, K. McNally, et al. re: same (.1).

 10/03/2021   MSP      PD       Meet and confer with debtors' and insurers' counsel        1.00        875.00         $875.00
                                re: Proposed Confirmation Scheduling Order.

 10/03/2021   BEL      PD       Draft, Review and revise discovery requests to FCR         5.20        825.00        $4,290.00
                                and Ankura.

 10/03/2021   BEL      PD       Multiple emails with litigation team regarding             0.60        825.00         $495.00
                                discovery issues.
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 10/03/2021   VAN     PD        Research and analysis regarding plan confirmation         5.30      1050.00         $5,565.00
                                issues; work on outline regarding same.

 10/03/2021   SWG     PD        Update insurer-related requests for production re:        0.50        625.00         $312.50
                                plan confirmation

 10/03/2021   SWG     PD        Review and edit proposed plan discovery                   0.40        625.00         $250.00
                                procedures.

 10/03/2021   SWG     PD        Update requests for production based on comments          1.00        625.00         $625.00

 10/04/2021   DG      PD        Call with PSZJ plan litigation tem re: confirmation       1.00      1095.00         $1,095.00
                                discovery (partial attendance)

 10/04/2021   DG      PD        Review and respond to multiple emails with insurers       0.30      1095.00          $328.50
                                and BSA and PSZJ re: trial scheduling

 10/04/2021   DG      PD        Review insurers pleading regarding confirmation           0.30      1095.00          $328.50
                                schedule

 10/04/2021   DG      PD        Review and respond to R. Orgel email re:                  0.20      1095.00          $219.00
                                confirmation discovery

 10/04/2021   GNB     PD        Email Malhar S. Pagay regarding Plan discovery and        0.10        795.00          $79.50
                                Plan strategy.

 10/04/2021   GNB     PD        Draft requests for production to Debtors re               1.40        795.00        $1,113.00
                                solicitation and Plan.

 10/04/2021   GNB     PD        Email with Michael A. Matteo regarding discovery          0.10        795.00          $79.50
                                issues on docket.

 10/04/2021   GNB     PD        Email Stamatios Stamoulis regarding Coalition             0.10        795.00          $79.50
                                responses and objections to Century discovery.

 10/04/2021   GNB     PD        Draft joinder to Certain Insurers’ group statement        0.10        795.00          $79.50
                                regarding discovery deadlines.

 10/04/2021   GNB     PD        Telephone conference with internal PSZJ team              1.50        795.00        $1,192.50
                                regarding Plan strategy and Plan confirmation
                                discovery.

 10/04/2021   GNB     PD        Telephone conference with internal PSZJ team and          1.00        795.00         $795.00
                                Berkeley Research Group, LLC regarding Plan
                                confirmation documents.

 10/04/2021   GNB     PD        Telephone conference with Malhar S. Pagay                 0.60        795.00         $477.00
                                regarding coordination of Plan discovery
                                assignments.

 10/04/2021   GNB     PD        Revise Plan litigation tracking chart, and assign         1.00        795.00         $795.00
                                projects to lawyers and paralegal.
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 10/04/2021   GNB      PD       Coordinate assignments to litigators, including              0.40        795.00         $318.00
                                provision of background materials.

 10/04/2021   GNB      PD       Review form of subpoena for Plan discovery; Email            0.10        795.00          $79.50
                                James E. O’Neill and Beth E. Levine regarding
                                same.

 10/04/2021   GNB      PD       Email Miriam Manning regarding analysis for Plan             0.50        795.00         $397.50
                                discovery.

 10/04/2021   IAWN PD           Review deductible chart from Schulman                        0.10      1025.00          $102.50

 10/04/2021   IAWN PD           Review Orgel email re evidence at confirmation               0.20      1025.00          $205.00
                                hearing

 10/04/2021   IAWN PD           Review and comment on model discovery to                     2.40      1025.00         $2,460.00
                                insurers and BSA

 10/04/2021   IAWN PD           Telephone conference w/PSZJ plan litigation team             1.50      1025.00         $1,537.50
                                re depositions and discovery

 10/04/2021   IAWN PD           Review and respond to scheduling, objections re              2.50      1025.00         $2,562.50
                                discovery,insurers statements

 10/04/2021   JIS      PD       Call with PSZJ litigation team and BRG to review             1.00      1195.00         $1,195.00
                                plan litigation issues.

 10/04/2021   JKH      PD       Review draft scheduling order and emails regarding           1.70      1095.00         $1,861.50
                                same (.2); Team conference call regarding agenda
                                regarding confirmation issues, discovery (1.5)

 10/04/2021   KHB      PD       Telephone call with J. Lucas re plan scheduling              5.20        995.00        $5,174.00
                                order (.3); emails with B. Levine re scheduling order
                                (.1); emails with objecting parties re scheduling
                                order (.2); emails with PSZJ re scheduling order (.3);
                                review proposed revisions to scheduling order (.2);
                                call with R. Orgel re plan discovery issues (.2);
                                review insurers proposed statement re scheduling
                                order (.3); emails with M. Plevin re same (.2);
                                review agenda for Oct. 5 hearing (.1); emails with
                                PSZJ team re insurer statement re Jan. 24 hearing
                                (.1); emails with M. Pagay re plan discovery and
                                scheduling (.2); call with BRG and PSZJ re
                                valuation analysis and discovery (1.0); call with
                                PSZJ plan litigation and discovery (1.5); review
                                stipulation re use of summaries and compilation (.3);
                                email with J. Lucas re same (.2).

 10/04/2021   MAM      PD       Research for Gillian N. Brown regarding responses            1.60        395.00         $632.00
                                to discovery from the Debtors and the Coalition of
                                Abused Scouts for Justice and updates to discovery
                                chart.
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 10/04/2021   MAM     PD        Review docket with new search terms and update              3.20        395.00        $1,264.00
                                discovery chart for Gillian N. Brown.

 10/04/2021   MSP     PD        Telephone call with Gillian N. Brown re: Plan               0.60        875.00         $525.00
                                discovery.

 10/04/2021   MSP     PD        Email with James I. Stang re: Plan litigation.              0.10        875.00          $87.50

 10/04/2021   MSP     PD        Attention to documents needed for confirmation              0.90        875.00         $787.50
                                objections (.8); email exchange with M. Babcock, D.
                                Judd, Gillian N. Brown, Kenneth H. Brown, et al. re:
                                same (.1).

 10/04/2021   MSP     PD        Telephone call with John W. Lucas re: Plan                  0.50        875.00         $437.50
                                strategy, etc.

 10/04/2021   MSP     PD        Meeting with PSZJ and BRG re: valuation                     1.00        875.00         $875.00
                                discovery.

 10/04/2021   MSP     PD        Internal PSZJ meeting re: Plan objections and               1.50        875.00        $1,312.50
                                discovery.

 10/04/2021   MSP     PD        Telephone call with John W. Lucas re: Plan                  0.20        875.00         $175.00
                                litigation, etc.

 10/04/2021   MSP     PD        Review and analysis of issues re and preparation for        1.50        875.00        $1,312.50
                                meeting re: Plan confirmation litigation.

 10/04/2021   MSP     PD        Email exchange with M. Plevin, Kenneth H. Brown,            0.30        875.00         $262.50
                                et al. re: potential cancellation of hearing re: plan
                                scheduling issues.

 10/04/2021   MSP     PD        Email exchange with Steve W. Golden, et al. re:             0.20        875.00         $175.00
                                joinder to Century motion to clarify ruling.

 10/04/2021   RBO     PD        Join PSZJ team to discuss plan discovery, etc.              1.50      1145.00         $1,717.50

 10/04/2021   RBO     PD        Preparation of message with suggestions for                 0.90      1145.00         $1,030.50
                                discovery focus to Malhar S. Pagay, Kenneth H.
                                Brown, and others

 10/04/2021   RBO     PD        Call with Kenneth H. Brown regarding discovery              0.20      1145.00          $229.00
                                focus suggestion

 10/04/2021   JEO     PD        Participate in call with PSZJ team re plan discovery        1.50        925.00        $1,387.50

 10/04/2021   JEO     PD        Review insurers' statement regarding confirmation           0.50        925.00         $462.50
                                discovery schedule

 10/04/2021   JEO     PD        Review drafts of discovery and logistic issues re           2.00        925.00        $1,850.00
                                service

 10/04/2021   BEL     PD        Review revisions to scheduling order and email              0.20        825.00         $165.00
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                                PSZJ team regarding same.
 10/04/2021   BEL     PD        Draft Bates White discovery request and review and         3.90        825.00        $3,217.50
                                revise same.

 10/04/2021   BEL     PD        Review portions of disclosure statement relating to        0.70        825.00         $577.50
                                Bates White analysis.

 10/04/2021   BEL     PD        Call with internal PSZJ team regarding confirmation        1.50        825.00        $1,237.50
                                issues and discovery issues.

 10/04/2021   BEL     PD        Review and revise discovery requests to Bates              0.50        825.00         $412.50
                                White.

 10/04/2021   BEL     PD        Emails with litigation team regarding drafting and         0.30        825.00         $247.50
                                service of discovery requests.

 10/04/2021   BEL     PD        Review agenda for PSZJ plan litigation call.               0.20        825.00         $165.00

 10/04/2021   MPK     PD        Review proposed documents in advance of meeting            2.50        795.00        $1,987.50
                                with BSA litigation team (.4); call with PSZJ
                                litigation team regarding upcoming plan discovery
                                (1.5); review and respond to email from Gillian B.
                                regarding discovery project; review discovery from
                                insurers (.6)

 10/04/2021   JWL     PD        Call with K. Brown regarding confirmation                  4.10        825.00        $3,382.50
                                scheduling order (.3); call with M. Pagay regarding
                                plan strategy issues (.5); review slide deck for
                                presentation to NCVBA (.6); call with PSZJ team
                                regarding confirmation discovery and litigation
                                issues (1.5); attend call with PSZJ and BRG
                                regarding expert valuation issues (1.); another call
                                with m. Pagay re plan (.2)

 10/04/2021   SWG     PD        Continue drafting and editing confirmation                 1.20        625.00         $750.00
                                discovery requests

 10/04/2021   SWG     PD        Participate in call with PSZJ team re: confirmation        1.50        625.00         $937.50
                                discovery and litigation.

 10/05/2021   DG      PD        Review and respond to emails from Committee                0.70      1095.00          $766.50
                                members re: pro se receipt of solicitation materials
                                (.2); email to BSA team re: same (.1); emails re:
                                counsel election (.1) ; response from Blair at WC
                                (.1) ; draft further email to committee members (.1)
                                responses to and from SCC (.1)

 10/05/2021   GNB     PD        Telephone conference with Miriam Manning                   0.50        795.00         $397.50
                                regarding Plan discovery.

 10/05/2021   GNB     PD        Email Beth E. Levine regarding subpoenas.                  0.10        795.00          $79.50
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 10/05/2021   GNB     PD        Email to Beth D. Dassa to locate law journal article;       0.10        795.00          $79.50
                                Email law journal article to internal PSZJ team.

 10/05/2021   GNB     PD        Email to Miriam Manning regarding Plan-related              0.30        795.00         $238.50
                                discovery and Century's propounded discovery
                                requests (.2); Email Stamatios Stamoulis regarding
                                Century discovery propounded to other parties in
                                interest (.1).

 10/05/2021   GNB     PD        Email with Beth E. Levine regarding Plan-related            0.20        795.00         $159.00
                                document requests and deposition
                                notices/subpoenas.

 10/05/2021   GNB     PD        Call with M. Pagay re plan discovery.                       1.00        795.00         $795.00

 10/05/2021   GNB     PD        Telephone conferences with James E. O'Neill                 1.70        795.00        $1,351.50
                                (partial) and M. Manning re Plan objection strategy
                                and related discovery.

 10/05/2021   GNB     PD        Draft requests for production to Debtors re                 0.10        795.00          $79.50
                                solicitation and Plan.

 10/05/2021   GNB     PD        Email with Steven W. Golden regarding Plan                  0.10        795.00          $79.50
                                discovery to insurers.

 10/05/2021   GNB     PD        Email with James E. O’Neill and Beth E. Levine              0.20        795.00         $159.00
                                regarding subpoenas and service thereof.

 10/05/2021   GNB     PD        Coordinate document requests, deposition notices,           1.70        795.00        $1,351.50
                                and subpoenas to be filed by Friday, including
                                updating tracking charts and confirming progress
                                with attorneys and paralegals.

 10/05/2021   GNB     PD        Revise and edit template for Plan-related subpoenas         0.10        795.00          $79.50
                                duces tecum.

 10/05/2021   GNB     PD        Telephone conference with Steven W. Golden                  0.30        795.00         $238.50
                                regarding Plan discovery to insurers and to other
                                entities.

 10/05/2021   GNB     PD        Draft requests for production directed to claims            0.50        795.00         $397.50
                                aggregators.

 10/05/2021   GNB     PD        Email James E. O’Neill regarding withdrawal of              0.10        795.00          $79.50
                                motion at Docket No. 6271.

 10/05/2021   IAWN PD           Review statement by insurers and BSA response               0.20      1025.00          $205.00

 10/05/2021   IAWN PD           Review mediation parties list and compare to                0.80      1025.00          $820.00
                                insurers and email lists

 10/05/2021   IAWN PD           Review Brown O'Neill emails re scheduling order             0.10      1025.00          $102.50
                                and 2004
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 10/05/2021   IAWN PD           Review Schulman list of Chubb insurers                       0.20      1025.00          $205.00

 10/05/2021   IAWN PD           Review Schulman list of all insurers by group                0.20      1025.00          $205.00

 10/05/2021   IAWN PD           Review TDP discussion in plan in email                       0.10      1025.00          $102.50

 10/05/2021   IAWN PD           Review Claro and Lucas emails re SOL information             0.10      1025.00          $102.50

 10/05/2021   IAWN PD           Review email re Claro retention from O'Neill                 0.10      1025.00          $102.50

 10/05/2021   IAWN PD           Review and exchange emails with Golden and PSZJ              2.00      1025.00         $2,050.00
                                team re insurance discovery and review same

 10/05/2021   IAWN PD           Review AIG settlement                                        0.80      1025.00          $820.00

 10/05/2021   IAWN PD           Telephone conference w/S. Golden re discovery                0.30      1025.00          $307.50

 10/05/2021   IAWN PD           Telephone conference with J. Schulman re discovery           0.20      1025.00          $205.00

 10/05/2021   IAWN PD           Telephone conference with J. Schulman re insurers            0.20      1025.00          $205.00

 10/05/2021   IAWN PD           Email with Gillian Brown re FCR and Coalition                0.10      1025.00          $102.50

 10/05/2021   IAWN PD           Review Claro and Lucas emails re statute limitation          0.10      1025.00          $102.50
                                information

 10/05/2021   IAWN PD           Review and exchange emails with Golden and PSZJ              3.20      1025.00         $3,280.00
                                team re insurance discovery (.6); and work on
                                insurance discovery (2.6).

 10/05/2021   JIS      PD       Call J. Lucas regarding meeting on issues for plan           0.20      1195.00          $239.00
                                confirmation.

 10/05/2021   JIS      PD       Call P. Mones regarding presentation by state court          0.50      1195.00          $597.50
                                counsel regarding plan and disclosure statement.

 10/05/2021   JIS      PD       Call K. Brown regarding major themes for plan                0.60      1195.00          $717.00
                                objection and tie in to discovery.

 10/05/2021   JKH      PD       Email from Peach regarding pensions memoranda                0.40      1095.00          $438.00
                                and review same

 10/05/2021   KHB      PD       Review Debtor's response to Insurers statement on            5.80        995.00        $5,771.00
                                scheduling and insurers statement (.5); prepare for
                                hearing on scheduling (.3); emails with PSZJ team re
                                joinder in Insurers' Statement on Scheduling (.3);
                                emails with Counsel for Century re TDP discover
                                (.2); emails with S. Golden re plan discovery (.2);
                                review RFPs to TCJC (.3); emails from G. Kurtz ant
                                T. Schiavoni re scheduling order (.2); emails with
                                M. Plevin re scheduling order (.2); call with J. Lucas
                                re plan discovery (.3); emails from Debtors and
                                Insurers re revisions to scheduling order (.3); review
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                                revisions to scheduling order (.2); call with SCC re
                                plan issues and discovery (.7); emails with S.
                                Golden and I. Nasatir re plan discovery (.2); review
                                insurers opposition to debtors' motion for protective
                                order (.6); call with J. Stang re plan issues and
                                discovery (.6); confer with M. Pagay re plan issues
                                and discovery (.2); emails from R. Orgel re plan
                                discovery issues (.5).
 10/05/2021   MAM     PD        Draft and forward deposition subpoena to Gillian N.         1.20        395.00         $474.00
                                Brown (1.); call with G. Brown re same (.2).

 10/05/2021   MAM     PD        Call with G. Brown re plan discovery.                       0.50        395.00         $197.50

 10/05/2021   MAM     PD        Revise form subpoena for Beth E. Levine.                    0.60        395.00         $237.00

 10/05/2021   MAM     PD        Locate and forward privilege log to Gillian N.              0.20        395.00          $79.00
                                Brown.

 10/05/2021   MSP     PD        Telephone calls with Gillian N. Brown and James E.          1.70        875.00        $1,487.50
                                O'Neill re: Plan objection strategy and discovery.

 10/05/2021   MSP     PD        Email to with Kenneth H. Brown re: hearing re:              0.10        875.00          $87.50
                                Plan discovery motions.

 10/05/2021   MSP     PD        Telephone call with Gillian N. Brown re: Plan               1.00        875.00         $875.00
                                discovery.

 10/05/2021   MSP     PD        Email to John W. Lucas re: Plan strategy, TCC               0.10        875.00          $87.50
                                discovery.

 10/05/2021   MSP     PD        Outline email to Gillian N. Brown re: Plan                  0.90        875.00         $787.50
                                discovery issues and planning.

 10/05/2021   MSP     PD        Attention to Plan confirmation litigation discovery         2.30        875.00        $2,012.50
                                issues, logistics and coordination (2.1);; email
                                exchange with Kenneth H. Brown, John W. Lucas,
                                K. McNally, et al. re: same (.2).

 10/05/2021   MSP     PD        Telephone call with James E. O'Neill re: Plan               0.50        875.00         $437.50
                                litigation, TCC discovery.

 10/05/2021   MSP     PD        Email exchange with Victoria A. Newmark re:                 0.10        875.00          $87.50
                                potential Plan confirmation objections.

 10/05/2021   MSP     PD        Email exchange with S. Hershey re: ESI protocol             0.10        875.00          $87.50
                                re: discovery scheduling and procedure.

 10/05/2021   RBO     PD        Review Debra Grassgreen message regarding case              0.80      1145.00          $916.00
                                addressing channeling injunction scope and review
                                forwarded case

 10/05/2021   RBO     PD        Review and exchange messages regarding                      0.20      1145.00          $229.00
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                                solicitation packages
 10/05/2021   JEO     PD        Review Certain Insurers' Statement re Plan                   0.50        925.00         $462.50
                                Discovery Schedule (.3); and emails with PSZJ team
                                re 10/5 hearing (.2)

 10/05/2021   JEO     PD        Continued review of discovery issues for plan                0.30        925.00         $277.50
                                confirmation

 10/05/2021   JEO     PD        Call with Malhar Pagay to discuss discovery needed           0.50        925.00         $462.50
                                for best interest test on confirmation

 10/05/2021   JEO     PD        Call with G. Brown re plan discovery                         1.70        925.00        $1,572.50

 10/05/2021   BEL     PD        Review and revise subpoena and email M. Matteo               0.70        825.00         $577.50
                                regarding same.

 10/05/2021   BEL     PD        Draft 30(b)(6) notice.                                       3.20        825.00        $2,640.00

 10/05/2021   BEL     PD        Further revisions to subpoena.                               0.50        825.00         $412.50

 10/05/2021   BEL     PD        Draft discovery request.                                     1.40        825.00        $1,155.00

 10/05/2021   BEL     PD        Update status chart.                                         0.20        825.00         $165.00

 10/05/2021   BEL     PD        Emails with PSZJ litigation team regarding                   0.30        825.00         $247.50
                                discovery requests to be drafted and revised.

 10/05/2021   BEL     PD        Email with Gillian N. Brown regarding discovery to           0.20        825.00         $165.00
                                be drafted.

 10/05/2021   VAN     PD        Review draft RFPs regarding plan confirmation                0.80      1050.00          $840.00
                                issues; draft email to Steve Golden regarding same.

 10/05/2021   MPK     PD        Call with Gillian B. regarding discovery by insurers         5.60        795.00        $4,452.00
                                (.5); review insurer discovery on third parties and
                                draft notes to file (2.1); draft email to Gillian B
                                regarding missing discovery (.8) second and third
                                call with Gillian B regarding discovery (.5); draft
                                email to Gillian B regarding summaries of discovery
                                (1); draft notice of Eric Green deposition (.1); draft
                                RFP for Eric Green (.2); review docket and
                                pleadings regarding Coalition (.3); draft email to
                                Gillian B. regarding Coalition (.1)

 10/05/2021   JWL     PD        Call with K. Brown regarding confirmation                    1.30        825.00        $1,072.50
                                discovery (.3); review litigation timeline (.3); call
                                with J. Stang re plan issues (.2); respond to plan
                                discovery questions from PSZJ team (.5).

 10/05/2021   SWG     PD        Call with I. Nasitir re: service on various insurers         0.30        625.00         $187.50
                                and insurer document requests.
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 10/05/2021   SWG     PD        Continue drafting discovery requests related to plan         6.20        625.00        $3,875.00
                                confirmation (5.9); call with G. Brown re same (.3)

 10/06/2021   DG      PD        Call with PSZJ team re plan objection (1.4); email to        1.70      1095.00         $1,861.50
                                J. Stang re same (.3).

 10/06/2021   GNB     PD        Email to Malhar S. Pagay regarding Plan-related              0.10        795.00          $79.50
                                discovery timeline.

 10/06/2021   GNB     PD        Draft requests for production to Debtors re                  2.30        795.00        $1,828.50
                                solicitation and Plan.

 10/06/2021   GNB     PD        Telephone conference with Steven W. Golden                   0.30        795.00         $238.50
                                regarding Plan discovery logistics and substance
                                (.2); Email with Steven W. Golden regarding same
                                (.1).

 10/06/2021   GNB     PD        Telephone conference with internal PSZJ team                 1.40        795.00        $1,113.00
                                regarding Plan objection strategy, evidentiary issues,
                                and discovery relating to same.

 10/06/2021   GNB     PD        Telephone conference with internal PSZJ team                 0.40        795.00         $318.00
                                regarding procedures for service of Plan discovery.

 10/06/2021   GNB     PD        Email with PSZJ internal team regarding Plan                 0.10        795.00          $79.50
                                discovery.

 10/06/2021   GNB     PD        Email with PSZJ internal team regarding procedures           0.30        795.00         $238.50
                                for service of Plan discovery.

 10/06/2021   GNB     PD        Email with internal PSZJ team regarding                      0.10        795.00          $79.50
                                insurance-related Plan discovery.

 10/06/2021   GNB     PD        Telephone conference with Miriam Manning                     0.20        795.00         $159.00
                                regarding Plan-related discovery to Eric Green and
                                to claims aggregators.

 10/06/2021   GNB     PD        Revise and edit draft document requests to Eric              0.30        795.00         $238.50
                                Green.

 10/06/2021   GNB     PD        Review Victoria A. Newmark’s edits to draft                  0.10        795.00          $79.50
                                requests for production directed to Debtors.

 10/06/2021   GNB     PD        Draft email to Kenneth H. Brown regarding                    0.40        795.00         $318.00
                                additional discovery issues.

 10/06/2021   IAWN PD           Check prior discovery of Hartford and Century                1.20      1025.00         $1,230.00

 10/06/2021   IAWN PD           Review valuation article                                     0.30      1025.00          $307.50

 10/06/2021   IAWN PD           Review Brown emails re same and coverage expert              0.10      1025.00          $102.50

 10/06/2021   IAWN PD           Review and exchange emails with Golden,                      3.00      1025.00         $3,075.00
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                                                                                           Hours            Rate       Amount
                                Schulman, PSZJ team (40+ emails) re discovery on
                                insurers
 10/06/2021   IAWN PD           Telephone conference w/ PSZJ re plan objection and           1.40      1025.00         $1,435.00
                                discovery

 10/06/2021   JIS      PD       Call with PSZJ litigation team regarding plan                0.40      1195.00          $478.00
                                confirmation issues.

 10/06/2021   JIS      PD       Review town hall power point presentation                    0.50      1195.00          $597.50
                                regarding plan and disclosure statement

 10/06/2021   JKH      PD       Attend teleconference with PSZJ team regarding               1.70      1095.00         $1,861.50
                                discovery scope, preparation (1.4); Preparation of
                                30(b)(6) notices regarding PBGC claim and emails
                                to, from Gillian N. Brown regarding same, finalizing
                                Requests for Production of Documents (.3)

 10/06/2021   KHB      PD       Calls with J.Lucas on communications with                    7.30        995.00        $7,263.50
                                survivors in town hall meeting (.4); call with J.
                                Lucas re solicitation issues (.8); emails from with R.
                                Kehr re same (.2); PSZJ call re plan discovery (1.4);
                                Call with Klee Touchin re plan discovery (.5);
                                emails with J. Lucas, J. Stang, M. Pagay re plan
                                discovery (.5); emails with G. Brown re plan
                                discovery (.2); emails with B. Levine re Plan
                                discovery (.2); review recent authority re
                                non-consensual releases and insurance neutrality
                                (2.8); emails with J. Stang re plan discovery (.3);

 10/06/2021   MSP      PD       Email with John W. Lucas re: Plan discovery.                 0.10        875.00          $87.50

 10/06/2021   MSP      PD       Email with Gillian N. Brown re: Plan discovery.              0.10        875.00          $87.50

 10/06/2021   MSP      PD       Attention to Plan confirmation litigation discovery          2.90        875.00        $2,537.50
                                issues, logistics and coordination (2.6); email
                                exchange with Iain Nasatir, Gillian N. Brown, John
                                W. Lucas, James I. Stang, Beth E. Levine, Kenneth
                                H. Brown, et al. re: same (.30).

 10/06/2021   MSP      PD       Meeting with PSZJ re: status of Plan discovery.              1.40        875.00        $1,225.00

 10/06/2021   MSP      PD       Meeting with S. Gurvitz, R. Pfister, et al. re: Plan         0.50        875.00         $437.50
                                discovery.

 10/06/2021   MSP      PD       Telephone call with Victoria A. Newmark re: Plan             0.20        875.00         $175.00
                                confirmation objections.

 10/06/2021   MSP      PD       Email exchange with litigation team re: RSA                  0.10        875.00          $87.50
                                Motion depositions.

 10/06/2021   MSP      PD       Email exchange with Victoria A. Newmark re:                  0.10        875.00          $87.50
                                development of Plan confirmation objections.
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 10/06/2021   MSP     PD        Email exchange with Iain Nasatir, J. Schulman, et al.       0.10        875.00          $87.50
                                re: insurer discovery.

 10/06/2021   JEO     PD        Call with PSZJ team to discuss plan discovery               1.40        925.00        $1,295.00

 10/06/2021   JEO     PD        Follow up call with PSZJ team to discuss discovery          0.40        925.00         $370.00
                                logistics

 10/06/2021   JEO     PD        Email to Debtors' counsel re discovery planned for          0.30        925.00         $277.50
                                Bates White

 10/06/2021   JEO     PD        Email FCR counsel re discovery planned for Ankura           0.30        925.00         $277.50

 10/06/2021   JEO     PD        Review forms of discovery and notices(1.8); review          4.10        925.00        $3,792.50
                                terms of discovery scheduling order(.5); review
                                service parties and service requirements (1.8)

 10/06/2021   BEL     PD        Telephone conference with PSZJ litigation team              1.40        825.00        $1,155.00
                                regarding discovery open issues and logistics.

 10/06/2021   BEL     PD        Telephone conference with Steven W. Golden,                 0.40        825.00         $330.00
                                James E. O'Neill and Gillian N. Brown regarding
                                logistic of service of discovery.

 10/06/2021   BEL     PD        Draft emails regarding service issues.                      0.30        825.00         $247.50

 10/06/2021   BEL     PD        Draft and review and revise discovery requests.             6.20        825.00        $5,115.00

 10/06/2021   BEL     PD        Email with Steven W. Golden regarding draft                 0.10        825.00          $82.50
                                discovery requests.

 10/06/2021   VAN     PD        Review draft RFPs regarding plan confirmation               0.80      1050.00          $840.00
                                issues; draft email to Gillian Brown regarding same
                                (.6); call with M. Pagay re plan objection (.2)

 10/06/2021   MPK     PD        Review files and draft document requests for Green          6.80        795.00        $5,406.00
                                (4.7); emails with Gillian B retarding Green requests
                                (.8); draft emails to PSZJ team regarding discovery
                                issues (1); call with G. Brown re discovery (.2);
                                revise notice of deposition for Green (.1)

 10/06/2021   JWL     PD        Call with PSZJ team regarding plan discovery (1.4);         6.10        825.00        $5,032.50
                                call with PSZJ and KTBS regarding plan discovery
                                (.5); respond to voting questions by survivors and
                                counsel (.7); call with K. Brown re survivor
                                communication (.4); call with K. Brown and J. Stang
                                (partial) regarding solicitation and discovery issues
                                (.8); review plan discovery documents and open
                                questions (1.5); respond to questions regarding
                                scheduling and participation in the confirmation
                                process (.8);
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 10/06/2021   SWG     PD        Continue drafting numerous discovery requests               7.00        625.00        $4,375.00
                                related to confirmation

 10/06/2021   SWG     PD        Call with K. LaBrada re: plan confirmation                  0.20        625.00         $125.00
                                discovery matters

 10/06/2021   SWG     PD        Litigation discovery logistics call with PSZJ team.         1.40        625.00         $875.00

 10/06/2021   SWG     PD        Call with PSZJ team re: discovery logistics.                0.40        625.00         $250.00

 10/06/2021   SWG     PD        Emails with G. Brown re: plan discovery strategy            0.20        625.00         $125.00

 10/06/2021   SWG     PD        Emails with B. Levine re: TCJC discovery                    0.10        625.00          $62.50

 10/06/2021   KLL     PD        Telephone call with S. Golden re project on                 0.20        460.00          $92.00
                                discovery

 10/06/2021   KLL     PD        Review various notices and claims and update chart          5.40        460.00        $2,484.00
                                relating to discovery process

 10/07/2021   DG      PD        Call with PSZJ team re: Plan strategy.                      0.70      1095.00          $766.50

 10/07/2021   DG      PD        Call with Patterson, Zalkin, Amala and Klee and             1.00      1095.00         $1,095.00
                                PSZJ team re: plan issues

 10/07/2021   DG      PD        Review sample solicitation package and emails with          0.40      1095.00          $438.00
                                B. Osborne re: same

 10/07/2021   GNB     PD        work on edits to and service of discovery to be             1.20        795.00         $954.00
                                served by Oct. 8th.

 10/07/2021   GNB     PD        Call with K. Brown re plan discovery (.2)                   0.20        795.00         $159.00

 10/07/2021   GNB     PD        Email with Kenneth H. Brown regarding requests              0.10        795.00          $79.50
                                for production directed to Debtors.

 10/07/2021   GNB     PD        Telephone conference with internal PSZJ team                1.00        795.00         $795.00
                                regarding Plan discovery.

 10/07/2021   GNB     PD        Review edits from Jeffrey Shulman, Kenneth H.               0.20        795.00         $159.00
                                Brown, and Iain A.W. Nasatir to requests for
                                production directed to Debtors.

 10/07/2021   GNB     PD        Revise and edit requests for production.                    4.50        795.00        $3,577.50

 10/07/2021   GNB     PD        Supervise staff regarding coordination for service on       1.30        795.00        $1,033.50
                                registered agents.

 10/07/2021   GNB     PD        Draft subpoenas for document production relating to         6.00        795.00        $4,770.00
                                Plan.

 10/07/2021   IAWN PD           Telephone conference w/ Zalkin Group and PSZJ               1.00      1025.00         $1,025.00
                                team, re plan objection strategy
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 10/07/2021   IAWN PD           Review and comment on Century RFPs                          1.00      1025.00         $1,025.00

 10/07/2021   IAWN PD           Exchange emails with Newmark re poc questions for           0.10      1025.00          $102.50
                                Century

 10/07/2021   IAWN PD           Reviewed and commented on RFP to debtors                    1.00      1025.00         $1,025.00

 10/07/2021   IAWN PD           Exchanged emails with Ken Brown, Gillian Brown,             0.30      1025.00          $307.50
                                Schulman, Golden re same

 10/07/2021   IAWN PD           Review Schulman emails re insurers counsel                  0.10      1025.00          $102.50

 10/07/2021   IAWN PD           Review and exchange emails with PSZJ team re                3.50      1025.00         $3,587.50
                                discovery (Liberty Mutual among others) (90+
                                emails)

 10/07/2021   IAWN PD           Telephone conference with PSZJ team and                     1.00      1025.00         $1,025.00
                                Schulman re plan discovery.

 10/07/2021   IAWN PD           Telephone conference w/ PSZJ team re plan                   0.70      1025.00          $717.50
                                objection strategy

 10/07/2021   JIS      PD       Call with PSZJ litigation team regarding TCC plan           0.70      1195.00          $836.50
                                strategy

 10/07/2021   JIS      PD       Call with Zalkin/PFN counsel regarding TCC plan             1.00      1195.00         $1,195.00
                                and DS.

 10/07/2021   JIS      PD       Call potential trustee regarding alternative plan.          0.10      1195.00          $119.50

 10/07/2021   JKH      PD       Emails from, to discovery team regarding finalizing         0.20      1095.00          $219.00
                                requests

 10/07/2021   KHB      PD       Work on discovery requests (1.8); emails with E.            8.70        995.00        $8,656.50
                                Smola and J. Lucas re discovery requests and
                                requirements of scheduling order (.3); call with G.
                                Brown re discovery requests (.2); review and
                                respond to PSZJ emails and draft discovery requests
                                (1.3); email from/to Sasha Gurvitz re plan discovery
                                (.2); analyze Purdue Bench decision re third party
                                releases and plan objections (1.7); review disclosure
                                statement (3.2).

 10/07/2021   MSP      PD       Telephone call with John W. Lucas re: Plan                  0.20        875.00         $175.00
                                confidentiality.

 10/07/2021   MSP      PD       Telephone call with Steve W. Golden re: Plan                0.30        875.00         $262.50
                                discovery.

 10/07/2021   MSP      PD       Email with James E. O'Neill re: service of Plan             0.10        875.00          $87.50
                                discovery.

 10/07/2021   MSP      PD       Email with Gillian N. Brown re: Plan discovery.             0.10        875.00          $87.50
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 10/07/2021   MSP     PD        Telephone call with Robert B. Orgel re: Plan              0.20        875.00         $175.00
                                discovery scope issue.

 10/07/2021   MSP     PD        Internal PSZJ meeting re: Plan and Disclosure             0.70        875.00         $612.50
                                Statement.

 10/07/2021   MSP     PD        Internal PSZJ meeting re Plan discovery.                  1.00        875.00         $875.00

 10/07/2021   MSP     PD        Review and comment on TCC draft discovery                 4.90        875.00        $4,287.50
                                requests.

 10/07/2021   MSP     PD        Review and revise template for insurer discovery.         3.40        875.00        $2,975.00

 10/07/2021   MSP     PD        Attention to Plan confirmation litigation discovery       3.20        875.00        $2,800.00
                                issues, logistics and coordination; email exchange
                                with Kenneth H. Brown, Iain Nasatir, Gillian N.
                                Brown, Victoria A. Newmark, Steve W. Golden,
                                James E. O'Neill, et al. re: same (.30).

 10/07/2021   MSP     PD        Review and analysis of Abuse Claims issue; email          2.50        875.00        $2,187.50
                                exchange with Kenneth H. Brown, Gillian N.
                                Brown, Gillian N. Brown, Iain Nasatir, et al. re:
                                same (.50).

 10/07/2021   RBO     PD        Join James I. Stang and others regarding TCC TDP,         0.70      1145.00          $801.50
                                etc.

 10/07/2021   RBO     PD        Telephone conference with Malhar S. Pagay                 0.20      1145.00          $229.00
                                regarding plan issues and evidence

 10/07/2021   RBO     PD        Make notes regarding changes for TDP (.1); Review         0.70      1145.00          $801.50
                                filed regarding suggested TDP changes (.2);
                                Preparation of message regarding same to John W.
                                Lucas, James I. Stang, Debra Grassgreen, etc. (.3)

 10/07/2021   JEO     PD        Review updated draft notices of service for               0.50        925.00         $462.50
                                discovery and provide comments

 10/07/2021   JEO     PD        Emails with Gillian Brown and other PSZJ team             0.80        925.00         $740.00
                                members regarding subpoena requirements and other
                                discovery issues

 10/07/2021   JEO     PD        Work on plan discovery and prepare for service of         8.00        925.00        $7,400.00
                                same

 10/07/2021   BEL     PD        Zoom with PSZJ team regarding discovery planning          1.00        825.00         $825.00
                                and service.

 10/07/2021   BEL     PD        Multiple emails regarding revision to discovery           1.20        825.00         $990.00
                                request.

 10/07/2021   BEL     PD        Draft, review and revise discovery request.               6.20        825.00        $5,115.00
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 10/07/2021   BEL     PD        Draft and revise additional discovery requests.              3.10        825.00         $2,557.50

 10/07/2021   VAN     PD        Review and revise RFPs regarding plan                        2.00      1050.00          $2,100.00
                                confirmation issues.

 10/07/2021   MPK     PD        Conference call with PSZJ team regarding discovery          12.70        795.00        $10,096.50
                                (1); revise Green document requests and draft same
                                for Resolution (.4); review MA secretary of state
                                filings (.2) email to Malhar P re discovery on Green
                                and Resolutions (.1); review list of witnesses re
                                status (.4); draft document requests for Catelur (.6);
                                calls Gillian B re discovery matters (.5); draft
                                requests for production for litigation funders (8.9);
                                emails with PSZJ team regarding discovery matters
                                (.6)

 10/07/2021   JWL     PD        Attend PSZJ discovery call (1.); strategy call with          2.90        825.00         $2,392.50
                                M. Pagay regarding confidentiality (.2); attend PSZJ
                                plan strategy call (.7); call with PSZJ and
                                Zalkin/Pfau parties regarding plan strategy (1.).

 10/07/2021   LCT     PD        Research/verify registered agents for service of             0.60        425.00          $255.00
                                process on various entities.

 10/07/2021   SWG     PD        Participate in call with PSZJ discovery team.                1.00        625.00          $625.00

 10/07/2021   SWG     PD        Continue drafting and finalizing plan-related                8.90        625.00         $5,562.50
                                discovery (8.6); call with M. Pagay re plan
                                discovery (.3).

 10/08/2021   DG      PD        Review discovery requests of Insurers to TCC (.3);           0.90      1095.00           $985.50
                                and emails with litigation team re: same (.1) ; review
                                Zalkin/Pfau discovery requests (.3); review other
                                misc discovery requests/high level (.2)

 10/08/2021   DG      PD        Further review of discovery propounded by                    0.50      1095.00           $547.50
                                participating parties in advance of coordination call

 10/08/2021   GFB     PD        Review and respond to emails with Malhar Pagay               0.10        825.00           $82.50
                                regarding response to document requests project.

 10/08/2021   GNB     PD        Revise and edit requests for production to claims            3.60        795.00         $2,862.00
                                aggregators (1.7); call with M. Pagay re plan
                                discovery (.4); work with two legal assistants, Janice
                                Washington and Sophia Lee, to finalize subpoenas
                                and requests for production to claims aggregators for
                                personal service on agents for service of process
                                (1.5).

 10/08/2021   GNB     PD        Email to M. Pagay regarding discovery to be served           0.10        795.00           $79.50
                                today relating to Plan confirmation and solicitation.
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 10/08/2021   GNB      PD       Email Sophia Lee and Janice Washington regarding             0.10        795.00          $79.50
                                service of process on claims aggregators of
                                subpoena for production of documents.

 10/08/2021   GNB      PD       Email with Malhar S. Pagay regarding revisions to            0.20        795.00         $159.00
                                requests for production to claims aggregators.

 10/08/2021   GNB      PD       Review and respond to internal PSZJ emails                   0.20        795.00         $159.00
                                regarding Plan discovery to be served today.

 10/08/2021   GNB      PD       Revise and edit requests for production directed to          9.70        795.00        $7,711.50
                                Debtors regarding Plan and solicitation.

 10/08/2021   GNB      PD       Telephone conference with internal PSZJ team                 0.50        795.00         $397.50
                                regarding status of Plan-related discovery and
                                strategy for next week.

 10/08/2021   GNB      PD       Email with process server in Montana regarding               0.10        795.00          $79.50
                                service of process on registered agent for
                                Reciprocity Industries, LLC.

 10/08/2021   IAWN PD           Telephone conference w/ SCC (ADSF group) re                  0.20      1025.00          $205.00
                                developments in BSA

 10/08/2021   IAWN PD           Telephone conference with team re discovery                  0.50      1025.00          $512.50

 10/08/2021   IAWN PD           Review and exchange emails with PSZJ team re plan            2.50      1025.00         $2,562.50
                                and insurance discovery (40+ emails)

 10/08/2021   JIS      PD       Email with J. Pomerantz regarding demands on                 0.10      1195.00          $119.50
                                confidentiality relating to dash boards.

 10/08/2021   KHB      PD       Work on discovery requests to Eric Green (.8); work          9.00        995.00        $8,955.00
                                on discovery request to Participating Parties (2.5);
                                emails with K. McNally re claim valuation issues
                                (.4); PSZJ call re finalizing discovery requests (.5);
                                review parties’ discovery requests (2.3); review
                                authorities and consider privilege issues (.5); review
                                disclosure statement and plan (2.0).

 10/08/2021   MSP      PD       Email with John W. Lucas re: Plan strategy and               0.10        875.00          $87.50
                                discovery.

 10/08/2021   MSP      PD       Telephone call with Gillian N. Brown re: service of          0.40        875.00         $350.00
                                Plan discovery.

 10/08/2021   MSP      PD       Emails with James I. Stang re: status of Plan                0.20        875.00         $175.00
                                discovery.

 10/08/2021   MSP      PD       Emails with James E. O'Neill re: service of Plan             0.20        875.00         $175.00
                                discovery.

 10/08/2021   MSP      PD       Attention to finalizing and service of TCC outbound          7.10        875.00        $6,212.50
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                                Plan confirmation discovery (6.1); email exchange
                                with James E. O'Neill, Beth E. Levine, Steve W.
                                Golden, James I. Stang, S. Gurvitz, MPK, J.
                                Cadarette, M. Babcock, et al. re: same (1.).
 10/08/2021   MSP     PD        Attention to Plan confirmation discovery issues (.8);       0.90        875.00          $787.50
                                email exchange with Ira D. Kharasch, GFB, J.
                                Schulman, et al. re: same (.1).

 10/08/2021   MSP     PD        Review entered Plan scheduling order and email              0.10        875.00           $87.50
                                exchange with James I. Stang, John W. Lucas, et al.
                                re: same (.10).

 10/08/2021   MSP     PD        Internal PSZJ call re: status of Plan Discovery.            0.10        875.00           $87.50

 10/08/2021   MSP     PD        Review, revise and attention to TCC outbound                1.20        875.00         $1,050.00
                                discovery, including to resolution, the debtors, etc.

 10/08/2021   JEO     PD        Finalize plan discovery and coordinate service of          11.80        925.00        $10,915.00
                                same for targets: Debtors, FCR, Eric Green and
                                Resolutions, Ankura, Bates & White, insurers and
                                claim aggregators

 10/08/2021   BEL     PD        Review Malhar S. Pagay's comments to discovery              0.30        825.00          $247.50
                                requests.

 10/08/2021   BEL     PD        Zoom with PSZJ litigation team regarding open               0.10        825.00           $82.50
                                issues on discovery.

 10/08/2021   BEL     PD        Draft, review and revise discovery requests.                2.60        825.00         $2,145.00

 10/08/2021   JSP     PD        Confer with J. Lucas regarding declassification             0.30        850.00          $255.00
                                issues

 10/08/2021   MPK     PD        Review comments to RFP by Malhar P and revise               5.90        795.00         $4,690.50
                                nine requests (1.8); emails to DE office and Beth L
                                and others regarding revisions to discovery requests
                                (.2); Further revise Green and Resolutions discovery
                                (.8); emails to PSZJ team regarding defined terms;
                                review plan and related documents re Green and
                                related discovery (1.3); conference call with PSZJ
                                litigation team regarding discovery issues (.5);
                                emails to Gillian B. and PSZJ team regarding
                                various service issues and definitions (.6); review
                                documents regarding defined terms (.7)

 10/08/2021   JWL     PD        Meet with PSZJ litigation team regarding service of         3.00        825.00         $2,475.00
                                plan discovery (.5); call with J. Pomerantz regarding
                                distribution of Local Council dashboards (.3); call
                                with potential settlement trustee (.7); review open
                                issue outline regarding final production of plan
                                discovery (.5); call with J. Amala regarding attorney
                                voting protocol (.5); call with J. Merson regarding
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                                                                                          Hours            Rate       Amount
                                same (.5).
 10/08/2021   SWG      PD       Continue drafting discovery related to Plan                 5.60        625.00        $3,500.00
                                confirmation

 10/08/2021   SWG      PD       Call with PSZJ litigation team                              0.50        625.00         $312.50

 10/08/2021   SWG      PD       Prepare and email outline of open discovery issues.         0.40        625.00         $250.00
                                PSZJ litigation team

 10/09/2021   DG       PD       Draft TCC Disclosure Statement                              6.20      1095.00         $6,789.00

 10/09/2021   DG       PD       Call with Stang, Pagay, Lucas and Brown re: plan            1.70      1095.00         $1,861.50
                                discovery and confirmation objection staffing and
                                tasks

 10/09/2021   DG       PD       Review protective order and meditation order with           0.50      1095.00          $547.50
                                Malhar commentary following coordination call (.3);
                                review and comment on Brown email re: production
                                strategy (.2)

 10/09/2021   GNB      PD       Review Malhar S. Pagay list of discovery served             0.50        795.00         $397.50
                                yesterday and confirm status of all service.

 10/09/2021   GNB      PD       Review and summarize all discovery propounded               2.60        795.00        $2,067.00
                                yesterday on the Official Committee of Tort
                                Claimants relating to Plan confirmation.

 10/09/2021   JIS      PD       Email to J. Pomerantz regarding local council               0.30      1195.00          $358.50
                                confidentiality project.

 10/09/2021   JIS      PD       Call PSZJ litigation team regarding issues related to       1.70      1195.00         $2,031.50
                                discovery and plan issues.

 10/09/2021   KHB      PD       PSZJ call re discovery responses (1.7); Review              5.00        995.00        $4,975.00
                                discovery requests to TCC (1.2); consider issues
                                raised by attorney client and mediation privilege and
                                authorities re same (1.5); review PSZJ emails re
                                discovery issues (.6).

 10/09/2021   MSP      PD       PSZJ meeting re: plan discovery.                            1.70        875.00        $1,487.50

 10/09/2021   MSP      PD       Review and analysis of discovery propounded on              1.90        875.00        $1,662.50
                                TCC (1.8); email exchange with Gillian N. Brown
                                re: same (.1).

 10/09/2021   MSP      PD       Work on Plan litigation strategy and discovery open         5.70        875.00        $4,987.50
                                items (5.5); email exchange with Steve W. Golden,
                                James I. Stang, Gillian N. Brown, James E. O'Neill,
                                et al. re: same (.2).

 10/09/2021   MSP      PD       Email exchange with Debra I. Grassgreen re: TCC             0.10        875.00          $87.50
                                Plan solicitation.
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 10/09/2021   MSP      PD       Email exchange with Gillian N. Brown re:                    0.10        875.00          $87.50
                                Objections to Plan discovery.

 10/09/2021   VAN      PD       Research and analysis regarding plan confirmation           3.60      1050.00         $3,780.00
                                issues.

 10/09/2021   MPK      PD       Emails to Malhar P and Gillian B regarding third            0.10        795.00          $79.50
                                party subpoenas.

 10/09/2021   JWL      PD       Attend staffing and work stream call regarding plan         1.70        825.00        $1,402.50
                                confirmation briefing and litigation (1.7);

 10/10/2021   DG       PD       Review notes in D. Statement in prep for call with          3.50      1095.00         $3,832.50
                                key PSZJ team (.9); call with J. Stang, R. Orgel, M.
                                Pagay and J. Lucas re: TCC Plan and Disclosure
                                Statement Structure (2.6)

 10/10/2021   DG       PD       Call with Plan Litigation team re: discovery and key        1.30      1095.00         $1,423.50
                                issues (1.); call with Rob Orgel re: Plan preparation
                                and D. Statement issues (.3)

 10/10/2021   DG       PD       Review summary of inbound discovery memo from               0.30      1095.00          $328.50
                                M. Pagay

 10/10/2021   DG       PD       Review summary of inbound discovery                         0.30      1095.00          $328.50

 10/10/2021   GNB      PD       Review and summarize discovery that Propounding             1.00        795.00         $795.00
                                Insurers served on the Official Committee of Tort
                                Claimants relating to Plan confirmation.

 10/10/2021   GNB      PD       Email with Malhar S. Pagay regarding discovery              0.10        795.00          $79.50
                                that all parties propounded on the Official
                                Committee of Tort Claimants relating to Plan
                                confirmation.

 10/10/2021   GNB      PD       Email Beth E. Levine and Miriam Manning                     0.10        795.00          $79.50
                                regarding drafting responses and objections to
                                discovery requests.

 10/10/2021   GNB      PD       Telephone conference with Malhar S. Pagay                   0.20        795.00         $159.00
                                regarding objections and responses to discovery
                                propounded to the Official Committee of Tort
                                Claimants relating to Plan confirmation.

 10/10/2021   GNB      PD       Revise litigation tracking chart.                           0.10        795.00          $79.50

 10/10/2021   GNB      PD       Email with Matthew K. Babcock regarding case law            0.10        795.00          $79.50
                                for analysis of Plan.

 10/10/2021   JIS      PD       Conference call with D. Grassgreen, R. Orgel, M.            2.60      1195.00         $3,107.00
                                Pagay and J. Lucas reviewing TCC plan strategy.

 10/10/2021   JIS      PD       Call with PSZJ litigation team regarding plan issues        1.00      1195.00         $1,195.00
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                                and discovery.
 10/10/2021   JIS      PD       Draft press release re solicitation on plan.              0.90      1195.00         $1,075.50

 10/10/2021   KHB      PD       PSZJ call re discovery responses.                         1.00        995.00         $995.00

 10/10/2021   MSP      PD       Email with Steve W. Golden re: Plan discovery.            0.20        875.00         $175.00

 10/10/2021   MSP      PD       Internal PSZJ meeting re: TCC plan strategy.              2.60        875.00        $2,275.00

 10/10/2021   MSP      PD       Work on Plan litigation strategy and discovery open       3.00        875.00        $2,625.00
                                items (2.8); email exchange with James I. Stang,
                                Gillian N. Brown, Ira D. Kharasch, et al. re: same
                                (.2).

 10/10/2021   MSP      PD       Telephone call with Gillian N. Brown re: Plan             0.20        875.00         $175.00
                                discovery.

 10/10/2021   MSP      PD       Internal PSZJ meeting re: Plan discovery and              1.00        875.00         $875.00
                                strategy.

 10/10/2021   MSP      PD       Review and analysis of discovery propounded on            2.90        875.00        $2,537.50
                                TCC.

 10/10/2021   MSP      PD       Email exchange with C. Moxley, Gillian N. Brown           0.10        875.00          $87.50
                                re: TCC subpoenas.

 10/10/2021   BEL      PD       Review and respond to email regarding outbound            0.30        825.00         $247.50
                                discovery.

 10/10/2021   VAN      PD       Research and analysis regarding plan confirmation         2.80      1050.00         $2,940.00
                                issues.

 10/10/2021   JWL      PD       Attend PSZJ call regarding discovery work streams         3.60        825.00        $2,970.00
                                (1.0); attend PSZJ TCC plan strategy call (2.6);

 10/11/2021   GNB      PD       Email with James E. O’Neill and Karina Yee                0.30        795.00         $238.50
                                regarding notices of service of subpoenas on claims
                                aggregators (.2); Email with Janice Washington and
                                Sophia Lee regarding status of same (.1).

 10/11/2021   GNB      PD       Telephone conference with PSZJ internal attorney          1.10        795.00         $874.50
                                team regarding discovery strategy.

 10/11/2021   GNB      PD       Telephone conference with Beth E. Levine, Miriam          0.50        795.00         $397.50
                                Manning, and Steve W. Golden regarding discovery
                                logistics.

 10/11/2021   GNB      PD       Email with Malhar S. Pagay regarding discovery            0.10        795.00          $79.50
                                issues.

 10/11/2021   GNB      PD       Email Gregg Zucker regarding subpoena to                  0.30        795.00         $238.50
                                Consumer Attorneys (.1); Telephone conference
                                with Gregg Zucker regarding same (.2).
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 10/11/2021   GNB      PD       Email with Miriam Manning regarding response to          0.10        795.00          $79.50
                                Archer Systems’ counsel concerning subpoena for
                                production of documents.

 10/11/2021   GNB      PD       Email Cameron Moxley regarding subpoenas the             0.10        795.00          $79.50
                                TCC personally served on October 8; Email
                                Stamatios Stamoulis regarding same.

 10/11/2021   GNB      PD       Review status of personal service of subpoenas on        0.20        795.00         $159.00
                                October 8 and 9, including questions to Janice
                                Washington and Sophia Lee regarding same.

 10/11/2021   GNB      PD       Review document requests and interrogatories             0.20        795.00         $159.00
                                propounded on TCC.

 10/11/2021   GNB      PD       Email with Stamatios Stamoulis regarding                 0.10        795.00          $79.50
                                subpoenas to third party claims aggregators.

 10/11/2021   IAWN PD           Telephone conference w/ PSZJ litigation team re          1.10      1025.00         $1,127.50
                                privilege assertions

 10/11/2021   IAWN PD           Telephone conference w/ Pagay and Schulman re            0.40      1025.00          $410.00
                                insurance discovery

 10/11/2021   IAWN PD           Telephone conference with Robert B Orgel re plan         0.20      1025.00          $205.00

 10/11/2021   IAWN PD           Review emails between Claro and PSZJ re call             0.10      1025.00          $102.50

 10/11/2021   IAWN PD           Review and pull Hartford demand information              0.10      1025.00          $102.50

 10/11/2021   IAWN PD           Review Hartford demand information re Claro              0.10      1025.00          $102.50

 10/11/2021   IAWN PD           Review boilerplate objections and responses and          2.50      1025.00         $2,562.50
                                comments thereto regarding incoming discovery of
                                TCC

 10/11/2021   IAWN PD           Review Schulman list of claims information               0.50      1025.00          $512.50

 10/11/2021   IAWN PD           Review emails between FCR and Coalition re               0.30      1025.00          $307.50
                                settlement demands

 10/11/2021   IAWN PD           Review PSZJ team emails re TCC insurance issues          0.20      1025.00          $205.00

 10/11/2021   IAWN PD           Review list of outstanding demands                       0.10      1025.00          $102.50

 10/11/2021   JIS      PD       Call J. Lucas re settlement trustee nomination.          0.40      1195.00          $478.00

 10/11/2021   JIS      PD       Call with state court counsel regarding scout            0.20      1195.00          $239.00
                                protection programs for plan.

 10/11/2021   JIS      PD       Draft email regarding plan communication issues.         0.30      1195.00          $358.50

 10/11/2021   JIS      PD       Call to Ken Brown regarding retention of Chapter 7       0.10      1195.00          $119.50
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                                trustee expert for plan objection.
 10/11/2021   JIS      PD       Call to D. Kennedy regarding press release for plan.        0.10      1195.00          $119.50

 10/11/2021   JIS      PD       Call with D. Caruso re retention as expert for best         0.60      1195.00          $717.00
                                interest test analysis.

 10/11/2021   JKH      PD       Emails regarding, conference call with Litigation           1.20      1095.00         $1,314.00
                                Group regarding discovery status, to do items

 10/11/2021   JKH      PD       Emails from, to Malhar S. Pagay regarding need fro          0.10      1095.00          $109.50
                                PBGC expert

 10/11/2021   KHB      PD       Review plan and DS (1.6); work on discovery                 4.60        995.00        $4,577.00
                                responses (1.4); confer with J. Stang re expert
                                retention (.1); analyze authorities re same (1.5).

 10/11/2021   MAM      PD       Update discovery chart and virtual file room folders        1.20        395.00         $474.00
                                with latest served discovery.

 10/11/2021   MAM      PD       Emails to Gillian N. Brown and Steven Golden                0.20        395.00          $79.00
                                regarding Telephone call regarding discovery issues.

 10/11/2021   MSP      PD       Internal PSZJ plan litigation team meeting.                 1.10        875.00         $962.50

 10/11/2021   MSP      PD       Attention to Plan litigation strategy and discovery         6.90        875.00        $6,037.50
                                open items (6.7); email exchange with James I.
                                Stang, John W. Lucas, Iain Nasatir, James E.
                                O'Neill, Gillian N. Brown, Beth E. Levine, et al. re:
                                same (.2).

 10/11/2021   MSP      PD       Meeting with J. Schulman re and I. Nasatir: Plan            0.40        875.00         $350.00
                                insurance discovery.

 10/11/2021   MSP      PD       Email exchange with K. McNally, et al. re: valuation        0.10        875.00          $87.50
                                issue update.

 10/11/2021   MSP      PD       Email exchange with Kenneth H. Brown, James I.              0.10        875.00          $87.50
                                Stang, et al. re: expert witnesses.

 10/11/2021   RBO      PD       Review and revise press release to go out upon BSA          0.30      1145.00          $343.50
                                solicitation and send messages regarding same

 10/11/2021   RBO      PD       Revise TCC TDP (.2); Summarize for TCC (.8); call           1.20      1145.00         $1,374.00
                                with I. Nasatir re plan (.2); disclosure key
                                differences from BSA TDP.

 10/11/2021   JEO      PD       Participate in PSZJ plan discovery call                     1.10        925.00        $1,017.50

 10/11/2021   JEO      PD       Arrange for service of subpoenas to participating           2.00        925.00        $1,850.00
                                parties

 10/11/2021   JEO      PD       Continued work on plan discovery                            1.00        925.00         $925.00
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 10/11/2021   BEL     PD        Draft responses to discovery requests.                         1.70        825.00        $1,402.50

 10/11/2021   BEL     PD        Further revisions to master discovery responses.               0.80        825.00         $660.00

 10/11/2021   BEL     PD        Zoom with PSZJ litigation team regarding litigation            1.10        825.00         $907.50
                                actions and discovery responses.

 10/11/2021   BEL     PD        Telephone conference with Steven W. Golden,                    0.50        825.00         $412.50
                                Gillian N. Brown and M. Manning regarding
                                discovery response issues.

 10/11/2021   BEL     PD        Draft responses to discovery directed to TCC.                  0.60        825.00         $495.00

 10/11/2021   BEL     PD        Emails with PSZJ litigation team regarding multiple            0.30        825.00         $247.50
                                issues regarding inbound discovery.

 10/11/2021   JSP     PD        Call with J. Lucas regarding de-designation notice             0.20        850.00         $170.00

 10/11/2021   JSP     PD        Correspondence to J. Lucas regarding protocol for              0.30        850.00         $255.00
                                de-designation of summaries/dashboards pursuant to
                                Sixth Stipulation

 10/11/2021   JSP     PD        Analysis of protocol for de-designation outlined in            0.40        850.00         $340.00
                                Sixth Stipulation

 10/11/2021   JSP     PD        Review/comment on draft de-designation notice to               0.20        850.00         $170.00
                                Local Councils

 10/11/2021   VAN     PD        Research and analysis regarding plan confirmation              2.70      1050.00         $2,835.00
                                issues.

 10/11/2021   MPK     PD        Emails to PSZJ team regarding Archer's refusal to              4.30        795.00        $3,418.50
                                produce records (.2); email to Archer re need to
                                produce (.4); review cases re production and
                                geographic issues (1); conference call with litigation
                                team regarding discovery related issues (1.1);
                                conference call with Gillian B, Beth L and Steven G
                                regarding subsets of pending discovery matters (.5);
                                review propounding insurers discovery and prepare
                                responses to same (1.1)

 10/11/2021   JWL     PD        Call with PSZJ litigation team regarding discovery             2.80        825.00        $2,310.00
                                issues (1.1); prepare privilege contact chart (.6); call
                                with J. Stang re trustee (.4) call with J. Pomerantz
                                regarding local councils de-designation protocol
                                (.2); commence review of discovery responses (.5).

 10/11/2021   SWG     PD        Continue drafting 30(b)(6) notices in connection               0.30        625.00         $187.50
                                with plan confirmation

 10/11/2021   SWG     PD        Review and catalog discovery issued by parties in              0.60        625.00         $375.00
                                connection with confirmation
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 10/11/2021   SWG     PD        Participate in call with PSZJ litigation team re:          1.10        625.00         $687.50
                                strategy and tasks (1.1); call with small group re:
                                logistical matters for confirmation discovery (.5)

 10/12/2021   DG      PD        Work on Disclosure Statement and related issues list       4.30      1095.00         $4,708.50

 10/12/2021   DG      PD        Emails with M. Pagay re: plan and disclosure               0.20      1095.00          $219.00
                                statement prep

 10/12/2021   GNB     PD        Email with PSZJ internal team regarding Archer             0.60        795.00         $477.00
                                Systems’ refusal to comply with subpoena for
                                production of documents, including review of
                                Federal Rules and editing of draft email to Mary
                                Frazier regarding same.

 10/12/2021   GNB     PD        Review notice of withdrawal of Rule 2004 motion;           0.10        795.00          $79.50
                                Email same to Gregg Zucker; Draft email to Archer
                                Systems’ counsel regarding same.

 10/12/2021   GNB     PD        Telephone conference with Steven W. Golden and             0.60        795.00         $477.00
                                Michael A. Matteo regarding discovery maintenance
                                protocol and gaps in receipt of discovery
                                propounded last week.

 10/12/2021   GNB     PD        Email with Steven W. Golden regarding discovery            0.20        795.00         $159.00
                                requests not provided to PSZJ (.1); Email Stamatios
                                Stamoulis regarding same (.1).

 10/12/2021   GNB     PD        Update litigation tracking chart.                          0.20        795.00         $159.00

 10/12/2021   GNB     PD        Email process server, Michelle Dawson, in Montana          0.10        795.00          $79.50
                                regarding attempt today to service Reciprocity
                                Industries’ registered agent with subpoena for
                                production of documents.

 10/12/2021   GNB     PD        Email with John W. Lucas regarding responses to            0.10        795.00          $79.50
                                discovery served upon the TCC; Email with Malhar
                                S. Pagay regarding same.

 10/12/2021   GNB     PD        Revise and edit template for 30(b)(6) deposition           0.10        795.00          $79.50
                                notice to insurers (.1); Email with Steven W. Golden
                                regarding same (.1).

 10/12/2021   GNB     PD        Email with PSZJ internal team regarding discovery          0.10        795.00          $79.50
                                timing issues.

 10/12/2021   GNB     PD        Review email from counsel to Stratos Legal Services        0.10        795.00          $79.50
                                regarding subpoena; Email internal team regarding
                                same.

 10/12/2021   GNB     PD        Revise and edit template general objections to             0.10        795.00          $79.50
                                discovery propounded on TCC.
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 10/12/2021   GNB      PD       Email Judith Kunreuther, counsel to Stratos Legal,          0.20        795.00         $159.00
                                LP regarding subpoena and withdrawal of Rule 2004
                                motion against her client.

 10/12/2021   GNB      PD       Prepare chart summary of incoming discovery on              0.50        795.00         $397.50
                                TCC.

 10/12/2021   GNB      PD       Review John W. Lucas email regarding responses to           0.10        795.00          $79.50
                                interrogatories.

 10/12/2021   GNB      PD       Email with internal PSZJ team regarding discovery           0.10        795.00          $79.50
                                responses and objections.

 10/12/2021   GNB      PD       Email with internal PSZJ team regarding discovery           0.20        795.00         $159.00
                                propounded by TCC.

 10/12/2021   IAWN PD           Review 30b6 topics for insurers and comments re             2.00      1025.00         $2,050.00
                                same, review emails from PSZJ team re same, (30+
                                emails)

 10/12/2021   JIS      PD       Call with communications consultant regarding               1.00      1195.00         $1,195.00
                                solicitation issues.

 10/12/2021   JIS      PD       Review email regarding open insurance demands.              0.10      1195.00          $119.50

 10/12/2021   JIS      PD       Call to Kenneth Brown regarding status of discovery         0.20      1195.00          $239.00
                                propounded by insurers.

 10/12/2021   JIS      PD       Call J. Lucas regarding indemnity issues relating to        0.20      1195.00          $239.00
                                communications consultant and plan discovery.

 10/12/2021   JIS      PD       Review Century objection to motion to quash KLS             0.40      1195.00          $478.00
                                subpoena.

 10/12/2021   JIS      PD       Prepare responses to Century, Coalition and                 3.00      1195.00         $3,585.00
                                combined insurance discovery related to plan.

 10/12/2021   JKH      PD       Review draft responses to Century Interrogatories           0.30      1095.00          $328.50
                                and emails regarding expert witness conference call

 10/12/2021   KHB      PD       PSZJ emails re discovery responses (.20; call with J.       0.40        995.00         $398.00
                                Stang re insurance discovery (.2).

 10/12/2021   MAM      PD       Review discovery and update virtual file room and           1.80        395.00         $711.00
                                tracking chart.

 10/12/2021   MAM      PD       Telephone conference with Gillian N. Brown and              0.60        395.00         $237.00
                                Steven Golden regarding centralization and
                                organization of confirmation discovery.

 10/12/2021   MAM      PD       Reorganize discovery in the virtual file room for           2.80        395.00        $1,106.00
                                Steven Golden and Gillian N. Brown.
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 10/12/2021   MSP     PD        Email with Beth E. Levine re: Plan discovery.              0.10        875.00          $87.50

 10/12/2021   MSP     PD        Emails to James I. Stang re: Plan strategy and             0.20        875.00         $175.00
                                discovery.

 10/12/2021   MSP     PD        Telephone call with John W. Lucas re: Plan strategy        0.30        875.00         $262.50
                                and discovery.

 10/12/2021   MSP     PD        Review and analysis of discovery propounded on             4.30        875.00        $3,762.50
                                TCC and attention to Plan litigation open items;
                                email exchange with John W. Lucas, Gillian N.
                                Brown, Kenneth H. Brown, S. Gurvitz, et al. re:
                                same (.20).

 10/12/2021   MSP     PD        Email exchange with James I. Stang, Kenneth H.             0.10        875.00          $87.50
                                Brown et al. re: potential expert testimony.

 10/12/2021   MSP     PD        Email exchange with Debra I. Grassgreen re:                0.10        875.00          $87.50
                                preparation of TCC Plan and Disclosure Statement.

 10/12/2021   MSP     PD        Review and revise outline of potential Plan                2.50        875.00        $2,187.50
                                confirmation objections; email exchange with
                                Victoria A. Newmark re: same (.10).

 10/12/2021   RBO     PD        Review messages regarding plan discovery                   0.10      1145.00          $114.50

 10/12/2021   RBO     PD        Revise TCC Plan regarding chartered organization           1.70      1145.00         $1,946.50
                                offer

 10/12/2021   RBO     PD        Revise TDP per updated BSA TDP                             0.20      1145.00          $229.00

 10/12/2021   RBO     PD        Revise TCC Plan                                            3.60      1145.00         $4,122.00

 10/12/2021   RBO     PD        Continue revising Plan                                     0.70      1145.00          $801.50

 10/12/2021   JEO     PD        Work on plan discovery                                     5.00        925.00        $4,625.00

 10/12/2021   BEL     PD        Revise Forms of TCC response to discovery                  0.30        825.00         $247.50
                                requests.

 10/12/2021   BEL     PD        Further revisions to response to discovery requests.       1.40        825.00        $1,155.00

 10/12/2021   BEL     PD        Multiple emails regarding open discovery issues.           0.90        825.00         $742.50

 10/12/2021   BEL     PD        Draft responses to discovery requests.                     0.60        825.00         $495.00

 10/12/2021   BEL     PD        Review draft plan deposition notice to insurers.           0.10        825.00          $82.50

 10/12/2021   BEL     PD        Email with Iain A. W. Nasatir regarding responses          0.10        825.00          $82.50
                                to discovery requests.

 10/12/2021   JSP     PD        Email with J. Stang regarding de-designation               0.20        850.00         $170.00
                                protocol
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 10/12/2021   JSP     PD        Calls with M. Babcock regarding Local Council                 0.60        850.00         $510.00
                                dashboards

 10/12/2021   JSP     PD        Correspondence to PSZJ and BRG personnel                      0.40        850.00         $340.00
                                regarding Local Council dashboards

 10/12/2021   JSP     PD        Correspondence to M. Linder regarding Local                   0.20        850.00         $170.00
                                Councils

 10/12/2021   JSP     PD        Review Sixth Stipulation in connection with                   0.30        850.00         $255.00
                                de-designation protocol

 10/12/2021   MPK     PD        Emails with litigation team regarding third party             3.50        795.00        $2,782.50
                                discovery issues (1); research compliance issues for
                                third party discovery (1.6); draft emails to Archer
                                counsel re discovery (.5); further work on responses
                                to insurers' interrogatories (.2); emails to litigation
                                team re responses to insurers' interrogatories (.2)

 10/12/2021   JWL     PD        Review and revise form 2019 statement to be filed             4.20        825.00        $3,465.00
                                with ballot submissions (.8); call with J. Stang re
                                communications issues (.2); prepare summary of
                                solicitation process for TCC and state court counsel
                                (.9); review and prepare response to discovery
                                requests (2.); call with M. Pagay re plan (.3).

 10/12/2021   SWG     PD        Attend to organization and tracking of confirmation           2.10        625.00        $1,312.50
                                discovery

 10/12/2021   SWG     PD        Continue drafting and editing discovery related to            0.40        625.00         $250.00
                                confirmation

 10/12/2021   SWG     PD        Call with M. Matteo and G. Brown re: centralization           0.60        625.00         $375.00
                                and organization of confirmation discovery

 10/12/2021   KLL     PD        Correspond with G. Brown on process of discovery              0.30        460.00         $138.00
                                production and locations for delivery to same

 10/13/2021   DG      PD        Call with Claro Group re: claim analysis (partial)            1.50      1095.00         $1,642.50

 10/13/2021   DG      PD        Call with BRG team re: disclosure statement                   1.70      1095.00         $1,861.50
                                analysis

 10/13/2021   DG      PD        Call with PSZJ team re: experts                               1.60      1095.00         $1,752.00

 10/13/2021   GFB     PD        Review and respond to email with Gillian Brown                0.10        825.00          $82.50
                                regarding document review project.

 10/13/2021   GNB     PD        Email with Steven W. Golden regarding document                0.10        795.00          $79.50
                                review.

 10/13/2021   GNB     PD        Email with internal PSZJ team regarding responses             0.20        795.00         $159.00
                                and objections to discovery propounded on TCC.
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 10/13/2021   GNB     PD        Email with Miriam Manning and Gini L. Downing            0.20        795.00        $159.00
                                regarding document repository in Houston (.1);
                                Email with Gini L. Downing regarding same.

 10/13/2021   GNB     PD        Review letter from counsel to Corbin entities            0.10        795.00         $79.50
                                regarding subpoenas.

 10/13/2021   GNB     PD        Forward documents via email to be saved in virtual       0.10        795.00         $79.50
                                file room.

 10/13/2021   GNB     PD        Review letter from Case Works’ counsel regarding         0.10        795.00         $79.50
                                subpoena; Email with James E. O’Neill and Miriam
                                Manning regarding same.

 10/13/2021   GNB     PD        Telephone conference with internal PSZJ team             1.00        795.00        $795.00
                                regarding discovery issues.

 10/13/2021   GNB     PD        Amend subpoena and requests for production               0.30        795.00        $238.50
                                directed to Archer Systems (.2); Email James E.
                                O’Neill and Miriam Manning regarding same (.1).

 10/13/2021   GNB     PD        Telephone conference with Stamatios Stamoulis            0.30        795.00        $238.50
                                regarding motions to quash from third parties.

 10/13/2021   GNB     PD        Email internal PSZJ litigation team regarding            0.20        795.00        $159.00
                                subpoenas and pending motions to quash Century
                                Insurance’s subpoenas.

 10/13/2021   GNB     PD        Draft email to TCC co-chair regarding                    0.10        795.00         $79.50
                                interrogatories.

 10/13/2021   GNB     PD        Telephone conference with internal PSZJ team             0.60        795.00        $477.00
                                regarding document retrieval for production and
                                document review.

 10/13/2021   GNB     PD        Email with Gina F. Brandt regarding document             0.20        795.00        $159.00
                                review.

 10/13/2021   GNB     PD        Email Shelby Chaffos regarding Debtors’ document         0.10        795.00         $79.50
                                repository; Email PSZJ litigation team regarding
                                indices of same.

 10/13/2021   GNB     PD        Draft objections and responses to Debtors’               0.70        795.00        $556.50
                                interrogatories propounded on TCC.

 10/13/2021   GNB     PD        Email with James I. Stang regarding abuse claims.        0.10        795.00         $79.50

 10/13/2021   IAWN PD           Telephone conference w/ PSZJ team re expert              0.70      1025.00         $717.50
                                witness (partial call)

 10/13/2021   IAWN PD           Exchange emails with Gillian Brown re common             0.20      1025.00         $205.00
                                interest.
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 10/13/2021   IAWN PD           Litigation team meeting re schedule, discovery              1.00      1025.00         $1,025.00

 10/13/2021   IAWN PD           Exchange emails with team re Hartford settlement            0.20      1025.00          $205.00
                                history

 10/13/2021   IAWN PD           Telephone conference w/ PSZJ team re discovery              1.00      1025.00         $1,025.00

 10/13/2021   IAWN PD           Exchange emails with coalition and FCR coverage             0.40      1025.00          $410.00
                                lawyer to ascertain common interest group

 10/13/2021   IAWN PD           Exchange emails with PSZJ team re depo coverage             1.00      1025.00         $1,025.00
                                and 30b 6 topics

 10/13/2021   IAWN PD           Telephone conference w/ Claro Group and PSZJ                1.40      1025.00         $1,435.00
                                team re valuation (partial call)

 10/13/2021   JIS      PD       Call with Claro, Brown, Grassgreen Lucas, Pagay,            2.70      1195.00         $3,226.50
                                Schulman regarding claims valuation.

 10/13/2021   JIS      PD       Conference call with BRG, Orgel and Grassgreen              1.60      1195.00         $1,912.00
                                regarding disclosure statement issues for TCC plan.

 10/13/2021   JIS      PD       Review Judge Silverstein opinion in Imerys                  0.80      1195.00          $956.00
                                regarding voting issues.

 10/13/2021   JIS      PD       Revisions to press release regarding TCC                    0.20      1195.00          $239.00
                                recommendation.

 10/13/2021   JIS      PD       Call with PSZJ litigation team and J. Schulman on           1.60      1195.00         $1,912.00
                                retention of experts for plan confirmation.

 10/13/2021   JKH      PD       Review emails regarding draft discovery responses           0.50      1095.00          $547.50
                                and attend team conference call regarding expert
                                witness issues

 10/13/2021   KHB      PD       PSZJ emails re proposal for discovery protocol (.4);        7.90        995.00        $7,860.50
                                review protocols in other cases (.5); PSZJ call re
                                discovery responses (1.0); work on discovery
                                responses (1.7); PSZJ call with Claro re status of
                                expert analysis and report on claims valuation (2.7);
                                PSZJ call re retention of additional experts (1.6).

 10/13/2021   MAM      PD       Locate and forward Motion to Quash Subpoena to              0.10        395.00          $39.50
                                KSL and Century's Objection thereto to Gillian N.
                                Brown.

 10/13/2021   MAM      PD       Organize discovery documents in the virtual file            6.90        395.00        $2,725.50
                                room and updates to tracking chart.

 10/13/2021   MSP      PD       Emails with John W. Lucas re: Plan strategy and             0.20        875.00         $175.00
                                discovery.

 10/13/2021   MSP      PD       work on Plan litigation strategy and discovery open         2.90        875.00        $2,537.50
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                                items (2.7); email exchange with S. Gurvitz, Gillian
                                N. Brown, James E. O'Neill, Kenneth H. Brown ,
                                John W. Lucas, J. Schulman, et al. re: same (.2).
 10/13/2021   MSP      PD       Email outline of confirmation issues to Victortia A.       1.40        875.00        $1,225.00
                                Newmark

 10/13/2021   MSP      PD       Telephone call with Victoria A. Newmark re: Plan           0.80        875.00         $700.00
                                confirmation objections.

 10/13/2021   MSP      PD       Internal PSZJ meeting re: Plan litigation.                 1.00        875.00         $875.00

 10/13/2021   MSP      PD       Meeting with PSZJ and Claro re: value of claims.           2.70        875.00        $2,362.50

 10/13/2021   MSP      PD       Internal PSZJ meeting re: potential Plan expert            1.60        875.00        $1,400.00
                                testimony.

 10/13/2021   MSP      PD       Review and analysis re: potential Plan confirmation        0.80        875.00         $700.00
                                objections.

 10/13/2021   MSP      PD       Email exchange with Debra I. Grassgreen, Robert B.         0.10        875.00          $87.50
                                Orgel, John W. Lucas, et al. re: TCC Plan TDP.

 10/13/2021   PJJ      PD       Participate in Everlaw discussion re discovery info.       0.60        425.00         $255.00

 10/13/2021   RBO      PD       Revise Plan for TCC                                        2.10      1145.00         $2,404.50

 10/13/2021   RBO      PD       Continue revising TCC Plan                                 1.50      1145.00         $1,717.50

 10/13/2021   RBO      PD       Join call with Schulman and PSZJ attorneys                 1.30      1145.00         $1,488.50
                                regarding Plan and Disclosure Statement experts
                                needed, etc. for (partial call)

 10/13/2021   RBO      PD       Call with James I. Stang, Debra Grassgreen and             1.50      1145.00         $1,717.50
                                BRG regarding TCC disclosure and BSA Plan
                                objections (partial call)

 10/13/2021   RBO      PD       Join call with Claro Group re claim valuation              1.50      1145.00         $1,717.50
                                (partial call)

 10/13/2021   JEO      PD       Participate in PSZJ plan discovery call                    1.00        925.00         $925.00

 10/13/2021   JEO      PD       Review inquiries regarding subpoenas and forward           2.00        925.00        $1,850.00
                                to PSZJ team for responses

 10/13/2021   JEO      PD       Work on plan discovery                                     5.00        925.00        $4,625.00

 10/13/2021   BEL      PD       Draft discovery responses.                                 0.50        825.00         $412.50

 10/13/2021   BEL      PD       Zoom meeting with PSZJ plan litigation team                1.00        825.00         $825.00
                                regarding discovery issues.

 10/13/2021   BEL      PD       Draft, review and revise responses to discovery            5.60        825.00        $4,620.00
                                requests.
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 10/13/2021   BEL     PD        Telephone conference with Steven W. Golden,                 0.60        825.00         $495.00
                                Gillian N. Brown, M. Manning and Patricia Jeffries
                                Everlaw regarding e-discovery issues.

 10/13/2021   JSP     PD        Confer with M. Linder regarding de-designation              0.20        850.00         $170.00
                                notice

 10/13/2021   JSP     PD        Correspondence to BSA and Ad Hoc Committee                  0.30        850.00         $255.00
                                regarding de-designation notice

 10/13/2021   JSP     PD        Correspondence from R. Mason regarding                      0.10        850.00          $85.00
                                de-designation notice

 10/13/2021   JSP     PD        Confer with S. Lee regarding de-designation notice          0.40        850.00         $340.00
                                to Local Councils

 10/13/2021   VAN     PD        Phone conference with Malhar S. Pagay regarding             1.40      1050.00         $1,470.00
                                plan objection

 10/13/2021   MPK     PD        Emails with PSZJ team regarding discovery matters           7.00        795.00        $5,565.00
                                (1.2); conference call with PSZJ team re discovery
                                matters (1); call with Everalaw production review
                                team re discovery review (.6); review revised Archer
                                subpoena and rfp (.2); emails to Gillian B re revised
                                Archer subpoena and document requests (.2); to
                                Archer counsel re amended subpoena (.1); call to
                                Nationwide in Houston regarding document
                                production (.1); email to Nationwide re same (.1);
                                work on responses to propounding insurers
                                interrogatories (2.6); work on responses to
                                Propounding Insurers' RFP (.9)

 10/13/2021   JWL     PD        Attend plan discovery and litigation PSZJ call (1.0);       8.00        825.00        $6,600.00
                                attend Claro claim valuation call (2.7); review and
                                prepare responses to plan discovery requests (3.0);
                                attend PSZJ expert witness call (1.3) (partial
                                attendance);

 10/13/2021   SWG     PD        Update comprehensive confirmation discovery                 1.80        625.00        $1,125.00
                                tracker

 10/13/2021   SWG     PD        Continue drafting confirmation discovery                    5.80        625.00        $3,625.00

 10/13/2021   SWG     PD        Participate in daily discovery touch base with PSZJ         1.00        625.00         $625.00
                                team.

 10/13/2021   SWG     PD        Call with PSZJ litigation sub-team re: Everlaw setup        0.60        625.00         $375.00

 10/13/2021   SWG     PD        Draft and send comprehensive emails to PSZJ                 0.90        625.00         $562.50
                                litigation team re: confirmation discovery logistical
                                matters
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 10/14/2021   GFB     PD        Review and respond to emails with Gillian Brown,            0.20        825.00         $165.00
                                Beth Levine, and Cia Mackle regarding document
                                review project; telephone conference with Ms
                                Mackle regarding same.

 10/14/2021   GNB     PD        Email with Malhar S. Pagay regarding document               0.10        795.00          $79.50
                                retrieval; Email PSZJ internal IT Department
                                regarding same.

 10/14/2021   GNB     PD        Email with John W. Lucas regarding document                 0.10        795.00          $79.50
                                production and requests for production propounded
                                on TCC.

 10/14/2021   GNB     PD        Email with internal PSZJ team regarding responses           0.80        795.00         $636.00
                                and objections to discovery propounded on TCC and
                                regarding discovery propounded by TCC.

 10/14/2021   GNB     PD        Update litigation tracking chart.                           0.10        795.00          $79.50

 10/14/2021   GNB     PD        Email with Steven W. Golden and Patricia J. Jeffries        0.10        795.00          $79.50
                                regarding document review issues.

 10/14/2021   GNB     PD        Telephone conference with Holly Hamm, counsel to            0.20        795.00         $159.00
                                Case Works LLC, regarding subpoena for
                                production of documents (.1); Email Holly Hamm
                                memorializing conversation (.1).

 10/14/2021   GNB     PD        Review Bern motion to quash subpoena to KLS (.1);           0.30        795.00         $238.50
                                Begin review of Century Insurance’s opposition
                                thereto (.2)

 10/14/2021   GNB     PD        Telephone conference with internal PSZJ team and            1.30        795.00        $1,033.50
                                Jeffrey L. Schulman (partial attendance) regarding
                                discovery issues.

 10/14/2021   GNB     PD        Email with John Spencer and Timothy Peach                   0.10        795.00          $79.50
                                regarding Rock Creek document retrieval.

 10/14/2021   GNB     PD        Email with TCC member’s counsel regarding                   0.20        795.00         $159.00
                                document request propounded on TCC member.

 10/14/2021   GNB     PD        Draft objections and revise draft responses to              1.70        795.00        $1,351.50
                                Century’s interrogatories to TCC.

 10/14/2021   GNB     PD        Draft objections and edit draft responses to Debtors’       2.50        795.00        $1,987.50
                                interrogatories propounded on TCC.

 10/14/2021   GNB     PD        Email David H. Judd and Matthew K. Babcock                  0.10        795.00          $79.50
                                regarding responses to Debtors’ interrogatories
                                propounded on TCC; Email Kenneth H. Brown and
                                Beth E. Levine regarding same.
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 10/14/2021   GNB      PD       Review substantive comments to responses to              1.20        795.00         $954.00
                                Debtors’ requests for production (.5); Compile
                                questions for TCC members and TCC professionals
                                regarding documents responsive to Debtors’
                                document requests (.7).

 10/14/2021   IAWN PD           Worked on discovery for insurers                         2.00      1025.00         $2,050.00

 10/14/2021   IAWN PD           Exchange emails with Stang and Sophia Lee re             0.30      1025.00          $307.50
                                severity charts in other abuse cases

 10/14/2021   IAWN PD           Review severity charts                                   0.80      1025.00          $820.00

 10/14/2021   IAWN PD           Review interrogatories from insurers and comment         1.00      1025.00         $1,025.00
                                on answers

 10/14/2021   IAWN PD           Exchange emails with PSZJ team re common                 0.10      1025.00          $102.50
                                interest members

 10/14/2021   IAWN PD           Review emails from PSZJ team re depo protocol            0.30      1025.00          $307.50

 10/14/2021   IAWN PD           Exchange emails and telephone calls with Schulman        0.20      1025.00          $205.00
                                and Grassgreen re proposed numbers for Liberty and
                                ORIC

 10/14/2021   IAWN PD           Call with J. Stang re insurance settlements.             0.50      1025.00          $512.50

 10/14/2021   JIS      PD       Call with I. Nasatir re insurance settlements            0.50      1195.00          $597.50

 10/14/2021   JIS      PD       Email Malhar Pagay regarding production of               0.10      1195.00          $119.50
                                documents and email searches.

 10/14/2021   JIS      PD       Attend PSZJ litigation team call re plan discovery       1.30      1195.00         $1,553.50
                                and responses.

 10/14/2021   JIS      PD       Call Kennedy and Humphrey regarding discovery            0.70      1195.00          $836.50
                                responses.

 10/14/2021   JIS      PD       Review non monetary settlement terms for insurance       0.60      1195.00          $717.00
                                carriers.

 10/14/2021   JIS      PD       Review discovery propounded by the Debtor.               0.30      1195.00          $358.50

 10/14/2021   JIS      PD       Review and respond to insurers interrogatories.          0.30      1195.00          $358.50

 10/14/2021   JIS      PD       Review and annotate TCJC discovery, Century              0.60      1195.00          $717.00
                                interrogs, and other propounded discovery.

 10/14/2021   JKH      PD       Review team emails regarding discovery issues            0.20      1095.00          $219.00

 10/14/2021   KHB      PD       PSZJ call re discovery (1.3); review discovery           6.80        995.00        $6,766.00
                                protocols and emails re same (.8); PSZJ emails re
                                discovery responses (.8); work on responses to
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                                discovery requests (2.9); review Imeris decision on
                                voting issues (1.0).
 10/14/2021   MAM      PD       Organize discovery in the virtual file room and add        4.90        395.00        $1,935.50
                                to tracking chart.

 10/14/2021   MSP      PD       Email with Gillian N. Brown re: Plan discovery.            0.10        875.00          $87.50

 10/14/2021   MSP      PD       Email with John W. Lucas re: Plan strategy.                0.10        875.00          $87.50

 10/14/2021   MSP      PD       Email with Robert B. Orgel re: TCC Plan TDP                0.10        875.00          $87.50
                                issue.

 10/14/2021   MSP      PD       Attention to Plan litigation strategy and discovery        2.70        875.00        $2,362.50
                                open items (2.6); email exchange with S. Gurvitz,
                                Gillian N. Brown, James E. O'Neill, Kenneth H.
                                Brown , John W. Lucas, Steven W. Golden , J.
                                Schulman, et al. re: same (.1).

 10/14/2021   MSP      PD       Internal PSZJ call re: Plan litigation.                    1.30        875.00        $1,137.50

 10/14/2021   PJJ      PD       Download/upload documents to Everlaw.                      0.50        425.00         $212.50

 10/14/2021   RBO      PD       Review Debra Grassgreen, Iain A. W. Nasatir                0.10      1145.00          $114.50
                                disclosure messages; Review James I. Stang plan
                                message

 10/14/2021   RBO      PD       Revise Plan for TCC as to James I. Stang comment,          1.10      1145.00         $1,259.50
                                etc. and prepare message to James I. Stang and
                                others

 10/14/2021   RBO      PD       Revise TCC Plan                                            6.60      1145.00         $7,557.00

 10/14/2021   RBO      PD       Review James I. Stang response and revise plan (.3);       0.40      1145.00          $458.00
                                Review Malhar S. Pagay response and review file
                                (.1)

 10/14/2021   JEO      PD       Participate in call with PSZJ team re plan discovery       1.30        925.00        $1,202.50

 10/14/2021   JEO      PD       Review status of plan discovery and review and             4.00        925.00        $3,700.00
                                finalize notices of service for same

 10/14/2021   JEO      PD       Email to Participating parties list re discover and        2.00        925.00        $1,850.00
                                review plan discovery received so far.

 10/14/2021   JEO      PD       Work on notices of service for plan discovery              1.00        925.00         $925.00

 10/14/2021   BEL      PD       Telephone conference with M. Manning regarding             0.20        825.00         $165.00
                                discovery responses.

 10/14/2021   BEL      PD       Draft responses to discovery requests.                     4.60        825.00        $3,795.00

 10/14/2021   BEL      PD       Emails regarding open discovery issues.                    0.30        825.00         $247.50
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                                                                                          Hours            Rate       Amount

 10/14/2021   BEL     PD        Draft, review and revise discovery responses.               4.70        825.00        $3,877.50

 10/14/2021   BEL     PD        Zoom meeting with plan litigation team regarding            1.30        825.00        $1,072.50
                                discovery issues.

 10/14/2021   JSP     PD        Emails with J. Lucas/S. Lee regarding                       0.20        850.00         $170.00
                                de-designation notice

 10/14/2021   JSP     PD        Review/comment on updated draft de-designation              0.30        850.00         $255.00
                                notice

 10/14/2021   LAF     PD        Legal research re: discovery issues.                        1.80        450.00         $810.00

 10/14/2021   VAN     PD        Research and analysis regarding plan confirmation           2.50      1050.00         $2,625.00
                                brief issues.

 10/14/2021   MPK     PD        Call with Beth Levine regarding document                    7.90        795.00        $6,280.50
                                production issues and responses (.2); work on
                                responses to insurers' discovery requests (1.4);
                                emails to litigation team regarding responses to
                                discovery (.7); call to witness at legal help center
                                regarding subpoena (.1); email to Legal Help Center
                                confirming conversation re lack of information (.2);
                                draft notes to file regarding calls from subpoena
                                parties (.1) emails to Jamie O regarding service and
                                review files (.1); call counsel for Legal Conversion
                                re subpoena (.1); call with PSZJ litigation team
                                regarding discovery issues, responses (1.3); further
                                work on responses to discovery requests from
                                propounding insurers (3.6); email to propounding
                                insurers regarding protective order (.1)

 10/14/2021   JWL     PD        Attend PSZJ plan litigation and discovery call (1.3);       5.00        825.00        $4,125.00
                                respond to questions from survivors and counsel
                                regarding voting (1.2); review and respond to
                                multiple plan discovery requests (2.5);

 10/14/2021   SWG     PD        Attend to monitoring and organization of                    0.80        625.00         $500.00
                                confirmation discovery

 10/14/2021   SWG     PD        Research re: deposition protocols                           0.30        625.00         $187.50

 10/14/2021   SWG     PD        Participate in daily discovery call with PSZJ team          1.30        625.00         $812.50

 10/14/2021   SWG     PD        Begin drafting proposed deposition protocols                1.10        625.00         $687.50

 10/14/2021   SWG     PD        Continue drafting discovery related to plan                 0.90        625.00         $562.50
                                confirmation

 10/15/2021   GFB     PD        Draft and respond to emails with Jay Horowitz/KLD           0.10        825.00          $82.50
                                Discovery regarding document review project; draft
                                email to Gillian Brown and Patricia Jefferies
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                                                                                          Hours            Rate       Amount
                                regarding same.
 10/15/2021   GNB     PD        Telephone conference with Kenneth H. Brown,                 0.80        795.00         $636.00
                                Malhar S. Pagay, John W. Lucas, Jeffrey L.
                                Schulman, and KTBS regarding Plan-related
                                discovery (partial attendance)

 10/15/2021   GNB     PD        Email Robert Pfister and Sasha Gurvitz regarding            0.10        795.00          $79.50
                                Plan-related discovery.

 10/15/2021   GNB     PD        Email with Kenneth H. Brown regarding responses             0.10        795.00          $79.50
                                to requests for production propounded on TCC.

 10/15/2021   GNB     PD        Email with internal PSZJ team regarding retrieval of        0.10        795.00          $79.50
                                documents to review for possible production and
                                onboarding Pasich lawyers for same.

 10/15/2021   GNB     PD        Email with PSZJ internal group and Jeffrey L.               1.10        795.00         $874.50
                                Shulman regarding Plan confirmation strategy and
                                Plan-related discovery.

 10/15/2021   GNB     PD        Telephone conference with Beth E. Levine and                0.40        795.00         $318.00
                                Miriam Manning regarding objections and responses
                                to discovery responses propounded on TCC.

 10/15/2021   GNB     PD        Telephone conference with internal PSZJ team and            1.30        795.00        $1,033.50
                                Jeffrey L. Schulman regarding Plan-related
                                discovery.

 10/15/2021   GNB     PD        Review letter from Mary Frazier regarding subpoena          0.10        795.00          $79.50
                                for production of documents to Archer Systems;
                                Email internal PSZJ team regarding same.

 10/15/2021   GNB     PD        Email with Timothy Peach and John Spencer                   0.10        795.00          $79.50
                                regarding retrieval of documents for review and
                                potential production; Email with Matthew K.
                                Babcock regarding same.

 10/15/2021   GNB     PD        Telephone conference with David H. Judd and                 0.90        795.00         $715.50
                                Matthew K. Babcock regarding Plan confirmation
                                issues, including discovery responses to the Debtors’
                                requests and expert report issues.

 10/15/2021   GNB     PD        Review information from Rock Creek relating to              0.10        795.00          $79.50
                                discovery responses to Debtors’ requests.

 10/15/2021   GNB     PD        Draft objections and responses to Debtors’ requests         0.40        795.00         $318.00
                                for production.

 10/15/2021   GNB     PD        Email with Stamatios Stamoulis regarding motion to          0.10        795.00          $79.50
                                quash subpoena directed to KLS Legal and other
                                outstanding subpoenas.
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 10/15/2021   GNB      PD       Revise and finalize objections and responses to              0.50        795.00         $397.50
                                Century’s interrogatories to TCC.

 10/15/2021   GNB      PD       Continue drafting objections and responses to                1.70        795.00        $1,351.50
                                Debtors’ interrogatories to TCC.

 10/15/2021   GNB      PD       Email James I. Stang and John W. Lucas with                  0.10        795.00          $79.50
                                materials for preparation for Wednesday call with
                                Paul Weiss.

 10/15/2021   IAWN PD           Telephone conference w/ Stang re term sheet with             0.20      1025.00          $205.00
                                insurers

 10/15/2021   IAWN PD           Telephone conference with Ken Brown re mediation             0.10      1025.00          $102.50
                                privilege

 10/15/2021   IAWN PD           Telephone conference with Robert B Orgel re plan             0.20      1025.00          $205.00

 10/15/2021   IAWN PD           Review emails from PSZJ re discovery and respond             4.20      1025.00         $4,305.00
                                to same

 10/15/2021   IAWN PD           Further exchange of emails re review of charts with          0.40      1025.00          $410.00
                                Sophia Lee and Stang

 10/15/2021   IAWN PD           Review partial mediation waiver language and                 0.20      1025.00          $205.00
                                comment to Lucas

 10/15/2021   IAWN PD           Search for and review Enron deposition protocol              0.90      1025.00          $922.50

 10/15/2021   IAWN PD           Review team emails re protocols                              0.10      1025.00          $102.50

 10/15/2021   IAWN PD           Email with Debra I Grassgreen re plan                        0.10      1025.00          $102.50

 10/15/2021   JIS      PD       Call with I. Nasatir regarding review of claims in           0.20      1195.00          $239.00
                                other cases for plan objection and term sheet

 10/15/2021   JIS      PD       Attend PSZJ plan litigation group call regarding             0.50      1195.00          $597.50
                                discovery responses (partial)

 10/15/2021   JIS      PD       Call with S. Golden and K. Brown regarding TCC               0.40      1195.00          $478.00
                                email production and mediation PTO motion.

 10/15/2021   JIS      PD       Call D. Buchbinder regarding pending discovery               0.30      1195.00          $358.50
                                issues.

 10/15/2021   JIS      PD       Review and annotate Century Interrogs.                       0.30      1195.00          $358.50

 10/15/2021   JIS      PD       Partial attendance on call with non-TCC state court          0.50      1195.00          $597.50
                                counsel regarding discovery responses.

 10/15/2021   JKH      PD       Review team emails regarding discovery issues (.2);          0.80      1095.00          $876.00
                                Attend part of PSZJ litigation team call (.6) (partial
                                attendance)
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 10/15/2021   KHB      PD       Confer with J. Stang and S. Golden re discovery              6.10        995.00        $6,069.50
                                responses (.4); PSZJ call re discovery responses
                                (1.3); telephone call with J. Lucas re discovery
                                responses (.2); work on discovery responses (3.3);
                                call with KTBS re discovery responses and issues
                                (.8); call with I. Nasatir re discovery responses and
                                opposition to protective order (.1).

 10/15/2021   MAM      PD       Organize subpoenas in the virtual file room and              3.20        395.00        $1,264.00
                                updates to discovery tracking chart.

 10/15/2021   MAM      PD       Locate and forward discovery served on The Official          0.10        395.00          $39.50
                                Committee of Tort Claimants to Jeffrey Schulman.

 10/15/2021   MAM      PD       Email to Steven Golden regarding missing discovery           0.20        395.00          $79.00
                                from The Church of Jesus Christ of Latter-Day
                                Saints.

 10/15/2021   MAM      PD       Updates to virtual files regarding responses to              0.30        395.00         $118.50
                                subpoenas by The Committee of Tort Claimants.

 10/15/2021   MAM      PD       Updates to discovery tracking chart and virtual files.       0.90        395.00         $355.50

 10/15/2021   MSP      PD       Email with Debra I. Grassgreen re: TCC Plan.                 0.20        875.00         $175.00

 10/15/2021   MSP      PD       Email with Gillian N. Brown re: Plan discovery.              0.10        875.00          $87.50

 10/15/2021   MSP      PD       Revise potential Plan objection outline (.5); email          0.60        875.00         $525.00
                                exchange with Victoria A. Newmark re: same (.1).

 10/15/2021   MSP      PD       Review and revise of draft responses to discovery            3.60        875.00        $3,150.00
                                propounded on TCC (3.5); email exchange with
                                Miriam Manning, Gillian N. Brown, John W. Lucas
                                et al. re: same (.1).

 10/15/2021   MSP      PD       Internal PSZJ meeting re: litigation (partial)               1.00        875.00         $875.00

 10/15/2021   MSP      PD       Meeting with R. Pfister, S. Gurvitz, et al. re: Plan         0.80        875.00         $700.00
                                discovery.

 10/15/2021   PJJ      PD       Work on document upload to Everlaw.                          1.00        425.00         $425.00

 10/15/2021   RBO      PD       Review Youth Protection messages and document                0.30      1145.00          $343.50
                                (.2); Preparation of message to James I. Stang
                                regarding same (.1)

 10/15/2021   RBO      PD       Further revise TCC Plan                                      3.10      1145.00         $3,549.50

 10/15/2021   RBO      PD       Revise Plan for TCC (.7); call with I. Nasatir re            0.90      1145.00         $1,030.50
                                same (.2).

 10/15/2021   JEO      PD       Participate in call with PSZJ team re plan discovery         1.30        925.00        $1,202.50
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                                                                                        Hours            Rate       Amount

 10/15/2021   JEO     PD        Review correspondence from multiple parties               3.00        925.00        $2,775.00
                                regarding subpoenas and coordinate responses.

 10/15/2021   JEO     PD        Review and respond to inquiries from counsel              2.00        925.00        $1,850.00
                                regarding plan discovery

 10/15/2021   JEO     PD        Review issues related to deposition notices to be         1.50        925.00        $1,387.50
                                issued by TCC

 10/15/2021   BEL     PD        Telephone conference with Miriam Manning and              0.40        825.00         $330.00
                                Gillian N. Brown regarding draft discovery
                                responses.

 10/15/2021   BEL     PD        Zoom with PSZJ litigation team regarding discovery        1.30        825.00        $1,072.50
                                response and litigation issues.

 10/15/2021   BEL     PD        Draft, review and revise responses to discovery           2.70        825.00        $2,227.50
                                requests.

 10/15/2021   BEL     PD        Further revisions to discovery responses.                 0.60        825.00         $495.00

 10/15/2021   JSP     PD        Finalize and prepare de-designation notices for           1.40        850.00        $1,190.00
                                service.

 10/15/2021   JSP     PD        Correspondence to BSA (M. Linder, etc.) regarding         0.20        850.00         $170.00
                                e-mail notices

 10/15/2021   JSP     PD        Follow up regarding incorrect Local Council               0.70        850.00         $595.00
                                information in connection with de-designation
                                notices

 10/15/2021   JSP     PD        Correspondence to/from J. VanLeuven regarding             0.20        850.00         $170.00
                                de-designation notice

 10/15/2021   JSP     PD        Correspondence from T. Howard (W.D. Boyce                 0.10        850.00          $85.00
                                Council) regarding de-designation notice

 10/15/2021   JSP     PD        Correspondence from L. Sawyko (Seneca                     0.10        850.00          $85.00
                                Waterways) regarding de-designation notice

 10/15/2021   JSP     PD        Correspondence from M. Duedal (Greater St. Louis)         0.10        850.00          $85.00
                                regarding de-designation notice

 10/15/2021   SLL     PD        Email de-designation notices to all BSA Councils on      10.00        395.00        $3,950.00
                                behalf of Jason Pomerantz; chart same.

 10/15/2021   VAN     PD        Phone conference with Steve Golden regarding plan         0.10      1050.00          $105.00
                                confirmation litigation issues.

 10/15/2021   VAN     PD        Research and analysis regarding plan confirmation         1.90      1050.00         $1,995.00
                                brief issues.

 10/15/2021   MPK     PD        Call with Beth L and Gillian B to discuss discovery       6.50        795.00        $5,167.50
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                                                                                           Hours            Rate       Amount
                                responses (.4); conference call with litigation team
                                regarding discovery issues (1.3); call with counsel
                                for Legal Conversion re extension to subpoena (.2);
                                email to counsel for Legal Conversion granting
                                extension (.1); further work on discovery responses
                                to insurers discovery (4.2); emails with litigation
                                team regarding discovery responses (.3)
 10/15/2021   JWL     PD        Attend litigation and plan discovery call with PSZJ          5.00        825.00        $4,125.00
                                team (1.3); plan discovery call with KTBS and PSZJ
                                (.8); review and revise mediation privilege email
                                (.3); call with K. Brown re discovery (.2); review
                                and revise discovery responses (2.4);

 10/15/2021   SWG     PD        Continue drafting and editing outbound confirmation          0.60        625.00         $375.00
                                discovery

 10/15/2021   SWG     PD        Review confirmation discovery-related pleadings              0.40        625.00         $250.00
                                filed in case, including lift stay motion and response
                                to motion to quash

 10/15/2021   SWG     PD        Attend to tracking and organization of discovery             0.40        625.00         $250.00

 10/15/2021   SWG     PD        Call with J. Stang and K. Brown re: plan litigation          0.40        625.00         $250.00
                                issues.

 10/15/2021   SWG     PD        Call with T. Newmark re: discovery research issues           0.10        625.00          $62.50

 10/15/2021   SWG     PD        Participate in daily discovery call with PSZJ team.          1.30        625.00         $812.50

 10/15/2021   SWG     PD        Draft and circulate proposed deposition protocol             1.40        625.00         $875.00
                                outline to PSZJ team

 10/15/2021   SWG     PD        Review reply in support of motion for protective             3.50        625.00        $2,187.50
                                order and begin drafting outline of argument related
                                thereto

 10/16/2021   GNB     PD        Telephone conference with internal TCC counsel               0.40        795.00         $318.00
                                team regarding Plan discovery.

 10/16/2021   GNB     PD        Email with Patricia J. Jeffries regarding document           0.10        795.00          $79.50
                                retrieval for review of documents potentially
                                responsive to document requests.

 10/16/2021   GNB     PD        Email Bill Sullivan regarding subpoena to KLS                0.10        795.00          $79.50
                                Legal and granting extension of time to respond to
                                subpoena and requests for production.

 10/16/2021   GNB     PD        Email with Matthew K. Babcock regarding                      0.20        795.00         $159.00
                                additional information for Century interrogatory
                                response.

 10/16/2021   GNB     PD        Email Steven W. Golden regarding CAMG                        0.10        795.00          $79.50
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                                                                                          Hours            Rate       Amount
                                objections and responses to subpoena; Update
                                discovery tracking chart relating to CAMG and KLS
                                Legal.
 10/16/2021   GNB      PD       Draft objections and responses to Debtors’ requests         3.30        795.00        $2,623.50
                                for production directed to TCC.

 10/16/2021   GNB      PD       Revise response to Century’s interrogatories directed       0.10        795.00          $79.50
                                to TCC.

 10/16/2021   GNB      PD       Briefly review objections and responses to                  0.20        795.00         $159.00
                                Propounding Insurers’ requests for production.

 10/16/2021   GNB      PD       Email with Miriam Manning regarding letter from             0.10        795.00          $79.50
                                Reciprocity’s counsel relating to subpoena for
                                production of documents.

 10/16/2021   IAWN PD           Review emails from PSZJ team re scope of                    0.20      1025.00          $205.00
                                mediation privilege

 10/16/2021   IAWN PD           Review insurers discovery to TCC                            1.20      1025.00         $1,230.00

 10/16/2021   IAWN PD           Review debtors discovery to TCC                             0.90      1025.00          $922.50

 10/16/2021   IAWN PD           Telephone conference with Schulman re ORIC and              0.30      1025.00          $307.50
                                Liberty

 10/16/2021   IAWN PD           Answer insurers document requests                           2.00      1025.00         $2,050.00

 10/16/2021   IAWN PD           Answer common interest interrogatories and draft            0.80      1025.00          $820.00
                                objection

 10/16/2021   IAWN PD           Review protocol and respond to emails from PSZJ             0.50      1025.00          $512.50
                                team re same

 10/16/2021   JIS      PD       PSZJ plan litigation team call re discovery.                0.40      1195.00          $478.00

 10/16/2021   JKH      PD       PSZJ plan litigation team call                              0.40      1095.00          $438.00

 10/16/2021   KHB      PD       PSZJ call re plan discovery responses (.4); prepare         2.40        995.00        $2,388.00
                                for hearing on motion for protective order and
                                review pleadings and authorities re same (2.0).

 10/16/2021   MSP      PD       Email with James I. Stang re: Plan litigation.              0.10        875.00          $87.50

 10/16/2021   MSP      PD       Email with John W. Lucas re: responses to Debtors'          0.10        875.00          $87.50
                                interrogatories.

 10/16/2021   MSP      PD       Internal PSZJ meeting re: Plan litigation.                  0.40        875.00         $350.00

 10/16/2021   MSP      PD       Email exchange with Gillian N. Brown re: TCC                0.10        875.00          $87.50
                                responses to insurer interrogatories.

 10/16/2021   MSP      PD       Email exchange with IN, John W. Lucas re: partial           0.10        875.00          $87.50
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                                mediation privilege waiver notice.
 10/16/2021   RBO      PD       Complete TCC Plan and TDP drafts for internal              10.90      1145.00         $12,480.50
                                circulation Plan (.1); telephone conference with Iain
                                A. W. Nasatir regarding plan insurance issues (.2);
                                continue revising TDP (.8) and revise Plan,
                                comparing to BSA version (9.8)

 10/16/2021   JEO      PD       Participate in call with PSZJ team re plan discovery        0.40        925.00          $370.00

 10/16/2021   BEL      PD       Revise discovery responses.                                 0.30        825.00          $247.50

 10/16/2021   VAN      PD       Research and analysis regarding plan confirmation           2.40      1050.00          $2,520.00
                                brief issues.

 10/16/2021   MPK      PD       Further work on responses to insurers' document             2.30        795.00         $1,828.50
                                requests (2.3)

 10/16/2021   JWL      PD       Attend PSZJ plan discovery call (.4); attend                1.20        825.00          $990.00
                                Coalition town hall (.8);

 10/16/2021   SWG      PD       Call with PSZJ litigation team re: plan confirmation        0.40        625.00          $250.00
                                discovery

 10/16/2021   SWG      PD       Continue outlining argument in opposition to                4.00        625.00         $2,500.00
                                protective order motion

 10/17/2021   DG       PD       Revise TCC Disclosure Statement (2.7); call with M.         3.20      1095.00          $3,504.00
                                Pagay re: same (.1); emails to and from M. Pagay
                                (.4)

 10/17/2021   GNB      PD       Telephone conference with internal TCC counsel              1.00        795.00          $795.00
                                team regarding Plan discovery and document
                                production.

 10/17/2021   GNB      PD       Telephone conference with internal PSZJ team                0.50        795.00          $397.50
                                regarding finalization of discovery responses, client
                                verifications, and filing and service.

 10/17/2021   GNB      PD       Email Malhar S. Pagay regarding client approval             0.10        795.00           $79.50
                                and filing of interrogatory objections and responses.

 10/17/2021   GNB      PD       Revise and edit objections and responses to Debtors’        2.00        795.00         $1,590.00
                                requests for production.

 10/17/2021   GNB      PD       Telephone conference with Malhar S. Pagay                   0.10        795.00           $79.50
                                regarding discovery objections and responses.

 10/17/2021   JIS      PD       Review with PSZJ litigation tam of discovery                1.00      1195.00          $1,195.00
                                responses.

 10/17/2021   JIS      PD       Call J. Lucas re plan issues, including dashboard           0.30      1195.00           $358.50
                                review and discovery responses.
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 10/17/2021   JIS      PD       Call R. Orgel re open plan issues regarding                   0.20      1195.00          $239.00
                                insurance injunction.

 10/17/2021   JKH      PD       BSA Litigation Team call (1.0); Review Protocol               1.20      1095.00         $1,314.00
                                outline and email comment (.2)

 10/17/2021   KHB      PD       Work on responses to discovery requests (4.2); PSZJ           6.30        995.00        $6,268.50
                                call re plan discovery responses (1.0); review
                                debtors' reply brief in support of protective order and
                                proposed order (1.1).

 10/17/2021   MSP      PD       Internal PSZJ meeting re: plan litigation.                    1.00        875.00         $875.00

 10/17/2021   MSP      PD       Review and revise numerous TCC responses to                   6.30        875.00        $5,512.50
                                discovery, including to Century, TCJC, debtors,
                                insurers, etc. (6.1); email exchange with Gillian N.
                                Brown, J. Schulman, Beth E. Levine, J. Humphrey,
                                P. Janci et al. re: same (.2).

 10/17/2021   MSP      PD       Email with Debra I. Grassgreen re: TCC Plan.                  0.10        875.00          $87.50

 10/17/2021   MSP      PD       Email with Beth E. Levine re: discovery responses.            0.10        875.00          $87.50

 10/17/2021   MSP      PD       Telephone call with Gillian N. Brown re: discovery            0.10        875.00          $87.50
                                responses.

 10/17/2021   MSP      PD       Litigation sub-team meeting re: service of discovery          0.30        875.00         $262.50
                                responses.

 10/17/2021   MSP      PD       Email exchange with James I. Stang re: mediation              0.10        875.00          $87.50
                                schedule.

 10/17/2021   MSP      PD       Email exchange with Debra I. Grassgreen, et al. re:           0.10        875.00          $87.50
                                review of TCC disclosure statement draft.

 10/17/2021   MSP      PD       Review pending issues and begin revisions to TCC              3.80        875.00        $3,325.00
                                disclosure statement.

 10/17/2021   RBO      PD       Review documents regarding plan strategy (.4);                0.60      1145.00          $687.00
                                Review emails regarding plan strategy (.2)

 10/17/2021   RBO      PD       Revise plan and compare to BSA plan                           4.00      1145.00         $4,580.00

 10/17/2021   RBO      PD       Revise TDP for TCC and compare to BSA version                 0.60      1145.00          $687.00

 10/17/2021   JEO      PD       Participate in call with PSZJ team to discuss plan            1.00        925.00         $925.00
                                discovery

 10/17/2021   JEO      PD       Review drafts of plan and disclosure statement and            3.00        925.00        $2,775.00
                                draft solicitation procedures and motion

 10/17/2021   JEO      PD       Review notices of service for discovery                       0.90        925.00         $832.50
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 10/17/2021   BEL     PD        Zoom meeting with PSZJ litigation team regarding            1.00        825.00         $825.00
                                discovery responses.

 10/17/2021   BEL     PD        Telephone conference with M. Manning regarding              0.10        825.00          $82.50
                                discovery responses.

 10/17/2021   BEL     PD        Draft, review and revise discovery responses.               4.70        825.00        $3,877.50

 10/17/2021   BEL     PD        Telephone conference with Gillian N. Brown, James           0.30        825.00         $247.50
                                E. O'Neill regarding discovery responses.

 10/17/2021   JSP     PD        Correspondence to/from J. Papada (Cradle of                 0.10        850.00          $85.00
                                Liberty Council) regarding de-designation notice

 10/17/2021   JSP     PD        Correspondence to M. Babcock regarding                      0.10        850.00          $85.00
                                de-designation notice

 10/17/2021   MPK     PD        Review emails and comments to responses to                  8.10        795.00        $6,439.50
                                Insurers' discovery and prepare for team call (1.2);
                                call with litigation team regarding discovery
                                responses (1); conference call with smaller subset of
                                litigation team to discuss procedural issues (.5);
                                further work on Insurers discovery responses (4.3);
                                call with Beth L re discovery responses (.3); emails
                                with Iain N and Jeff S re discovery responses (.2);
                                call with Beth L re revisions to discovery responses
                                (.2); emails with Iain N regarding privileges (.2);
                                review comments to discovery responses from Beth
                                L (.1); emails to Beth L and Gillian B re Axis
                                subpoena/response (.1)

 10/17/2021   JWL     PD        Attend PSZJ plan discovery and litigation call (1.0);       2.50        825.00        $2,062.50
                                review and revise discovery responses 1.5);

 10/17/2021   SWG     PD        Participate in daily call with litigation team              1.00        625.00         $625.00

 10/18/2021   GNB     PD        Email with Beth E. Levine regarding TCC's                   0.10        795.00          $79.50
                                responses to Debtors' requests for production.

 10/18/2021   GNB     PD        Telephone conference with internal TCC counsel              0.50        795.00         $397.50
                                team regarding Plan discovery and document
                                production.

 10/18/2021   GNB     PD        Telephone conference with John W. Lucas regarding           0.20        795.00         $159.00
                                responses to Debtors’ requests for production (.2);
                                Revise and finalize TCC’s responses to Debtors’
                                requests for production (.1).

 10/18/2021   GNB     PD        Telephone conference with Malhar S. Pagay                   0.80        795.00         $636.00
                                regarding tasks for October and November relating
                                to Plan confirmation (.5); Email Malhar S. Pagay
                                regarding same (.3).
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                                                                                        Hours            Rate       Amount

 10/18/2021   GNB      PD       Emails with internal PSZJ team regarding Plan             0.60        795.00         $477.00
                                confirmation discovery and confirmation hearing
                                scheduling issues.

 10/18/2021   GNB      PD       Review email from C. Davin Boldissar regarding fee        0.10        795.00          $79.50
                                applications and potential objections thereto.

 10/18/2021   IAWN PD           Review charts sent by Stang                               0.20      1025.00          $205.00

 10/18/2021   IAWN PD           Review other abuse charts                                 0.30      1025.00          $307.50

 10/18/2021   IAWN PD           Exchange emails with Sophia Lee re standards for          0.10      1025.00          $102.50
                                charts

 10/18/2021   IAWN PD           Review revised charts                                     0.10      1025.00          $102.50

 10/18/2021   IAWN PD           Draft explanatory email to Claro regarding charts         0.20      1025.00          $205.00

 10/18/2021   IAWN PD           Exchange emails with Claro and Schulman re charts         0.10      1025.00          $102.50

 10/18/2021   IAWN PD           Review Claro Pagay emails re coverage issues              0.10      1025.00          $102.50

 10/18/2021   IAWN PD           Review Schulman Claro emails re issues re policies        0.20      1025.00          $205.00

 10/18/2021   IAWN PD           Review Pagay email re expert                              0.10      1025.00          $102.50

 10/18/2021   IAWN PD           Draft and send lengthy email regarding scope of           0.30      1025.00          $307.50
                                Claro testimony and need for coverage expert

 10/18/2021   IAWN PD           Exchange emails with K Brown, G Brown, manning,           0.80      1025.00          $820.00
                                re common interest language, and draft same

 10/18/2021   IAWN PD           Exchange emails and telephone calls with G Brown          0.20      1025.00          $205.00
                                re electronic data search and Penthouse case

 10/18/2021   IAWN PD           Review Schulman email to BSA, FCR, Coalition re           0.10      1025.00          $102.50
                                Harry Lee extension

 10/18/2021   IAWN PD           Review email exchanges re deposition discovery            0.80      1025.00          $820.00
                                protocol among PSZJ team

 10/18/2021   IAWN PD           Review and comment on protocol                            0.30      1025.00          $307.50

 10/18/2021   JIS      PD       Plan litigation team call regarding mediation             1.30      1195.00         $1,553.50
                                protective order.

 10/18/2021   JIS      PD       Call J. Lucas re ballot access from OMNI website          0.20      1195.00          $239.00
                                and voting.

 10/18/2021   JIS      PD       PSZJ plan litigation group update call on responses       0.50      1195.00          $597.50
                                to discovery.

 10/18/2021   JIS      PD       Call with BRG regarding dashboards and related            1.40      1195.00         $1,673.00
                                confirmation issues to local councils.
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 10/18/2021   JIS      PD       Call with K. Brown regarding upcoming omnibus                0.40      1195.00          $478.00
                                hearing.

 10/18/2021   JIS      PD       Review Fortress objection to subpoena.                       0.10      1195.00          $119.50

 10/18/2021   JIS      PD       Call J. Lucas regarding discovery, plan status and           0.30      1195.00          $358.50
                                plan alternatives, town hall topics.

 10/18/2021   JIS      PD       review TDP and Plan for TCC                                  2.40      1195.00         $2,868.00

 10/18/2021   JKH      PD       BSA Litigation Team Zoom call regarding motion               1.80      1095.00         $1,971.00
                                for protective order and email Steven W. Golden,
                                Kenneth H. Brown regarding provision 5 (1.3); BSA
                                Litigation Team Zoom Review discovery (.5).

 10/18/2021   KHB      PD       PSZJ call re motion for protective order prep (1.3);         3.70        995.00        $3,681.50
                                work on proposed deposition protocol (.5); prepare
                                for oral argument on motion for protective order and
                                for status conf. (.5); confer with J. Stang re same
                                (.4); review authorities on third party releases (1.).

 10/18/2021   MAM      PD       Updates to discovery tracking chart and virtual files        1.10        395.00         $434.50
                                regarding responses to discovery.

 10/18/2021   MSP      PD       Email with John W. Lucas re: Plan discovery.                 0.10        875.00          $87.50

 10/18/2021   MSP      PD       Telephone calls with John W. Lucas re: Plan                  0.20        875.00         $175.00
                                discovery.

 10/18/2021   MSP      PD       Email with James I. Stang re: Plan litigation.               0.10        875.00          $87.50

 10/18/2021   MSP      PD       Email with James E. O'Neill re: service of discovery         0.10        875.00          $87.50
                                responses.

 10/18/2021   MSP      PD       Internal PSZJ meeting re: Plan litigation.                   0.50        875.00         $437.50

 10/18/2021   MSP      PD       Telephone call with Gillian N. Brown re: Plan                0.50        875.00         $437.50
                                discovery strategy and staffing.

 10/18/2021   MSP      PD       Internal PSZJ meeting re: Plan litigation strategy.          1.30        875.00        $1,137.50

 10/18/2021   MSP      PD       Revise disclosure statement re: TCC Plan.                    5.30        875.00        $4,637.50

 10/18/2021   MSP      PD       Review, revise and finalize numerous TCC’s                   5.60        875.00        $4,900.00
                                discovery responses to requests for production and
                                interrogatories, including to Century, TCJC, debtors,
                                insurers, coalition, etc.

 10/18/2021   MSP      PD       Review and revise proposed deposition protocols for          1.00        875.00         $875.00
                                Plan discovery.

 10/18/2021   MSP      PD       Email exchange with E. Goodman, S. Gurvitz, et al.           0.20        875.00         $175.00
                                re: proposed deposition protocols.
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 10/18/2021   PJJ      PD       Email vendors regarding forensic collection.                0.20        425.00          $85.00

 10/18/2021   PJJ      PD       Download Green & Resolutions document                       0.90        425.00         $382.50
                                production (.4); upload to Everlaw (.5).

 10/18/2021   PJJ      PD       Download/upload FSIC document production.                   0.50        425.00         $212.50

 10/18/2021   PJJ      PD       Create production log.                                      0.40        425.00         $170.00

 10/18/2021   RBO      PD       Review James I. Stang message regarding TDP                 0.10      1145.00          $114.50
                                work-flow charting and respond

 10/18/2021   JEO      PD       Participate in call with PSZJ team re plan discovery        0.50        925.00         $462.50

 10/18/2021   JEO      PD       Review and finalize discovery responses for                 2.00        925.00        $1,850.00
                                Debtors' discovery requests.

 10/18/2021   JEO      PD       Review finalize responses and objections to                 2.00        925.00        $1,850.00
                                discovery promulgated by Church of Latter Day
                                Saints.

 10/18/2021   JEO      PD       Review and finalize discovery responses for                 1.00        925.00         $925.00
                                discovery promulgated by the Coalition

 10/18/2021   JEO      PD       Review and finalize responses/objections to                 2.00        925.00        $1,850.00
                                discovery promulgated by certain insurers

 10/18/2021   BEL      PD       Revise outline regarding deposition issues.                 0.30        825.00         $247.50

 10/18/2021   BEL      PD       Review and revise draft discovery responses.                0.80        825.00         $660.00

 10/18/2021   BEL      PD       Zoom meeting with PSZJ litigation team and j.               0.50        825.00         $412.50
                                Schulman regarding discovery issues.

 10/18/2021   BEL      PD       Review, revise and finalize discovery responses.            2.30        825.00        $1,897.50

 10/18/2021   JSP      PD       Participate on call with PSZJ/BRG regarding Local           0.40        850.00         $340.00
                                Council dashboards

 10/18/2021   JSP      PD       Correspondence with various counsel regarding               0.70        850.00         $595.00
                                de-designation notices (M. Kelly - Buffalo (.2); J.
                                VanLeuven - Cascade Pacific (.3), H. Israel -
                                Pathway to Adventure (.2),

 10/18/2021   JSP      PD       Review correspondence from M. Babcock regarding             0.90        850.00         $765.00
                                Dashboards

 10/18/2021   VAN      PD       Research and analysis regarding plan confirmation           3.20      1050.00         $3,360.00
                                brief issues.

 10/18/2021   MPK      PD       Review Archer discovery response to discovery (.2);         3.20        795.00        $2,544.00
                                further work on notices of deposition for Resolutions
                                (.3); call with PSJZ team regarding discovery issues
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                                (.5); email to Malhar P regarding protective order
                                issues (.2); review correspondence from subpoenaed
                                parties and draft notes to file (1.8); emails with
                                James ONeil to confirm discovery responses (.2)
 10/18/2021   JWL     PD        Attend call with BRG regarding local council assets           7.00        825.00        $5,775.00
                                (1.3); attend litigation strategy call regarding motion
                                for protective order (1.3); call with G. Brown re
                                discovery responses (.2); review responses to plan
                                discovery (2.8); call with J. Stang regarding voting
                                issues (.2); another call with J. Stang re plan issues
                                (.3) respond to questions from survivors and counsel
                                regarding plan and voting issues (.7): call with M.
                                Pagay re plan discovery (.2).

 10/18/2021   SWG     PD        Continue preparation for protective order hearing             0.80        625.00         $500.00

 10/18/2021   SWG     PD        Participate in litigation team strategy call (partial)        1.20        625.00         $750.00

 10/18/2021   SWG     PD        Participate in daily discovery team call.                     0.50        625.00         $312.50

 10/18/2021   SWG     PD        Review, assess, and organize responses to discovery           2.50        625.00        $1,562.50
                                requests

 10/18/2021   SWG     PD        PSZJ WIP call re plan.                                        0.50        625.00         $312.50

 10/19/2021   DG      PD        Call with J . Lucas re: plan and town hall status             0.40      1095.00          $438.00

 10/19/2021   GNB     PD        Email with Chuck Curts regarding retrieval of                 0.10        795.00          $79.50
                                emails for document review.

 10/19/2021   GNB     PD        Telephone conference with Patricia J. Jeffries and            0.60        795.00         $477.00
                                KLDiscovery regarding electronically stored
                                information retrieval and searching (.5); Preparation
                                for same (.1).

 10/19/2021   GNB     PD        Introductory telephone conference with                        0.50        795.00         $397.50
                                KLDiscovery regarding collection, processing,
                                searching, and delivering ESI from PSZJ and
                                Committee members.

 10/19/2021   GNB     PD        Email with internal PSZJ team and Jeffrey L.                  0.40        795.00         $318.00
                                Schulman regarding Plan-related discovery.

 10/19/2021   GNB     PD        Edit notice to participating parties regarding                0.30        795.00         $238.50
                                mediation privilege.

 10/19/2021   GNB     PD        Email with Sasha Gurvitz regarding service of                 0.10        795.00          $79.50
                                discovery responses yesterday.

 10/19/2021   GNB     PD        Telephone conference with Patricia J. Jeffries                0.20        795.00         $159.00
                                regarding document retrieval, document searching,
                                and document review.
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 10/19/2021   GNB     PD        Email Steven W. Golden and Patricia J. Jeffries             0.10        795.00          $79.50
                                regarding conflict check for KLDiscovery.

 10/19/2021   GNB     PD        Email with Joe Males and Chuck Curts regarding              0.10        795.00          $79.50
                                email retrieval; Email with Beth E. Levine and
                                Miriam Manning regarding same and regarding
                                review of responses to TCC’s discovery.

 10/19/2021   GNB     PD        Telephone conference with internal PSZJ team                1.50        795.00        $1,192.50
                                regarding discovery and litigation strategy for Plan
                                confirmation.

 10/19/2021   GNB     PD        Telephone conference with Steven W. Golden,                 0.40        795.00         $318.00
                                Patricia J. Jeffries, and Michael A. Matteo regarding
                                discovery logistics.

 10/19/2021   GNB     PD        Email Iain A.W. Nasatir and Steven W. Green                 0.10        795.00          $79.50
                                regarding insurer discovery issue; Email Steven W.
                                Green regarding claims aggregator discovery issues.

 10/19/2021   GNB     PD        Telephone conference with Malhar S. Pagay                   0.20        795.00         $159.00
                                regarding discovery-related projects.

 10/19/2021   GNB     PD        Draft email to internal team regarding retrieval of         0.20        795.00         $159.00
                                internal emails for discovery review and potential
                                production.

 10/19/2021   GNB     PD        Email with KLDiscovery regarding email retrieval            0.20        795.00         $159.00
                                and searches

 10/19/2021   GNB     PD        Telephone conference with Jay Horowitz and Sheila           0.20        795.00         $159.00
                                Harding at KLDiscovery regarding ESI retrieval and
                                searches.

 10/19/2021   IAWN PD           Skim Continental discovery responses to TCC                 0.40      1025.00          $410.00

 10/19/2021   IAWN PD           Review Golden/Schulman emails re lists of insurers          0.10      1025.00          $102.50
                                by group

 10/19/2021   IAWN PD           Review Orgel email re evidence at confirmation and          0.20      1025.00          $205.00
                                circulate to lit team

 10/19/2021   IAWN PD           Review AIG discovery responses to TCC, Coalition,           2.30      1025.00         $2,357.50
                                TCJC, Debtor & FCR

 10/19/2021   IAWN PD           Exchange emails with Schulman re revised                    0.30      1025.00          $307.50
                                mediation language

 10/19/2021   IAWN PD           Exchange emails with coalition and FCR re common            0.10      1025.00          $102.50
                                interest

 10/19/2021   IAWN PD           Assemble and provide emails for common interest             0.50      1025.00          $512.50
                                participants
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 10/19/2021   IAWN PD           Exchange emails with K Brown, Lucas, G Brown re              0.20      1025.00          $205.00
                                same

 10/19/2021   IAWN PD           Review Century discovery responses to TCC                    1.00      1025.00         $1,025.00

 10/19/2021   IAWN PD           Review Chubb responses to TCC                                0.50      1025.00          $512.50

 10/19/2021   IAWN PD           Review Schulman email re Claro call                          0.10      1025.00          $102.50

 10/19/2021   IAWN PD           Review Pasich email re coverage expert                       0.10      1025.00          $102.50

 10/19/2021   IAWN PD           Review Schulman demand chart                                 0.10      1025.00          $102.50

 10/19/2021   IAWN PD           Review emails between Le Chevalier and Schulman              0.10      1025.00          $102.50
                                re term sheet and timing for call

 10/19/2021   IAWN PD           Review Levine/Schulman emails re TCJC privilege              0.10      1025.00          $102.50

 10/19/2021   IAWN PD           Telephone conference w/ PSZJ team re discovery.              1.50      1025.00         $1,537.50

 10/19/2021   JIS      PD       Attend PSZJ litigation group meeting regarding               1.00      1195.00         $1,195.00
                                focus of discovery (partial) .

 10/19/2021   JIS      PD       Call J. Lucas regarding plan issues including TCC            0.60      1195.00          $717.00
                                plan alternatives and discovery.

 10/19/2021   JIS      PD       Call R. Orgel regarding changes to TDP and TCC               0.40      1195.00          $478.00
                                Plan.

 10/19/2021   JKH      PD       Team Litigation Zoom call regarding discovery                1.50      1095.00         $1,642.50
                                issues

 10/19/2021   KHB      PD       PSZJ emails re discovery responses (.5); review              2.70        995.00        $2,686.50
                                discovery responses of other parties (.7); PSZJ call
                                re discovery responses and document production
                                (1.5).

 10/19/2021   MAM      PD       Organize discovery in the virtual files and updates to       7.90        395.00        $3,120.50
                                tracking chart.

 10/19/2021   MAM      PD       Telephone conference with Gillian N. Brown,                  0.40        395.00         $158.00
                                Steven Golden and Patricia Jeffries regarding
                                discovery organization issues and status.

 10/19/2021   MSP      PD       Email with Iain Nasatir re: partial mediation                0.10        875.00          $87.50
                                privilege waiver notice.

 10/19/2021   MSP      PD       Review and analysis of updated potential Plan                2.70        875.00        $2,362.50
                                confirmation objections outline (2.6); email
                                exchange with Victoria A. Newmark, et al. re: same
                                (.1).

 10/19/2021   MSP      PD       Email exchange with Iain Nasatir, Kenneth H.                 0.20        875.00         $175.00
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                                Brown et al. re: partial mediation privilege waiver
                                notice.
 10/19/2021   MSP      PD       Telephone call with Gillian N. Brown re: Plan              0.20        875.00         $175.00
                                litigation, results of omnibus hearing.

 10/19/2021   MSP      PD       Internal PSZJ meeting re: Plan litigation.                 1.50        875.00        $1,312.50

 10/19/2021   MSP      PD       Revise TCC disclosure statement draft.                     4.90        875.00        $4,287.50

 10/19/2021   MSP      PD       Email exchange with James I. Stang, et al. re: Youth       0.10        875.00          $87.50
                                Protection issues.

 10/19/2021   PJJ      PD       Conference call with KLDiscovery and Gillian N.            0.70        425.00         $297.50
                                Brown regarding forensic collection (.5); follow-up
                                call with Gillian N. Brown regarding same (.2).

 10/19/2021   PJJ      PD       Conference call with discovery team regarding              0.40        425.00         $170.00
                                status.

 10/19/2021   PJJ      PD       Prepare conflict list for KLDiscovery.                     1.50        425.00         $637.50

 10/19/2021   RBO      PD       Telephone call from James I. Stang regarding his           1.40      1145.00         $1,603.00
                                TCC TDP and Plan comments (.4); Revise TDP for
                                TCC (.2); Revise Plan for TCC

 10/19/2021   RBO      PD       Per James I. Stang, review TDP, and draft                  7.20      1145.00         $8,244.00
                                Powerpoint to capture key processes and take aways

 10/19/2021   JEO      PD       Participate in plan discovery call with PSZJ team          1.50        925.00        $1,387.50

 10/19/2021   BEL      PD       Zoom call with litigation team regarding discovery         1.50        825.00        $1,237.50
                                and litigation issues.

 10/19/2021   BEL      PD       Work on search terms and identification of                 3.20        825.00        $2,640.00
                                document in response to RFP's.

 10/19/2021   BEL      PD       Work on outline of TCJC issue.                             1.20        825.00         $990.00

 10/19/2021   BEL      PD       Work on document production issues.                        0.90        825.00         $742.50

 10/19/2021   JSP      PD       Review responses to de-designation notice                  0.60        850.00         $510.00

 10/19/2021   JSP      PD       Correspond with counsel for Local Councils                 0.40        850.00         $340.00
                                regarding dashboards, including H. Israel (Pathway
                                to Adventure) and C. Hooks (Westark Council)

 10/19/2021   JSP      PD       Review correspondence from M. Babcock regarding            0.80        850.00         $680.00
                                dashboards

 10/19/2021   VAN      PD       Research and analysis regarding plan confirmation          1.70      1050.00         $1,785.00
                                brief issues.

 10/19/2021   MPK      PD       Review responses from some subpoenaed parties              4.50        795.00        $3,577.50
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                                                                                            Hours            Rate       Amount
                                and notes to file (.7); emails with litigation team
                                regarding discovery issues (.2); prepare document
                                chart for Insurers' RFP (1.4); emails to PSZJ
                                attorneys regarding document production (.6); email
                                to Jeff S re same (.1); call with litigation team to
                                discuss discovery related issues (1.5)
 10/19/2021   JWL     PD        Call with party that could be potential settlement            5.30        825.00        $4,372.50
                                trustee (.3); call with D. Grassgreen re town hall
                                (.4); call with J. Stang re discovery and TCC plan
                                alternatives (.6); attend plan litigation and discovery
                                call (1.5); attend call with TCC chairs and BRG
                                regarding plan terms (.7) (partial call); respond to
                                privilege questions regarding production of
                                documents (.9); work on common interest list (.9).

 10/19/2021   SWG     PD        Continue tracking and updating discovery responses.           1.20        625.00         $750.00

 10/19/2021   SWG     PD        Participate in daily discovery call with PSZJ team            1.50        625.00         $937.50

 10/19/2021   SWG     PD        Call with PSZJ team re: discovery responses                   0.40        625.00         $250.00

 10/19/2021   SWG     PD        Review and organize discovery, including through              1.50        625.00         $937.50
                                updating comprehensive tracking chart

 10/20/2021   GNB     PD        Call with internal PSZJ team regarding Plan-related           1.40        795.00        $1,113.00
                                discovery.

 10/20/2021   GNB     PD        Email with Holly Hamm regarding subpoena to Case              0.10        795.00          $79.50
                                Works.

 10/20/2021   GNB     PD        Email with PSZJ internal team regarding litigation            0.80        795.00         $636.00
                                decisions, including discovery and general Plan
                                confirmation hearing strategy.

 10/20/2021   GNB     PD        Email with John W. Lucas regarding KLDiscovery                0.10        795.00          $79.50
                                next steps for ESI retrieval and searches.

 10/20/2021   GNB     PD        Telephone conference with James I. Stang and John             0.20        795.00         $159.00
                                W. Lucas (partial) regarding ESI retrieval.

 10/20/2021   GNB     PD        Email with Malhar S. Pagay, Beth E. Levine, and               0.50        795.00         $397.50
                                Miriam Manning regarding ESI collection and
                                search terms.

 10/20/2021   GNB     PD        Revise and edit search terms and search parameters            0.30        795.00         $238.50
                                for KL Discovery (.1); Email with Beth E. Levine
                                and Miriam Manning regarding same (.2).

 10/20/2021   IAWN PD           Telephone conference with Schulman re Hartford                0.30      1025.00          $307.50

 10/20/2021   IAWN PD           Review BSA website                                            0.10      1025.00          $102.50
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                                                                                           Hours            Rate       Amount

 10/20/2021   IAWN PD           Review Allianz discovery responses to TCC                    0.80      1025.00          $820.00

 10/20/2021   IAWN PD           Review emails between Golden and Schulman re                 0.20      1025.00          $205.00
                                discovery from insurers; review notes and exchange
                                emails w/ Schulman re Enstar deal and term sheet
                                options

 10/20/2021   IAWN PD           Telephone conference with plan litigation team re            1.40      1025.00         $1,435.00
                                discovery

 10/20/2021   JIS      PD       Call with PSZJ litigation team meeting regarding             1.40      1195.00         $1,673.00
                                next steps in enforcing discovery requests.

 10/20/2021   JIS      PD       Call J. Pomerantz regarding Local Council response           0.10      1195.00          $119.50
                                to declassification demand.

 10/20/2021   JIS      PD       Call J. Lucas regarding plan issues.                         0.20      1195.00          $239.00

 10/20/2021   JKH      PD       BSA Team Litigation Zoom call (1.4); Emails to,              1.50      1095.00         $1,642.50
                                from Gillian N. Brown, Malhar S. Pagay regarding
                                new work allocation re plan discovery (.1)

 10/20/2021   KHB      PD       PSZJ call re discovery responses (1.4); PSZJ emails          2.50        995.00        $2,487.50
                                re discovery responses (.4); work on notice of
                                waiver of mediation privilege (.7).

 10/20/2021   MAM      PD       Organize discovery in the virtual files and updates to       3.20        395.00        $1,264.00
                                tracking chart.

 10/20/2021   MAM      PD       Create discovery issued to files for Steven Golden           2.50        395.00         $987.50
                                regarding entities receiving subpoenas.

 10/20/2021   MSP      PD       Meeting with Beth E. Levine, Gillian N. Brown,               0.50        875.00         $437.50
                                Miriam Manning re: discovery response
                                coordination.

 10/20/2021   MSP      PD       Internal PSZJ meeting re: Plan litigation.                   1.40        875.00        $1,225.00

 10/20/2021   MSP      PD       Email exchange with Iain Nasatir, Kenneth H.                 0.10        875.00          $87.50
                                Brown et al. re: partial mediation privilege waiver
                                notice.

 10/20/2021   MSP      PD       Attention to Plan litigation strategy, logistics and         0.90        875.00         $787.50
                                discovery open items; email exchange with Gillian
                                N. Brown, et al. re: same (.10).

 10/20/2021   PJJ      PD       Update production log.                                       0.20        425.00          $85.00

 10/20/2021   RBO      PD       Discovery: Review and respond to messages from               0.30      1145.00          $343.50
                                M. Manning for searching files

 10/20/2021   RBO      PD       Review John W. Lucas message regarding plan and              0.10      1145.00          $114.50
                                respond
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 10/20/2021   JEO     PD        Participate in plan discovery call with PSZJ team            1.00        925.00         $925.00
                                (partial attendance)

 10/20/2021   BEL     PD        Revise search terms.                                         0.30        825.00         $247.50

 10/20/2021   BEL     PD        Revise outline regarding legal and factual issues            0.70        825.00         $577.50
                                related to discovery.

 10/20/2021   BEL     PD        Review discovery tracking chart and email Steven             0.20        825.00         $165.00
                                W. Golden regarding same.

 10/20/2021   BEL     PD        Zoom call with PSZJ litigation team regarding                1.40        825.00        $1,155.00
                                discovery and litigation issues.

 10/20/2021   BEL     PD        Telephone conference with Malhar S. Pagay, Gillian           0.50        825.00         $412.50
                                N. Brown and Miriam Manning regarding search
                                terms.

 10/20/2021   BEL     PD        Comment on Gillian N. Brown's list of search terms.          0.30        825.00         $247.50

 10/20/2021   BEL     PD        Analysis of portions of disclosure statement relevant        2.80        825.00        $2,310.00
                                to multiple discovery issues.

 10/20/2021   JSP     PD        Prepare reponse chart regarding de-designation               0.40        850.00         $340.00
                                responses

 10/20/2021   JSP     PD        Correspondence to and/or from counsel regarding              0.90        850.00         $765.00
                                de-designation request (M. Williams - Denver Area
                                (.3); J. Murray - Spirit of Adventure (.1); Ml. Kelley
                                - Buffalo (.1); H. Israel - Pathway to Adventure (.2);
                                J. Papada - Cascade of Liberty (.2))

 10/20/2021   JSP     PD        Review dashbaords and attachments to same in                 0.50        850.00         $425.00
                                correspondence to Local Councils based on call with
                                M. Babcock concerning same

 10/20/2021   VAN     PD        Research and analysis regarding plan confirmation            6.10      1050.00         $6,405.00
                                brief issues.

 10/20/2021   MPK     PD        Emails to Deb G and Jeff S regarding discovery               4.80        795.00        $3,816.00
                                production (.2); emails to Beth L and Gillian B
                                regarding discovery production issues (.4); further
                                work on discovery chart for insurers (1) call with
                                PSZJ litigation team and others regarding discovery
                                issues (1.4); call with Beth L, Gillian B and Malhar
                                P regarding document production, search and
                                depositions (.8) call with counsel for Legal
                                Conversion regarding discovery deadlines (.1);
                                email to counsel for Century re deadlines to respond
                                to discovery (.1); work on deposition notices (.3);
                                review litigation funding articles and memos (.5)
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                                                                                            Hours            Rate       Amount

 10/20/2021   JWL     PD        Respond to numerous survivor and counsel                      6.50        825.00        $5,362.50
                                questions regarding plan and voting (4.3); attend
                                PSZJ plan litigation and discovery call (1.4); call
                                with J. Stang re plan issues (.2); work on privilege
                                communication list (.6);

 10/20/2021   SWG     PD        Exchange emails with insurance team re: discovery             0.20        625.00         $125.00
                                related to confirmation

 10/20/2021   SWG     PD        Update comprehensive discovery tracker                        1.00        625.00         $625.00

 10/20/2021   SWG     PD        Participate in daily discovery touch-base meeting             1.40        625.00         $875.00
                                with PSZJ team

 10/20/2021   TCF     PD        PSZJ plan litigation and discovery call (partial call).       0.90        875.00         $787.50

 10/20/2021   TCF     PD        Review and analysis of plan litigation issues.                0.60        875.00         $525.00

 10/21/2021   GFB     PD        Review and respond to emails with Patricia Jefferies          0.20        825.00         $165.00
                                and Gillian Brown regarding document review
                                project; draft and respond to emails with Jay
                                Horowitz/KLD Discovery regarding same.

 10/21/2021   GNB     PD        call wtih M. Litvak re plan                                   0.30        795.00         $238.50

 10/21/2021   GNB     PD        Call with PSZJ internal team regarding Plan                   1.20        795.00         $954.00
                                discovery and Plan confirmation hearing strategy
                                (1.0); Prepare for same (.2).

 10/21/2021   GNB     PD        Email with Joe Males regarding meeting with KL                0.10        795.00          $79.50
                                Discoveyr.

 10/21/2021   GNB     PD        Emails with Maxim B. Litvak regarding retrieval of            0.20        795.00         $159.00
                                emails for review and potential production.

 10/21/2021   GNB     PD        Email Jay Horowitz regarding edits to statement of            0.10        795.00          $79.50
                                work for KLDiscovery.

 10/21/2021   GNB     PD        Email with Beth E. Levine and Miriam Manning                  0.50        795.00         $397.50
                                regarding discovery issues (ESI search terms and
                                depositions).

 10/21/2021   GNB     PD        Review state court counsel edits to retention                 0.10        795.00          $79.50
                                agreement.

 10/21/2021   GNB     PD        Emails with Shelia Harding regarding KLDiscovery              0.30        795.00         $238.50
                                ESI retrieval (.2); Email with PSZJ IT Department
                                regarding same (.1).

 10/21/2021   GNB     PD        Telephone conference with John W. Lucas and                   0.30        795.00         $238.50
                                Steven W. Golden regarding custodians for ESI
                                collection.
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                                                                                          Hours            Rate       Amount

 10/21/2021   GNB     PD        Telephone conference with Malhar S. Pagay and               0.40        795.00         $318.00
                                James K.T. Hunter (partial) regarding Plan litigation
                                strategy.

 10/21/2021   GNB     PD        Email James K.T. Hunter with materials for ESI              0.10        795.00          $79.50
                                retrieval from PSZJ consultants.

 10/21/2021   GNB     PD        Email with Jason S. Pomerantz regarding retrieval of        0.10        795.00          $79.50
                                emails for review and potential production.

 10/21/2021   GNB     PD        Email with Steven W. Golden regarding retrieval of          0.10        795.00          $79.50
                                emails for review and potential production; Email
                                Robert B. Orgel and Debra I. Grassgreen regarding
                                retrieval of emails for review and potential
                                production.

 10/21/2021   GNB     PD        Analysis of potential custodians for ESI review at          0.40        795.00         $318.00
                                PSZJ.

 10/21/2021   GNB     PD        Email with Maxim B. Litvak regarding ESI relating           0.10        795.00          $79.50
                                to J.P. Morgan Settlement.

 10/21/2021   IAWN PD           Review Greene emails re production                          0.10      1025.00          $102.50

 10/21/2021   IAWN PD           Exchange emails with Manning re same                        0.10      1025.00          $102.50

 10/21/2021   IAWN PD           Exchange emails with Schulman re Allianz relief             0.10      1025.00          $102.50
                                from stay motion

 10/21/2021   IAWN PD           Review Allianz relief from stay motion                      0.70      1025.00          $717.50

 10/21/2021   IAWN PD           Exchange emails with Claro and Pagay re time                0.20      1025.00          $205.00
                                scope re verdicts and settlements

 10/21/2021   IAWN PD           Review and distribute into relevant sub folders             0.50      1025.00          $512.50
                                insurers discovery responses

 10/21/2021   IAWN PD           Call with Golden and Schulman re prioritizing               1.00      1025.00         $1,025.00
                                insurers to discovery.

 10/21/2021   JKH     PD        PSZJ plan litigation Team conference call regarding         1.90      1095.00         $2,080.50
                                discovery matters (1.0); Review Gina F. Brandt
                                email regarding Rockcreek document production
                                issues (.1); Zoom call with Gillian N. Brown,
                                Malhar S. Pagay regarding additional discovery task
                                (.3) (partial); Emails Patricia Jeffries, Gillian N.
                                Brown regarding Rockcreek, CBRE document
                                production issues and review Requests for
                                Production of Documents regarding same (.5)

 10/21/2021   KHB     PD        PSZJ call re discovery responses (1.0); emails with         2.10        995.00        $2,089.50
                                B. Levine re TCJC discovery issues (.3); PSZJ
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                                emails re discovery issues (.3); emails from J. Stang,
                                Committee Members and mediators re mediation
                                issues (.3); email with J. Stang re plan objections
                                (.2).
 10/21/2021   MAM      PD       Review docket and update discovery tracking chart.           3.20        395.00        $1,264.00

 10/21/2021   MAM      PD       Updates to virtual files regarding discovery.                1.90        395.00         $750.50

 10/21/2021   MSP      PD       Attention to Plan litigation strategy, logistics and         0.90        875.00         $787.50
                                discovery open items (.7); email exchange with
                                Kenneth H. Brown , Gillian N. Brown, Ira D.
                                Kharasch, Miriam Manning, Linda Cantor, et al. re:
                                same (.2).

 10/21/2021   MSP      PD       Telephone call with Gillian N. Brown and James               0.40        875.00         $350.00
                                Hunter (partial participation) re: transfer of certain
                                litigation tasks.

 10/21/2021   MSP      PD       Internal PSZJ meeting re: Plan litigation.                   1.00        875.00         $875.00

 10/21/2021   MSP      PD       Email exchange with Victoria A. Newmark re: Plan             0.10        875.00          $87.50
                                objection issue.

 10/21/2021   PJJ      PD       Discovery touch base call with Pasich team.                  0.50        425.00         $212.50

 10/21/2021   MBL      PD       Call with G. Brown and follow-up emails re plan              0.30        950.00         $285.00
                                discovery issues.

 10/21/2021   JEO      PD       Attend and participate in plan discovery call with           1.00        925.00         $925.00
                                PSZJ team

 10/21/2021   JEO      PD       Follow up with Latham re discovery propounded by             0.30        925.00         $277.50
                                TCJC

 10/21/2021   JEO      PD       Review updated participating parties list for service        0.80        925.00         $740.00
                                of plan discovery

 10/21/2021   BEL      PD       Emails with PSZJ litigation team regarding                   0.40        825.00         $330.00
                                document production issues.

 10/21/2021   BEL      PD       Zoom meeting with PSZJ litigation team regarding             1.00        825.00         $825.00
                                discovery and litigation issues.

 10/21/2021   BEL      PD       Emails with PSZJ litigation team regarding                   0.60        825.00         $495.00
                                discovery issues.

 10/21/2021   BEL      PD       Review and analyze participating parties' discovery          3.50        825.00        $2,887.50
                                responses.

 10/21/2021   JSP      PD       Correspondence in connection with de-designation             2.10        850.00        $1,785.00
                                notice (C. Sandberg - Great Southwest (.2); J.
                                Papada - Cradle of Liberty (.1)l M. Linder/M. Levy
                                - Last Frontier Council (.1); B. Kelleher - Laurel
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                                Highlands (.3); L. Rector - Mountaineer Council
                                (.4); C. Magnuson - Northern Lights Council (.4); R.
                                Opera - Orange County Council (.2); confer with J.
                                Stang in connection with same (.3); review tracking
                                chart (.1)
 10/21/2021   VAN     PD        Research and analysis regarding plan confirmation             2.30      1050.00         $2,415.00
                                brief issues.

 10/21/2021   VAN     PD        Analysis regarding retirement plan research issues,           0.80      1050.00          $840.00
                                including email to Rock Creek regarding same.

 10/21/2021   MPK     PD        Compile additional search terms for production ( .3);         3.00        795.00        $2,385.00
                                emails to Beth L and Gillian B re discovery issues
                                (.5); review Green production and court filings (.6);
                                call with PSZJ team regarding discovery issues and
                                related matters (1); revise notice of Green deposition
                                and prepare subpoena (.4); emails to Jamie O and
                                Malhar P re Green deposition (.2)

 10/21/2021   JWL     PD        Attend PSZJ plan litigation and discovery call (1.0);         5.80        825.00        $4,785.00
                                call with G. Brown and S. Golden regarding
                                custodian list for production of documents (.3);
                                respond to numerous inquiries regarding voting
                                issues from survivors and counsel (4.5);

 10/21/2021   SWG     PD        Continue review and organization of confirmation              1.40        625.00         $875.00
                                discovery

 10/21/2021   SWG     PD        Participate in insurance discovery call with I. Nasitir       1.00        625.00         $625.00
                                and J. Schulman.

 10/21/2021   SWG     PD        Participate in daily discovery call with PSZJ                 1.00        625.00         $625.00
                                litigation team.

 10/21/2021   SWG     PD        Call with G. Brown and J. Lucas re: outbound                  0.30        625.00         $187.50
                                document production.

 10/21/2021   SWG     PD        Call with Pasich team re: Everlaw onboarding.                 0.50        625.00         $312.50

 10/22/2021   CMC     PD        Confrence call with Gillian Brown and KLD team to             0.50        395.00         $197.50
                                facilitate plan document production.

 10/22/2021   GNB     PD        Telephone conference with IT dept. regarding PSZJ             0.40        795.00         $318.00
                                email retrieval for review and possible production.

 10/22/2021   GNB     PD        Email to document review team regarding next                  0.20        795.00         $159.00
                                steps.

 10/22/2021   GNB     PD        Email with Stamatios Stamoulis regarding claims               0.30        795.00         $238.50
                                aggregators (.05); Telephone conference with
                                Stamatios Stamoulis regarding same (.25).
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 10/22/2021   GNB     PD        Telephone conference with internal PSZJ team,             0.80        795.00         $636.00
                                David H. Judd (partial attendance), and Matthew K.
                                Babcock (partial attendance) regarding expert
                                reports, discovery logistics, and Plan confirmation
                                litigation strategy.

 10/22/2021   GNB     PD        Email with James K.T. Hunter regarding document           0.10        795.00          $79.50
                                retrieval from CBRE.

 10/22/2021   GNB     PD        Email with internal litigation team regarding             0.10        795.00          $79.50
                                document review strategy.

 10/22/2021   GNB     PD        Telephone conference with Matthew K. Babcock              0.20        795.00         $159.00
                                regarding BRG retrieval of emails potentially
                                responsive to document requests propounded on the
                                TCC.

 10/22/2021   GNB     PD        Email with KLDiscovery and Peter Giep regarding           0.20        795.00         $159.00
                                ESI retrieval from PSZJ email servers.

 10/22/2021   GNB     PD        Email with Nina L. Hong regarding document                0.10        795.00          $79.50
                                review project; Email with William Ramseyer
                                regarding same.

 10/22/2021   GNB     PD        Email with Beth E. Levine and Miriam Manning              0.20        795.00         $159.00
                                regarding document review issues.

 10/22/2021   IAWN PD           Telephone conference w/ PSZJ lit tream, BRG,              0.80      1025.00          $820.00
                                Schulman re plan objections

 10/22/2021   IAWN PD           Telephone conference with Schulman re plan                0.10      1025.00          $102.50
                                objections

 10/22/2021   IAWN PD           Telephone conference w/ insurance group re RSA            0.90      1025.00          $922.50
                                and privilege

 10/22/2021   IAWN PD           Review TCJC RFP responses                                 0.30      1025.00          $307.50

 10/22/2021   IAWN PD           Exchange emails with Lee re term sheet                    0.10      1025.00          $102.50

 10/22/2021   IAWN PD           Review Levine email and TCJC responses and                1.00      1025.00         $1,025.00
                                comment on same

 10/22/2021   IAWN PD           Review Lucas, K Brown, exchange TCJC strategy             0.20      1025.00          $205.00

 10/22/2021   IAWN PD           Review and analyze McNallly chart re verdicts, and        0.30      1025.00          $307.50
                                McNally email re same

 10/22/2021   IAWN PD           Review McNally distribution email and chart               0.30      1025.00          $307.50

 10/22/2021   IAWN PD           Review Pagay McNally emails re same                       0.10      1025.00          $102.50

 10/22/2021   IAWN PD           Review Golden and Ruggieri email exchange re              0.10      1025.00          $102.50
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                                                                                         Hours            Rate       Amount
                                meet and confer
 10/22/2021   IAWN PD           Review Ruggeri response to meet and confer                 0.20      1025.00          $205.00

 10/22/2021   IAWN PD           Review Golden email to Century and to Chubb re             0.10      1025.00          $102.50
                                meet and confer

 10/22/2021   IAWN PD           Review BSA responses to TCC discovery                      0.70      1025.00          $717.50

 10/22/2021   IAWN PD           Call with PSZJ and Schulman re insurance plan.             0.90      1025.00          $922.50

 10/22/2021   JIS      PD       Call with PSZJ re timing of filing plan and                0.10      1195.00          $119.50
                                disclosure statement.

 10/22/2021   JIS      PD       Review emails regarding classification of                  0.20      1195.00          $239.00
                                dashboards.

 10/22/2021   JIS      PD       Call Jason Pomerantz and Matt Babcock re                   0.20      1195.00          $239.00
                                dashboards.

 10/22/2021   JIS      PD       PSZJ litigation group call re document production          0.80      1195.00          $956.00
                                and privilege issues.

 10/22/2021   JIS      PD       Call J. Lucas regarding website content and issues         0.30      1195.00          $358.50
                                related to solicitation.

 10/22/2021   JKH      PD       PSZJ plan litigation Team Zoom call                        0.80      1095.00          $876.00

 10/22/2021   KHB      PD       PSZJ team call re responses to plan discovery              4.10        995.00        $4,079.50
                                requests (.8); work on responses to discovery
                                requests (3.3).

 10/22/2021   MAM      PD       Review docket and update discovery tracking chart          2.60        395.00        $1,027.00
                                and virtual files.

 10/22/2021   MAM      PD       Review discovery tracker chart for Steven Golden           3.30        395.00        $1,303.50
                                and compare to virtual files and forward comments.

 10/22/2021   MAM      PD       Review docket for Gillian N. Brown regarding               0.20        395.00          $79.00
                                stipulation with Reciprocity.

 10/22/2021   MAM      PD       Review emails, locate and forward discovery charts         0.20        395.00          $79.00
                                to Beth E. Levine.

 10/22/2021   MSP      PD       Attention to Plan litigation strategy, logistics and       2.80        875.00        $2,450.00
                                discovery open items (2.7); email exchange with
                                Miriam Manning, James E. O'Neill, Ira D. Kharasch,
                                Steven W. Golden , Beth E. Levine, et al. re: same
                                (.10).

 10/22/2021   MSP      PD       Review and analysis re: sexual abuse claims issues         0.90        875.00         $787.50
                                (.8); email exchange with K. McNally, et al. re:
                                same (.10).
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 10/22/2021   MSP     PD        Attention to youth protection issues (.5); email            0.60        875.00         $525.00
                                exchange with Robert B. Orgel, Victoria A.
                                Newmark et al. re: same (.1).

 10/22/2021   MSP     PD        Internal PSZJ meeting re: plan litigation (partial          0.60        875.00         $525.00
                                participation).

 10/22/2021   MSP     PD        Meeting with Victoria A. Newmark, John W. Lucas,            0.90        875.00         $787.50
                                Iain Nasatir, J. Schulman re: Insurance Plan and
                                discovery issues.

 10/22/2021   MSP     PD        Email exchange with Victoria A. Newmark re: Plan            0.20        875.00         $175.00
                                objection issue.

 10/22/2021   RBO     PD        Review Iain A. W. Nasatir message regarding                 0.20      1145.00          $229.00
                                Coalition and respond (.1); Review Malhar S. Pagay
                                message regarding plan, survivor protection and
                                respond (.1)

 10/22/2021   JEO     PD        Work on plan solicitation issues                            4.90        925.00        $4,532.50

 10/22/2021   JEO     PD        Call with PSZJ team re plan discovery                       0.80        925.00         $740.00

 10/22/2021   BEL     PD        Zoom meeting with PSZJ litigation team regarding            0.80        825.00         $660.00
                                litigation issues.

 10/22/2021   BEL     PD        Emails regarding document review issues.                    0.40        825.00         $330.00

 10/22/2021   BEL     PD        Analysis of discovery responses of other parties.           2.90        825.00        $2,392.50

 10/22/2021   JSP     PD        Correspondence to and/or from opposing counsel              5.80        850.00        $4,930.00
                                regarding de-designation of confidentiality of
                                dashboards: Victor Vilaplana - San Diego Imperial
                                Council (.4); W. Carpenter - Three Rivers Council
                                (.2); J. VanLeuven - Cascade Pacific Council (.2); E.
                                Lindberg - Greenwich Council (.2); M. Kelly -
                                Buffalo Trail Council (.2); R. Opera - Orange
                                County Council (.1); L. Fiorenza (Greater St. Louis
                                & Prairielands Councils (.2); L. Milne (Daniel
                                Webster, Pine Tree and Katahan Area Councils)(.3);
                                W. Hoch - Last Fronteir Council (.2); M. Rasmussen
                                - Circle Ten (.2); H. Israel - Pathway to Adventure
                                (.2); prepare for and confer with J. Papada regarding
                                Cradle of Liberty Council (.5); S. Smith and M.
                                Cooper - Midnight Sun Council (.1); S. Wiehle -
                                Longhorn Council (.1); C. Hill - Golden Spread,
                                Leatherstocking and Twin Rivers Councils (.3); G.
                                Dykeman - Greater Wyoming Longs Peak Council
                                (.2); W. Sugden - Atlanta Area Council (.3); W.
                                Barefoot - Pee Dee Council (.2); J. Moe - Greater
                                Los Angeles Council (.2); J. Bernhardt - Sam
                                Houston Council (.2); F. Cruse - Great Rivers
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                                                                                           Hours            Rate       Amount
                                Council (.2); G. Klausner - Long Beach Council (.1);
                                E. Hern - North Florida Council (.3); S. Kinsella -
                                Northern Star Council (.2); T. Bartels - HOAC (.3);
 10/22/2021   JSP     PD        Call with Bublurk re local council info. (.2)                0.20        850.00         $170.00

 10/22/2021   VAN     PD        Research and analysis regarding plan confirmation            1.80      1050.00         $1,890.00
                                issues.

 10/22/2021   VAN     PD        Phone conference with PSZJ team regarding plan               0.90      1050.00          $945.00
                                confirmation discovery issues for insurance plan..

 10/22/2021   VAN     PD        Analysis regarding retirement plan research issues.          0.50      1050.00          $525.00

 10/22/2021   MPK     PD        Call with PSZJ team to discuss status and discovery          2.20        795.00        $1,749.00
                                (.8); emails with Beth L and Gillian B regarding
                                production issues (.4); emails to Iain N and John L
                                regarding discovery (.4); review portions of Green
                                documents (.6)

 10/22/2021   JWL     PD        Attend PSZJ plan litigation and discovery call (.8);         4.10        825.00        $3,382.50
                                attend PSZJ insurance legal strategy for plan
                                objections (.9); view Rothweiler, YouTube re paln
                                (.3); respond to numerous survivors and counsel
                                inquiries regarding voting and plan issues (1.8); call
                                with J. Stang re TCC website (.3)

 10/22/2021   SWG     PD        Draft and send meet and confer requests to certain           0.20        625.00         $125.00
                                insurers

 10/22/2021   SWG     PD        Participate in daily PSZJ litigation call.                   0.80        625.00         $500.00

 10/22/2021   SWG     PD        Review Hartford responses to TCC's RFPs and                  1.70        625.00        $1,062.50
                                summarize same

 10/22/2021   SWG     PD        Participate in call with PSZJ team re:                       0.90        625.00         $562.50
                                insurance-related confirmation issues

 10/22/2021   SWG     PD        Attend to scheduling of meet and confers with                0.30        625.00         $187.50
                                insurers.

 10/22/2021   SWG     PD        Draft and send comprehensive process/strategy                0.20        625.00         $125.00
                                email to insurance litigation team

 10/22/2021   SWG     PD        Update discovery tracking chart                              0.40        625.00         $250.00

 10/23/2021   CMC     PD        Create Mimecast account for KLD to allow full                1.30        395.00         $513.50
                                access to all custodians for document production and
                                verify with KLD they have proper access.

 10/23/2021   GNB     PD        Draft 30(b)(6) deposition notice to Debtors.                 0.40        795.00         $318.00

 10/23/2021   GNB     PD        Prepare materials for PSZJ document review team.             0.20        795.00         $159.00
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 10/23/2021   GNB      PD       Telephone conference with James K.T. Hunter                 0.30        795.00        $238.50
                                regarding document retrieval from CBRE and Rock
                                Creek Advisors.

 10/23/2021   JIS      PD       Call Jason Pomerantz regarding local council                0.10      1195.00         $119.50
                                response to dashboard confidentiality issues.

 10/23/2021   JKH      PD       Telephone conference with Gillian N. Brown                  0.30      1095.00         $328.50
                                regarding Rockcreek, CBRE document production
                                issues

 10/23/2021   MSP      PD       Email exchange with Victoria A. Newmark re: Plan            0.10        875.00         $87.50
                                objection issue.

 10/23/2021   BEL      PD       Emails regarding meet and confer issues.                    0.60        825.00        $495.00

 10/23/2021   JSP      PD       Correspondence to and/or from counsel in                    0.60        850.00        $510.00
                                connection with de-designation responses - W.
                                Hoch/M. Sine - Last Frontier (.2); S. Wiehle -
                                Longhorn Council (.1); J. Lenrow - Baltimore Area
                                (.2); J. Bernhardt - Sam Houston (.1)

 10/23/2021   JSP      PD       Analyze responses to de-designation request                 0.90        850.00        $765.00
                                concerning dashboards

 10/23/2021   JSP      PD       Call with J. Stang regarding responses to                   0.10        850.00         $85.00
                                de-designation request

 10/23/2021   JWL      PD       Respond to questions from TCC co-chairs regarding           1.00        825.00        $825.00
                                TDP (1.0);

 10/23/2021   SWG      PD       Continue review and summary of responses from               0.80        625.00        $500.00
                                insurers to discovery requests.

 10/24/2021   GNB      PD       Telephone conference with Jeffrey L. Shulman                0.20        795.00        $159.00
                                regarding document review and common interest
                                privilege.

 10/24/2021   GNB      PD       Email Iain A.W. Nasatir and Jeffrey L. Shulman              0.20        795.00        $159.00
                                regarding common interest privileged
                                communications relating to insurance issues.

 10/24/2021   GNB      PD       Email with Malhar S. Pagay regarding litigation             0.10        795.00         $79.50
                                staffing; Review email from Jason S. Pomerantz
                                regarding local council objections to dashboard data;
                                Email KL Discovery regarding status of email
                                collection from PSZJ email servers.

 10/24/2021   GNB      PD       Draft proposed tags for Everlaw document review.            0.30        795.00        $238.50

 10/24/2021   GNB      PD       Edit search terms for PSZJ emails.                          0.10        795.00         $79.50

 10/24/2021   IAWN PD           Review emails between G Brown and Schulman re               0.20      1025.00         $205.00
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                                FCR common interest
 10/24/2021   IAWN PD           Review Schulman exchange emails with FCR                   0.20      1025.00          $205.00
                                coverage counsel re Gallagher and Allied

 10/24/2021   IAWN PD           Review stip for settlement                                 0.20      1025.00          $205.00

 10/24/2021   IAWN PD           Email Lucas re JPM                                         0.10      1025.00          $102.50

 10/24/2021   IAWN PD           Telephone conference w/ Golden and Schulman re             0.80      1025.00          $820.00
                                meet and confers of insurance carriers.

 10/24/2021   JIS      PD       Email Malhar Pagay regarding litigation issues at          0.10      1195.00          $119.50
                                confirmation.

 10/24/2021   JIS      PD       Call J. Pomerantz and J. Lucas re response to local        0.40      1195.00          $478.00
                                council dashboard production issues.

 10/24/2021   JIS      PD       Call J. Lucas regarding website content for voting         0.40      1195.00          $478.00
                                issues.

 10/24/2021   JIS      PD       Call J. Amala regarding video response to Coalition        0.30      1195.00          $358.50
                                video on solicitation.

 10/24/2021   JIS      PD       Call J. Lucas regarding plan solicitation issues.          0.60      1195.00          $717.00

 10/24/2021   MSP      PD       Email with James I. Stang re: Local Council                0.20        875.00         $175.00
                                confidentiality issue.

 10/24/2021   MSP      PD       Work on Plan litigation strategy, logistics and            1.40        875.00        $1,225.00
                                discovery open items (1.3); email exchange with
                                Kenneth H. Brown , Gillian N. Brown, James E.
                                O'Neill, Steven W. Golden , et al. re: same (.1).

 10/24/2021   JSP      PD       Emails to M. Babcock and D. Judd regarding                 0.50        850.00         $425.00
                                responses to de-designation notice

 10/24/2021   JSP      PD       Emails to J. Stang/J. Lucas regarding non-objections       0.20        850.00         $170.00
                                by certain councils to de-designation notice

 10/24/2021   JSP      PD       Email in connection with de-designation responses          1.70        850.00        $1,445.00
                                and analysis of assertion made by same - W.
                                Carpenter (Three Rivers), C. Stanley (Northern
                                Lights), F. Cruse (Green Rivers), M. Kelly (Buffalo
                                Trail); M. Sine (Last Frontier Council)

 10/24/2021   JSP      PD       Call with J. Stang and J. Lucas regarding dashboard        0.40        850.00         $340.00
                                de-designation notice responses

 10/24/2021   JWL      PD       Review and respond to TCC members questions                1.60        825.00        $1,320.00
                                regarding plan solicitation issues (.2);call with J.
                                Stang re TCC website (.4); call with J. Stang and J.
                                Pomerantz re designation (.4); call with J. Stang
                                regarding plan solicitation issues (.6).
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 10/24/2021   SWG     PD        Continue tracking of discovery requests and               1.00        625.00          $625.00
                                responses re: confirmation

 10/24/2021   SWG     PD        Call with I.Nasatir and Schulman re: discovery and        1.00        625.00          $625.00
                                meet and confers (.8); email follow up same (.2)..

 10/25/2021   AJK     PD        Call with J Stang re litigation strategy.                 0.40      1145.00           $458.00

 10/25/2021   AJK     PD        Review e-mails re litigation issues.                      0.30      1145.00           $343.50

 10/25/2021   GFB     PD        Review and analyze documents to be produced in           14.30        825.00        $11,797.50
                                connection with plan and disclosure issues.

 10/25/2021   GNB     PD        Email with Beth E. Levine regarding search terms          0.10        795.00           $79.50
                                for PSZJ's ESI.

 10/25/2021   GNB     PD        Internal PSZJ plan litigation team call.                  0.80        795.00          $636.00

 10/25/2021   GNB     PD        Email with Sasha Gurvitz regarding discovery              0.10        795.00           $79.50
                                responses from state court counsel.

 10/25/2021   GNB     PD        Emails with Shelia Harding regarding status of PSZJ       0.30        795.00          $238.50
                                email collection, processing, and searching.

 10/25/2021   GNB     PD        Email with Michael A. Matteo regarding                    0.10        795.00           $79.50
                                information to import into instruction sheet for
                                attorneys conducting ESI review.

 10/25/2021   GNB     PD        Revise search terms for PSZJ’s ESI.                       0.10        795.00           $79.50

 10/25/2021   GNB     PD        Telephone conference with Bill Sullivan, counsel to       0.10        795.00           $79.50
                                KLS, regarding pending motion to quash.

 10/25/2021   GNB     PD        Email with PSZJ litigation team regarding document        0.20        795.00          $159.00
                                review.

 10/25/2021   GNB     PD        Email with PSZJ litigation team regarding search          0.20        795.00          $159.00
                                terms for PSZJ’s ESI.

 10/25/2021   GNB     PD        Telephone call with John W. Lucas regarding               0.20        795.00          $159.00
                                common interest privileges.

 10/25/2021   GNB     PD        Email with John Humphrey regarding ESI retrieval          0.70        795.00          $556.50
                                (.1); Review and respond to emails among John
                                Humphrey, John W. Lucas, and state court counsel
                                regarding same (.6).

 10/25/2021   GNB     PD        Email internal PSZJ team regarding search terms for       0.20        795.00          $159.00
                                PSZJ’s ESI.

 10/25/2021   GNB     PD        Email with Patricia J. Jeffries regarding Everlaw         0.30        795.00          $238.50
                                issues (.05); Email internal team regarding Everlaw
                                tags (.25).
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 10/25/2021   GNB     PD        Review final version of mediation notice to                0.10        795.00          $79.50
                                mediation parties; Email internal team regarding
                                mediation parties.

 10/25/2021   GNB     PD        Telephone conference with John W. Lucas regarding          0.20        795.00         $159.00
                                collection of TCC’s ESI.

 10/25/2021   GNB     PD        Telephone conference with Malhar S. Pagay                  0.40        795.00         $318.00
                                regarding litigation issues.

 10/25/2021   GNB     PD        Email document review team regarding kick-off call.        0.10        795.00          $79.50

 10/25/2021   GNB     PD        Prepare for tomorrow’s internal PSZJ telephone             0.10        795.00          $79.50
                                conference regarding discovery.

 10/25/2021   GNB     PD        Review emails from Shelia Harding regarding                0.10        795.00          $79.50
                                retrieval of texts from James I. Stang’s iphone.

 10/25/2021   GNB     PD        Email with KL Discovery regarding retrieval of             0.10        795.00          $79.50
                                Debra Grassgreen ESI.

 10/25/2021   GNB     PD        Email James K.T. Hunter regarding CBRE retrieval           0.10        795.00          $79.50
                                of ESI.

 10/25/2021   GNB     PD        Email with Matthew K. Babcock regarding expert             0.10        795.00          $79.50
                                report.

 10/25/2021   GNB     PD        Email KL Discovery regarding search terms after            0.10        795.00          $79.50
                                collection and processing of PSZJ’s ESI.

 10/25/2021   IAWN PD           Telephone conference w/ PSZJ litigation team re            0.80      1025.00          $820.00
                                discovery

 10/25/2021   IAWN PD           Draft narrative re mediation                               1.30      1025.00         $1,332.50

 10/25/2021   IAWN PD           Review AIG golden emails re meet and confer                0.10      1025.00          $102.50

 10/25/2021   IAWN PD           Review Golden email to Allianz re meet and confer          0.10      1025.00          $102.50

 10/25/2021   IAWN PD           Review Golden/Century emails re meet and confer            0.10      1025.00          $102.50

 10/25/2021   IAWN PD           Review McNally email re status                             0.10      1025.00          $102.50

 10/25/2021   IAWN PD           Review Pasich email re expert                              0.10      1025.00          $102.50

 10/25/2021   IAWN PD           Review email exchange re Allied call between Lucas         0.10      1025.00          $102.50
                                and Schulman

 10/25/2021   IAWN PD           Review mediation file and materials for narrative re       4.00      1025.00         $4,100.00
                                good faith mediation

 10/25/2021   IAWN PD           Review Golden summary of ORIC discovery in                 0.30      1025.00          $307.50
                                prep for meet and confer
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 10/25/2021   IAWN PD           Review Schulman additions re same                          0.10      1025.00          $102.50

 10/25/2021   IAWN PD           Review all mediation communications for potential          2.80      1025.00         $2,870.00
                                production.

 10/25/2021   JIS      PD       Email J. Lucas regarding issues related to plan and        0.10      1195.00          $119.50
                                disclosure statement

 10/25/2021   JIS      PD       Call with A. Kornfeld re plan litigation.                  0.40      1195.00          $478.00

 10/25/2021   JIS      PD       Call with BRG, K. Brown, J. Lucas re b&G expert            1.50      1195.00         $1,792.50
                                report.

 10/25/2021   JIS      PD       Call with K. Brown and J. Lucas and B&G                    1.00      1195.00         $1,195.00
                                regarding liquidating analysis.

 10/25/2021   JIS      PD       Call with K. Brown, J. Lucas and BRG re local              1.00      1195.00         $1,195.00
                                council review.

 10/25/2021   JIS      PD       PSZJ litigation team call regarding response to and        0.80      1195.00          $956.00
                                review of discovery.

 10/25/2021   JIS      PD       Call with BRG for review of plan confirmation              0.80      1195.00          $956.00
                                issues including local council dashboard
                                information.

 10/25/2021   JIS      PD       Call J. Pomerantz regarding responses to dashboard         0.20      1195.00          $239.00
                                confidentiality issues.

 10/25/2021   JKH      PD       PSZJ plan litigation Team conference call (.8);            1.30      1095.00         $1,423.50
                                Review Malhar S. Pagay email regarding comments
                                on hearing (.2); Telephone conference and email
                                Bauman regarding CBRE document search (.3)

 10/25/2021   KHB      PD       Confer with BRG and J. Stang/J. Lucas/M. Pagay re          3.90        995.00        $3,880.50
                                (1.0); PSZJ team call (.8); call with BRG and J.
                                Stang/John Lucas re expert report (1.5); work on
                                response to discovery requests (.8); consider search
                                terms re discovery responses and emails with PSZJ
                                team re same (.6)

 10/25/2021   MAM      PD       Organize summaries of responses to The Tort                0.90        395.00         $355.50
                                Committee's Request for Production of Documents.

 10/25/2021   MAM      PD       Organize responses to discovery in the virtual files       1.10        395.00         $434.50
                                and update tracking chart.

 10/25/2021   MAM      PD       Review discovery for Gillian N. Brown and update           4.90        395.00        $1,935.50
                                tracking chart with opposing counsel contact
                                information.

 10/25/2021   MSP      PD       Review motion re: BSA interests in Local Council           0.30        875.00         $262.50
                                assets (.2); email exchange with John W. Lucas,
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                                Kenneth H. Brown , et al. re: same (.10).
 10/25/2021   MSP     PD        Work on Plan litigation strategy, logistics and             0.50        875.00         $437.50
                                discovery open items (.4); email exchange with
                                Kenneth H. Brown , Gillian N. Brown, et al. re:
                                same (.1).

 10/25/2021   MSP     PD        Work on mediation privilege and meet and confers            1.10        875.00         $962.50
                                re: same (1.); email exchange with mediation
                                parties, James E. O'Neill, John W. Lucas, James I.
                                Stang, Kenneth H. Brown , M. Wasson et al. re:
                                same (.1).

 10/25/2021   MSP     PD        Work on discovery review parameters (1.7); email            1.80        875.00        $1,575.00
                                exchange with Gillian N. Brown, Miriam Manning,
                                et al. re: same (.1).

 10/25/2021   MSP     PD        Telephone call with Gillian N. Brown re: Plan               0.40        875.00         $350.00
                                discovery.

 10/25/2021   MSP     PD        Meeting with Kenneth H. Brown , John W. Lucas,              1.00        875.00         $875.00
                                M. Babcock, D. Judd re: Plan objection issues.

 10/25/2021   MSP     PD        Review and revise notice of waiver of mediation             0.50        875.00         $437.50
                                privilege.

 10/25/2021   JEO     PD        Review documents for plan discovery                         5.00        925.00        $4,625.00

 10/25/2021   BEL     PD        Emails with litigation team regarding document              0.50        825.00         $412.50
                                production issues.

 10/25/2021   BEL     PD        Analysis of responses to document requests.                 1.10        825.00         $907.50

 10/25/2021   BEL     PD        Zoom call with PSZJ litigation team regarding               0.80        825.00         $660.00
                                litigation issues.

 10/25/2021   BEL     PD        Emails with PSZJ litigation team regarding                  0.30        825.00         $247.50
                                document production issues.

 10/25/2021   BEL     PD        Analysis of discovery responses provided by other           2.20        825.00        $1,815.00
                                parties.

 10/25/2021   BEL     PD        Review plan discovery search terms.                         0.60        825.00         $495.00

 10/25/2021   BEL     PD        Email with Gillian N. Brown regarding search terms.         0.10        825.00          $82.50

 10/25/2021   BEL     PD        Emails with PSZJ team regarding document review             0.20        825.00         $165.00
                                protocol.

 10/25/2021   BEL     PD        Emails with Gillian N. Brown regarding document             0.20        825.00         $165.00
                                review issues.

 10/25/2021   JSP     PD        Prepare for (.5) and participate on call (.7) with M.       1.20        850.00        $1,020.00
                                Babcock, D. Judd and J. Stang regarding responses
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                                                                                           Hours            Rate       Amount
                                to de-designation notice
 10/25/2021   JSP     PD        Correspondence to and/or from counsel in                     1.70        850.00        $1,445.00
                                connection with responses to de-designation notice:
                                C. Mehaffey - MAC (.3), W. Carpenter - Three
                                Rivers (.1), J. Papada - Cradle of Liberty (.3); M.
                                Kelly - Buffalo Trial (.2), M. Sine - Last Frontier
                                (.1), F. Cruse - Great Rivers (.1), M. Williams -
                                Denver Area (.3), V. Vilaplana - San Diego Imperial
                                (.3),

 10/25/2021   JSP     PD        Review/revise report on de=designation responses             0.80        850.00         $680.00

 10/25/2021   VAN     PD        Research/analysis regarding plan confirmation                1.00      1050.00         $1,050.00
                                issues.

 10/25/2021   MPK     PD        Review and respond to emails from litigation team            2.20        795.00        $1,749.00
                                regarding document production (.7); attend call with
                                PSJZ team re status of discovery and case (.8);
                                review Disclosure Statement (.3); emails to litigation
                                team regarding depositions and discovery issues (.4)

 10/25/2021   JWL     PD        Attend call with J. Stang and K. Brown re BRG                7.50        825.00        $6,187.50
                                expert report (1.5); attend PSZJ plan litigation and
                                discovery call (.8); call with G. Brown regarding
                                privilege scope of parties (.2); call with S. Gurvitz
                                regarding discovery issues (.4); respond to inquiries
                                from survivors and counsel regarding voting and
                                plan issues (1.0); second call with BRG and J.
                                Stang/M. Pagay/K. Brown regarding liquidation
                                analysis (1.0); respond to questions from TCC
                                members and state court counsel regarding scope of
                                production of documents and communications (1.7);
                                another call with G. Brown regarding TCC
                                production of communications (.2); call with J.
                                Stang and K. Brown regarding litigation work
                                streams (.6).

 10/25/2021   SWG     PD        Draft and send meet and confer requests to                   0.30        625.00         $187.50
                                numerous insurers.

 10/25/2021   SWG     PD        Meet and confer with insurer.                                0.40        625.00         $250.00

 10/25/2021   SWG     PD        Prepare for Century/Chubb meet and confer.                   0.50        625.00         $312.50

 10/25/2021   SWG     PD        Prepare for ORIC meet and confer.                            0.50        625.00         $312.50

 10/25/2021   SWG     PD        Prepare for Hartford meet and confer.                        0.40        625.00         $250.00

 10/25/2021   SWG     PD        Participate in daily PSZJ discovery call.                    0.80        625.00         $500.00

 10/26/2021   AJK     PD        Analysis of materials re claims valuation.                   2.40      1145.00         $2,748.00
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 10/26/2021   AJK     PD        Attention to numerous plan discovery e-mails.               0.80      1145.00          $916.00

 10/26/2021   AJK     PD        PSZJ litigation team call re plan litigation and            0.90      1145.00         $1,030.50
                                discovery.

 10/26/2021   AJK     PD        Attention to plan litigation strategy and tactics.          2.60      1145.00         $2,977.00

 10/26/2021   AJK     PD        Review Disclosure Statement.                                1.40      1145.00         $1,603.00

 10/26/2021   DG      PD        Review plan discovery issues and received                   0.70      1095.00          $766.50

 10/26/2021   DG      PD        Review email from McNally re: comps                         0.30      1095.00          $328.50

 10/26/2021   GFB     PD        Review emails from Gillian Brown regarding                  0.20        825.00         $165.00
                                document review project and draft responses; review
                                emails from document review team regarding
                                project.

 10/26/2021   GNB     PD        Emails with Kenneth H. Brown regarding                      0.10        795.00          $79.50
                                mediation-related documents.

 10/26/2021   GNB     PD        Emails with PSZJ litigation team regarding                  0.50        795.00         $397.50
                                discovery.

 10/26/2021   GNB     PD        Email with Shelia Harding regarding status of PSZJ          0.30        795.00         $238.50
                                email processing and export to Everlaw.

 10/26/2021   GNB     PD        Revise Everlaw tags and email with PSZJ internal            0.10        795.00          $79.50
                                litigation team regarding same.

 10/26/2021   GNB     PD        Email with Patricia J. Jeffries regarding Everlaw           0.10        795.00          $79.50
                                setup.

 10/26/2021   GNB     PD        Review Debtors’ responses and objections to TCC             0.10        795.00          $79.50
                                document requests.

 10/26/2021   GNB     PD        Telephone conferences with John W. Lucas                    0.20        795.00         $159.00
                                regarding TCC’s ESI and related discovery issues.

 10/26/2021   GNB     PD        Telephone conference with PSZJ litigation team and          0.90        795.00         $715.50
                                Jeffrey L. Shulman regarding Plan-related discovery.

 10/26/2021   GNB     PD        Email with PSZJ document review team.                       0.30        795.00         $238.50

 10/26/2021   GNB     PD        Telephone conference with Michael A. Matteo                 0.20        795.00         $159.00
                                regarding litigation parties.

 10/26/2021   GNB     PD        Telephone conference with James K.T. Hunter                 0.10        795.00          $79.50
                                regarding ESI from CBRE and Rock Creek.

 10/26/2021   GNB     PD        Email with Sasha Gurvitz regarding litigation               0.20        795.00         $159.00
                                strategy.
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 10/26/2021   GNB     PD        Email with PSZJ IT Department regarding collection            0.10        795.00          $79.50
                                of ESI from James I. Stang’s iphone.

 10/26/2021   IAWN PD           Telephone conference w/ ORIC re discovery                     0.70      1025.00          $717.50

 10/26/2021   IAWN PD           Telephone conference w/ Liberty re discovery                  0.80      1025.00          $820.00

 10/26/2021   IAWN PD           Telephone conference meet & confer with Hartford              1.10      1025.00         $1,127.50

 10/26/2021   IAWN PD           Review Plevin O'Neill emails re service                       0.10      1025.00          $102.50

 10/26/2021   IAWN PD           Review McNally email re comps                                 0.20      1025.00          $205.00

 10/26/2021   IAWN PD           Review AIG/Golden emails re mediation and meet                0.10      1025.00          $102.50
                                and confer

 10/26/2021   IAWN PD           Exchange emails with Schulman Golden and FCR re               0.20      1025.00          $205.00
                                Allianz relief from stay motion and joinder

 10/26/2021   IAWN PD           Review and exchange emails with Golden, Century               0.20      1025.00          $205.00
                                & Chubb re meet and confer timing

 10/26/2021   IAWN PD           Review Stone/Golden email exchange re meet and                0.20      1025.00          $205.00
                                confer

 10/26/2021   IAWN PD           Review Levine summary of FCR responses to RFPs                0.20      1025.00          $205.00

 10/26/2021   IAWN PD           Review Golden emails with Liberty re meet and                 0.20      1025.00          $205.00
                                confer

 10/26/2021   IAWN PD           Review K Brown, Levine, Golden exchange re                    0.20      1025.00          $205.00
                                TCJC docs

 10/26/2021   IAWN PD           Telephone conference with PSZJ plan lit call re               0.90      1025.00          $922.50
                                discovery

 10/26/2021   JIS     PD        Review issues related to interim ballot report.               0.30      1195.00          $358.50

 10/26/2021   JKH     PD        Litigation Team conference call (.9); Telephone               1.20      1095.00         $1,314.00
                                conference with Peach regarding document review
                                by Rockcreek (.2); Telephone conference with
                                Gillian N. Brown regarding Rockcreek document
                                review status (.1).

 10/26/2021   KHB     PD        PSZJ call re discovery responses and litigation               4.70        995.00        $4,676.50
                                strategy (.9); work on discovery responses (1.2);
                                review claims data re plan objections (.4); emails
                                with Claro re claims valuation issues (.4); emails
                                with SCC re discovery issues (.4); emails from
                                various Mediation parties re preservation of
                                mediation privilege (.3); review deposition notices to
                                insurers (.3); analyze liquidation analysis and
                                grounds for objections (.8).
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 10/26/2021   MAM     PD        Organize responses to discovery in the virtual files        2.60        395.00        $1,027.00
                                and update tracking chart and complete contacts
                                tracking chart.

 10/26/2021   MAM     PD        Review docket for stipulation filed by Reciprocity.         0.20        395.00          $79.00

 10/26/2021   MAM     PD        Telephone call with Gillian N. Brown regarding              0.20        395.00          $79.00
                                litigation parties.

 10/26/2021   MAM     PD        Revise and forward contacts tracking chart for              2.40        395.00         $948.00
                                Gillian N. Brown.

 10/26/2021   MSP     PD        Work on Plan discovery; email exchange with                 2.80        875.00        $2,450.00
                                Gillian N. Brown, et al. re: same (.10).

 10/26/2021   MSP     PD        Internal PSZJ meeting re: Plan litigation.                  0.90        875.00         $787.50

 10/26/2021   MSP     PD        Email exchange with M. Wasson, John W. Lucas, et            0.50        875.00         $437.50
                                al. re: Meet and confer re: handling of mediation
                                privilege.

 10/26/2021   MSP     PD        Email exchange with John W. Lucas, et al. re:               0.10        875.00          $87.50
                                mediation privilege issues.

 10/26/2021   PJJ     PD        Upload documents to Everlaw.                                0.40        425.00         $170.00

 10/26/2021   JEO     PD        Review and finalize 27 Notices of Deposition for            8.00        925.00        $7,400.00
                                Insurers and coordinate filing and service of same

 10/26/2021   BEL     PD        Analysis of FCR and Ankura discovery responses.             1.10        825.00         $907.50

 10/26/2021   BEL     PD        PSZJ litigation call regarding plan litigation and          0.90        825.00         $742.50
                                discovery.

 10/26/2021   BEL     PD        Telephone conference with Steven W. Golden                  0.40        825.00         $330.00
                                regarding TCJC discovery responses.

 10/26/2021   BEL     PD        Emails with PSZJ litigation team regarding multiple         0.60        825.00         $495.00
                                litigation issues.

 10/26/2021   BEL     PD        Prepare for TCJC meet and confer.                           2.50        825.00        $2,062.50

 10/26/2021   JSP     PD        Prepare for and participate on meet and confer call         0.80        850.00         $680.00
                                with V. Vilaplana (San Diego Imperial Council)

 10/26/2021   JSP     PD        Prepare for and participate on meet and confer call         0.70        850.00         $595.00
                                with R. Opera (Orange County Council)

 10/26/2021   JSP     PD        Prepare for and participate on meet and confer call         0.80        850.00         $680.00
                                with M. Kelly (Buffalo Trail Council)

 10/26/2021   JSP     PD        Confer with M. Babcock regarding de-designation             0.40        850.00         $340.00
                                response issues
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 10/26/2021   JSP     PD        Confer with J. Stang and J. Shulman regarding meet           0.20        850.00         $170.00
                                and confer calls (de-designation)

 10/26/2021   JSP     PD        Correspondence to and/or from counsel regarding              2.50        850.00        $2,125.00
                                de-designation - M. Cooper (Midnight Sun), S.
                                Olsen (Crossroads of the West), S. Wiehle
                                (Longhorn), R. Weber (Longhouse), P. Boatman
                                (Connecticut River), M. Hesbach (Pee Dee), C. Hill
                                (Greater Niagara, Three Rivers, Leatherstocking), J.
                                Massouh (Golden Spread), W. Sugden (Atlanta), J.
                                Bernhardt (Sam Houston), G. Klausner (LABC), E.
                                Hern (North Florida), S. Kinsella (Northern Star), E.
                                Lindberg (Greenwich), L. Fieorenza (Greater St.
                                Louis & Prariebirds), T. Bartles (Hart of America),
                                J. Robertson (East Texas), C. Sandberg (Great
                                Southwest), J. Moe (Greater Los Angeles), G.
                                Dykeman (Greater Wyoming)

 10/26/2021   LAF     PD        Legal research re: plan confirmation issues.                 0.80        450.00         $360.00

 10/26/2021   VAN     PD        Research/analysis regarding plan confirmation                0.80      1050.00          $840.00
                                issues.

 10/26/2021   JWL     PD        Respond to inquiries from survivors and counsel              4.50        825.00        $3,712.50
                                regarding voting and plan issues (1.4); attend PSZJ
                                plan litigation and discovery call (.9); call with G.
                                Brown regarding TCC discovery responses (.2);
                                email to TCC chairs regarding production of TCC
                                member emails (.7); call with K. Brown regarding
                                TCC member discovery (.4); attend Coalition Town
                                Hall (.9).

 10/26/2021   SWG     PD        Prepare for Liberty Mutual meet and confer                   0.40        625.00         $250.00

 10/26/2021   SWG     PD        Participate in meet and confer with ORIC                     0.70        625.00         $437.50

 10/26/2021   SWG     PD        Participate in meet and confer with Liberty Mutual           0.80        625.00         $500.00

 10/26/2021   SWG     PD        Participate in daily litigation call with PSZJ team.         0.90        625.00         $562.50

 10/26/2021   SWG     PD        Participate in meet and confer with Hartford                 1.10        625.00         $687.50

 10/26/2021   SWG     PD        Call with B. Levine re: TCJC discovery.                      0.40        625.00         $250.00

 10/26/2021   TCF     PD        Review and analysis of plan litigation documents             4.20        875.00        $3,675.00
                                and issues.

 10/27/2021   AJK     PD        Detailed review of plan.                                     2.70      1145.00         $3,091.50

 10/27/2021   AJK     PD        Review of valuation materials.                               1.80      1145.00         $2,061.00

 10/27/2021   AJK     PD        Work on and outline plan litigation issues.                  1.70      1145.00         $1,946.50
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 10/27/2021   AJK     PD        PSZJ litigation team call re abuse claim valuation          1.00      1145.00         $1,145.00
                                issues.

 10/27/2021   GFB     PD        Participate on conference call with Gillian Brown           1.30        825.00        $1,072.50
                                and document review team regarding background
                                information, and project protocols for review of
                                documents and production thereof.

 10/27/2021   GNB     PD        Telephone conference with internal PSZJ litigation          1.00        795.00         $795.00
                                team regarding plan discovery issues.

 10/27/2021   GNB     PD        Emails with PSZJ litigation team regarding                  0.60        795.00         $477.00
                                discovery.

 10/27/2021   GNB     PD        Update ESI custodian status chart.                          0.10        795.00          $79.50

 10/27/2021   GNB     PD        Email with Matthew K. Babcock and Patricia J.               0.10        795.00          $79.50
                                Jeffries regarding transfer of BRG’s ESI to Everlaw.

 10/27/2021   GNB     PD        Email with Michael A. Matteo regarding additional           0.10        795.00          $79.50
                                information for master list of litigation parties.

 10/27/2021   GNB     PD        Revise chart of litigation strategy and assignments.        1.20        795.00         $954.00

 10/27/2021   GNB     PD        Email with KL Discovery regarding exporting of              0.10        795.00          $79.50
                                processed ESI and collection/processing of
                                remaining PSZJ ESI custodians.

 10/27/2021   GNB     PD        Prepare materials and draft instructions to PSZJ            0.80        795.00         $636.00
                                document review team.

 10/27/2021   GNB     PD        Email with Gina F. Brandt regarding document                0.20        795.00         $159.00
                                review instructions.

 10/27/2021   GNB     PD        Telephone conference with Malhar S. Pagay and               0.40        795.00         $318.00
                                Beth E. Levine regarding depositions and document
                                production meet and confers.

 10/27/2021   GNB     PD        Telephone conference with PSZJ document review              1.30        795.00        $1,033.50
                                team.

 10/27/2021   GNB     PD        Prepare ESI searches.                                       0.30        795.00         $238.50

 10/27/2021   IAWN PD           Prepare for Century confer                                  0.70      1025.00          $717.50

 10/27/2021   IAWN PD           Telephone conference w/ Century re discovery                1.00      1025.00         $1,025.00

 10/27/2021   IAWN PD           Telephone conference w/ TCJC re discovery                   1.00      1025.00         $1,025.00

 10/27/2021   IAWN PD           Telephone conference with Allianz re discovery              0.90      1025.00          $922.50

 10/27/2021   IAWN PD           Review McHenry email re policies                            0.10      1025.00          $102.50
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 10/27/2021   IAWN PD           Exchange emails with Levine and Lucas re analyses           0.20      1025.00          $205.00
                                done for false claims per TCJC production

 10/27/2021   IAWN PD           Review AIG Golden emails re meet and confer                 0.10      1025.00          $102.50

 10/27/2021   IAWN PD           Prep for Allianz meet and confer, reviewing Golden          0.30      1025.00          $307.50
                                annotations

 10/27/2021   IAWN PD           Review Martin declaration re conflict                       0.20      1025.00          $205.00

 10/27/2021   IAWN PD           Review Continental/Golden emails re timing for call         0.10      1025.00          $102.50

 10/27/2021   IAWN PD           Review and redistribute 30b6 notices to subfolder           0.20      1025.00          $205.00

 10/27/2021   IAWN PD           Exchange emails with Manning re propounding                 0.10      1025.00          $102.50
                                insurers meet and confer

 10/27/2021   IAWN PD           Review Mills/Applewhite stip                                0.20      1025.00          $205.00

 10/27/2021   IAWN PD           Exchange emails with Linder re same                         0.20      1025.00          $205.00

 10/27/2021   IAWN PD           Email with Golden re Century discovery.                     0.10      1025.00          $102.50

 10/27/2021   IAWN PD           Attend PSZJ lit telephone conference (partial)              0.70      1025.00          $717.50

 10/27/2021   JKH     PD        Litigation Team daily status, task Zoom call (1.0);         3.30      1095.00         $3,613.50
                                Zoom call regarding PBGC pension information
                                (.8); Document review team introductory conference
                                call (1.3); Emails from, Bauman (CBRE) regarding
                                document production parameters (.2).

 10/27/2021   KHB     PD        Emails from Mediation parties re preservation of            5.00        995.00        $4,975.00
                                privilege (.3); emails with TCC members and SCC
                                re discovery issues (.4); call with J. Lucas re same
                                (.3); work on email to SCC re discovery and
                                privilege issues (1.4); conference with J. Lucas re
                                same (.1); work on objection to liquidation analysis
                                (2.5).

 10/27/2021   MAM     PD        Revise and forward contacts tracking chart for              1.10        395.00         $434.50
                                Gillian N. Brown.

 10/27/2021   MAM     PD        Updates to contacts chart regarding participating           2.60        395.00        $1,027.00
                                parties list.

 10/27/2021   MAM     PD        Updates to virtual files and discovery chart                2.70        395.00        $1,066.50
                                regarding deposition notices.

 10/27/2021   MSP     PD        Telephone call with John W. Lucas re: Plan                  0.40        875.00         $350.00
                                litigation.

 10/27/2021   MSP     PD        Emails to James I. Stang re: Plan litigation.               0.20        875.00         $175.00
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 10/27/2021   MSP     PD        Telephone call with John W. Lucas and UCC                   0.50        875.00         $437.50
                                counsel et al. re: production.

 10/27/2021   MSP     PD        Attention to Plan discovery (1.2); email exchange           1.30        875.00        $1,137.50
                                with Gillian N. Brown, Beth E. Levine, et al. re:
                                same (.10).

 10/27/2021   MSP     PD        Meeting with Alan J. Kornfeld, Tavi C. Flanagan,            1.00        875.00         $875.00
                                John W. Lucas re: Abuse Claim valuation.

 10/27/2021   MSP     PD        Initial meeting with document review team.                  1.30        875.00        $1,137.50

 10/27/2021   MSP     PD        Meeting with Beth E. Levine and Gillian N. Brown            0.40        875.00         $350.00
                                re: financial advisor discovery and deposition
                                scheduling issues.

 10/27/2021   MSP     PD        Internal PSZJ meeting re: Plan litigation.                  1.00        875.00         $875.00

 10/27/2021   MSP     PD        Meeting with J. Spencer, T. Peach, et al. re:               0.80        875.00         $700.00
                                information requests re: pensions, PBGC claim.

 10/27/2021   MSP     PD        Email exchange with Linda Cantor, et al. re:                0.10        875.00          $87.50
                                additional potential experts.

 10/27/2021   MSP     PD        Email exchange with Alan J. Kornfeld, Tavi C.               0.10        875.00          $87.50
                                Flanagan re: Abuse Claim valuation.

 10/27/2021   PJJ     PD        Telephone conference with IT re PST file upload             0.20        425.00          $85.00
                                issues.

 10/27/2021   PJJ     PD        Attend to document production.                              1.30        425.00         $552.50

 10/27/2021   WLR     PD        Zoom conference with document review team re                1.30        795.00        $1,033.50
                                Plan discovery document review issues

 10/27/2021   WLR     PD        Review memo from Gillian Brown re document                  0.20        795.00         $159.00
                                review project

 10/27/2021   WLR     PD        Review 5th amended plan of reorganization and               0.70        795.00         $556.50
                                exhibits regarding background information for
                                document review project

 10/27/2021   WLR     PD        Review and analyze requests for production of               0.20        795.00         $159.00
                                documents summary re document review project

 10/27/2021   WLR     PD        Review and analyze potential plan objections re             1.70        795.00        $1,351.50
                                document review project

 10/27/2021   JEO     PD        Review Participating Parties Service List and email         0.80        925.00         $740.00
                                Debtors; counsel re changes needed

 10/27/2021   JEO     PD        Participate in call with PSZJ team re plan discovery        1.00        925.00         $925.00
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                                                                                          Hours            Rate       Amount

 10/27/2021   JEO     PD        Work on plan discovery                                      3.00        925.00        $2,775.00

 10/27/2021   BEL     PD        Zoom meeting with PSZJ litigation team regarding            1.00        825.00         $825.00
                                litigation issues.

 10/27/2021   BEL     PD        Meet and confer with counsel for TCJC.                      1.00        825.00         $825.00

 10/27/2021   BEL     PD        Confer with Malhar S. Pagay and Gillian N. Brown            0.40        825.00         $330.00
                                regarding deposition and discovery issues.

 10/27/2021   BEL     PD        Work on discovery plan.                                     1.10        825.00         $907.50

 10/27/2021   BEL     PD        Emails with litigation team regarding multiple              0.40        825.00         $330.00
                                discovery issues.

 10/27/2021   BEL     PD        Prepare for meet and confer with TCJC.                      2.40        825.00        $1,980.00

 10/27/2021   NLH     PD        All hands zoom call for document review/analysis            2.70        875.00        $2,362.50
                                (1.3); Review background information/documents
                                (1.4).

 10/27/2021   JSP     PD        Emails to J. Stang regarding meet and confer calls          0.20        850.00         $170.00
                                with local councils

 10/27/2021   JSP     PD        Prepare for and participate on meet and confer call         0.90        850.00         $765.00
                                with F. Cruse (Great Rivers Council)

 10/27/2021   JSP     PD        Correspondence to and/or from counsel for various           2.40        850.00        $2,040.00
                                Local Councils regarding meet and confer calls in
                                connection with de-designation request - E.
                                Lindberg (Greenwich)(.2), W. Barefoot (Pee Dee
                                Council)(.2), G. Klausner (Long Beach Council)(.1),
                                C. Sandberg (Great Southwest)(.2), C. Hill (Twin
                                Rivers, Leatherstocking, Greater Niagara)(.3), J.
                                Bernhardt (Sam Houston)(.2), M. Rasmussen
                                (CIrcule Ten)(.2), J. Robertson (East Texas)(.2), P.
                                Boatman (Connecticut Rivers)(.1), J. Massough
                                (Goldden Spread)(.1), J. Moe (Greater Los
                                Angeles)(.1), W. Carpenter (Three Rivers)(.2), S.
                                Wiehle (Longhorn Council)(.2), K. O'Shea
                                (Greenwich)(.1)

 10/27/2021   JSP     PD        Review correspondence from M. Babcock regarding             0.60        850.00         $510.00
                                local council dashboards

 10/27/2021   LAF     PD        Legal research re: plan confirmation issues.                0.50        450.00         $225.00

 10/27/2021   VAN     PD        Phone conference with PSZJ and Rock Creek teams             0.80      1050.00          $840.00
                                regarding plan confirmation issues.

 10/27/2021   MPK     PD        Review transcript of 10/25 hearing (.4); Call with          2.50        795.00        $1,987.50
                                PSZJ litigation team (partial) (.5); emails to PSZJ
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                                                                                              Hours            Rate       Amount
                                team regarding depositions and discovery (.3);
                                conference call with document review team (1.3)
 10/27/2021   JWL     PD        Call with J. Merson and P. Janci regarding                      5.80        825.00        $4,785.00
                                production of TCC member communications (.3);
                                respond to numerous inquiries from survivors and
                                counsel regarding plan and voting issues (1.5); call
                                with K. Brown re plan discovery (.3); attend PSZJ
                                plan litigation and discovery call (.3); attend call
                                with Rock Creek and PSZJ team regarding PBGC
                                claim (.8); call with M. Pagay re plan litigation (.4);
                                call with PSZJ team regarding abuse claim valuation
                                and litigation issues (1.0); review and revise letter to
                                TCC and state court counsel regarding production of
                                communications (1.2);

 10/27/2021   SWG     PD        Participate in meet and confer with Chubb and                   1.00        625.00         $625.00
                                Century

 10/27/2021   SWG     PD        Prepare for meet and confer with Allianz and FFIC               0.50        625.00         $312.50

 10/27/2021   SWG     PD        Meet and confer with FFIC and Allianz.                          0.90        625.00         $562.50

 10/27/2021   SWG     PD        Attend to deposition scheduling and workflows,                  1.00        625.00         $625.00
                                including creation of discovery calendar

 10/27/2021   SWG     PD        Participate in daily confirmation discovery call.               1.00        625.00         $625.00

 10/27/2021   SWG     PD        Attend to scheduling of meet and confers with                   0.40        625.00         $250.00
                                various insurers.

 10/27/2021   SWG     PD        Participate in call with PSZJ document review team.             1.30        625.00         $812.50

 10/27/2021   SWG     PD        Draft and send comprehensive email to TCC                       0.30        625.00         $187.50
                                litigation team re: status of meet and confers with
                                insurers and next steps

 10/27/2021   SWG     PD        Email with I. Nasitir re: insurance litigation matters          0.10        625.00          $62.50

 10/27/2021   TCF     PD        PSZJ team call regarding abuse claim valuation                  1.00        875.00         $875.00
                                issues.

 10/27/2021   TCF     PD        Review and analysis of plan and valuation issues                2.60        875.00        $2,275.00
                                and litigation matters.

 10/28/2021   AJK     PD        Attention to plan valuation litigation issues.                  2.80      1145.00         $3,206.00

 10/28/2021   AJK     PD        Further attention to plan valuation litigation strategy         2.20      1145.00         $2,519.00
                                issues.

 10/28/2021   GNB     PD        Email with Gina F. Brandt regarding document                    0.10        795.00          $79.50
                                review.
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 10/28/2021   GNB     PD        Email with PSZJ litigation team regarding                  0.50        795.00         $397.50
                                depositions and discovery issues.

 10/28/2021   GNB     PD        Telephone conference with Everlaw and Miriam               0.40        795.00         $318.00
                                Manning regarding ESI searches.

 10/28/2021   GNB     PD        Telephone conference with Cia H. Mackle regarding          0.40        795.00         $318.00
                                ESI searches.

 10/28/2021   GNB     PD        Review Debtors’ objections and responses to TCC’s          0.90        795.00         $715.50
                                document requests (.7 ); Prepare meet and confer
                                email (.2)

 10/28/2021   GNB     PD        Prepare ESI searches.                                      0.70        795.00         $556.50

 10/28/2021   GNB     PD        Telephone conference with internal PSZJ team               1.00        795.00         $795.00
                                regarding discovery and Plan confirmation strategy.

 10/28/2021   GNB     PD        Run ESI searches on Everlaw to narrow down                 0.80        795.00         $636.00
                                privilege and responsiveness review.

 10/28/2021   GNB     PD        Email with KL Discovery and Patricia J. Jeffries           0.10        795.00          $79.50
                                regarding data retrieval and processing.

 10/28/2021   GNB     PD        Email Marty Brimmage regarding TCC subpoena to             0.10        795.00          $79.50
                                Legal Conversion Center.

 10/28/2021   GNB     PD        Review letter from Mintz Cohen regarding                   0.10        795.00          $79.50
                                production of documents relating to the Trust
                                Distribution Procedures.

 10/28/2021   GNB     PD        Review Common Interest Agreement between TCC,              0.30        795.00         $238.50
                                Coalition, and FCR (.2); Summarize issues in email
                                for PSZJ litigation team (.1).

 10/28/2021   GNB     PD        Draft email to Debtors’ counsel at White & Case            0.10        795.00          $79.50
                                regarding manner of production of documents in
                                response to TCC’s document requests.

 10/28/2021   GNB     PD        Prepare for tomorrow’s internal PSZJ meeting.              0.10        795.00          $79.50

 10/28/2021   IAWN PD           Telephone conference w/ Le Chevalier re term sheet         0.10      1025.00          $102.50

 10/28/2021   IAWN PD           Review G Brown and Pagay emails re Conte                   0.10      1025.00          $102.50

 10/28/2021   IAWN PD           Office conference with Stang re term sheet                 0.30      1025.00          $307.50

 10/28/2021   IAWN PD           Telephone conference w/ TCJC re discovery                  1.00      1025.00         $1,025.00

 10/28/2021   IAWN PD           Telephone conference w/ AIG re discovery                   0.80      1025.00          $820.00

 10/28/2021   IAWN PD           Review Golden template re follow up to RPD                 0.10      1025.00          $102.50
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 10/28/2021   IAWN PD           Exchange emails with Golden re charters                       0.10      1025.00          $102.50

 10/28/2021   IAWN PD           Exchange emails with Levine re TCJC meet and                  0.10      1025.00          $102.50
                                confer

 10/28/2021   IAWN PD           Telephone conference w/ PSZJ lit team re plan                 1.00      1025.00         $1,025.00
                                discovery

 10/28/2021   IAWN PD           Telephone conference with Schiavoni re discovery.             0.30      1025.00          $307.50

 10/28/2021   JIS     PD        Call J. Lucas and S. Golden regarding document                0.40      1195.00          $478.00
                                production issues.

 10/28/2021   JKH     PD        Telephone call from Spencer regarding Rockcreek               1.40      1095.00         $1,533.00
                                document production question (.1); Litigation Team
                                daily conference call (1.0); Emails from, to Bauman,
                                Gillian N. Brown regarding CBRE appraisers'
                                contacts issues (.3)

 10/28/2021   KHB     PD        Call with J. Lucas re liquidation analysis and                6.10        995.00        $6,069.50
                                discovery issues (.2); analyze liquidation analysis
                                and consider grounds to attack (1.7); call with BRG
                                re liquidation analysis issues (2.2); consider expert
                                report issues and review authorities re same (.4);
                                review revised proposed plan findings and emails
                                from I. Nasatir same (.3); review proposed
                                deposition schedule and emails with PSZJ team re
                                same (.2); review motion to compel by Century
                                against claims aggregator (.6); analyze authorities re
                                attorney client privilege re TCC discovery responses
                                (.5).

 10/28/2021   MAM     PD        Locate and forward deposition notices to Jeffrey              0.20        395.00          $79.00
                                Schulman.

 10/28/2021   MSP     PD        Email with John W. Lucas re: Plan litigation.                 0.10        875.00          $87.50

 10/28/2021   MSP     PD        Telephone call with J. Conte re: sexual abuse                 0.30        875.00         $262.50
                                claims.

 10/28/2021   MSP     PD        Attention to mediation privilege issues (.1); email           0.20        875.00         $175.00
                                exchange with John W. Lucas et al. re: same (.1).

 10/28/2021   MSP     PD        Telephone conference with C. Moxley, E. Goodman,              0.50        875.00         $437.50
                                John W. Lucas re: privileges in response to
                                discovery; email exchange with C. Moxley re: same
                                (.10).

 10/28/2021   MSP     PD        Internal PSZJ meeting re: Plan litigation.                    1.00        875.00         $875.00

 10/28/2021   MSP     PD        Email exchange with Miriam Manning re: insurer                0.10        875.00          $87.50
                                meet and confer re: discovery.
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 10/28/2021   MSP     PD        Email exchange with John W. Lucas, Kenneth H.              0.10        875.00          $87.50
                                Brown , et al. re: potential experts re: Plan
                                confirmation.

 10/28/2021   MSP     PD        Email exchange with Beth E. Levine re: meet and            0.10        875.00          $87.50
                                confer re: debtor professional.

 10/28/2021   PJJ     PD        Upload documents to Everlaw; create review                 2.30        425.00         $977.50
                                batches.

 10/28/2021   JEO     PD        Review service details and proof of service for 27         4.00        925.00        $3,700.00
                                notices of deposition directed to insurers.

 10/28/2021   JEO     PD        Call with PSZJ team re plan discovery                      1.00        925.00         $925.00

 10/28/2021   JEO     PD        Continue working on and complete 27 deposition             2.50        925.00        $2,312.50
                                notices

 10/28/2021   BEL     PD        Zoom meeting with PSZJ litigation team regarding           1.00        825.00         $825.00
                                open issues.

 10/28/2021   BEL     PD        Prepare for and participate in meet and confer with        1.50        825.00        $1,237.50
                                TCJC.

 10/28/2021   BEL     PD        Multiple emails to PSZJ litigation team regarding          0.60        825.00         $495.00
                                discovery issues.

 10/28/2021   JSP     PD        Prepare for and participate on meet and confer call        0.80        850.00         $680.00
                                with M. Rasmussen and C. Black - CIrcle Ten
                                Council

 10/28/2021   JSP     PD        Correspondence to and/or from counsel regarding            3.20        850.00        $2,720.00
                                de-designation request - P. Boatman (Connecticut
                                Rivers), M. Williams (Denver), C. Hill (Greater
                                Niagara, Leatherstocking, Twin RIvers), W.
                                Carpenter (Three Rivers), C. Stanley (Northern
                                Lights), J. Moe (Greater Los Angeles), T. Bartels
                                (Heart of America), L. Fiorenza (Greater St.
                                Louis/Prarielands), G. Dykeman (Greater Wyoming
                                Long Peak), S. Kinsella (Northern Star), S. Wiehle
                                (Longhorn), H. Israel (Pathway to Adventure), M.
                                Kelly (Buffalo Trail), E. Hern (North Florida), M.
                                Hostina (Midnight Sun), G. Kalusner (Long Beach
                                Council),

 10/28/2021   MPK     PD        Call with PSZJ team re discovery and related               1.50        795.00        $1,192.50
                                matters (1); conference call with Gillian L and
                                Everlaw regarding advanced searches (.5)

 10/28/2021   JWL     PD        Call with J. Stang and S. Golden regarding TCC             5.80        825.00        $4,785.00
                                production issues (.4); call with K. Brown re
                                liquidation analysis (.2); call with S. Golden
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                                regarding survivor communications (.2); analyze
                                trust administration issues (1.3); call with Coalition
                                regarding production and mediation exclusions (.3);
                                respond to inquiries from survivors and counsel
                                regarding voting and plan (1.5); call with T.
                                Patterson regarding plan issues (.7); work on
                                discovery responses (1.2).
 10/28/2021   SWG     PD        Prepare for meet and confers with various insurers.           0.50        625.00         $312.50

 10/28/2021   SWG     PD        Call with J. Stang and J. Lucas re: TCC document              0.40        625.00         $250.00
                                production.

 10/28/2021   SWG     PD        Draft summary of outstanding production disputes              1.50        625.00         $937.50
                                with insurers.

 10/28/2021   SWG     PD        Meet and confer with CNA.                                     0.70        625.00         $437.50

 10/28/2021   SWG     PD        Meet and confer with Travelers.                               0.40        625.00         $250.00

 10/28/2021   SWG     PD        Participate in daily discovery call.                          1.00        625.00         $625.00

 10/28/2021   SWG     PD        Draft and send comprehensive email to PSZJ and                0.40        625.00         $250.00
                                Pasich teams re: urgent confirmation litigation
                                matters.

 10/28/2021   SWG     PD        Exchange emails with PSZJ team re: scheduling of              0.30        625.00         $187.50
                                and attendance at depositions

 10/28/2021   SWG     PD        Meet and confer with AIG.                                     0.70        625.00         $437.50

 10/28/2021   SWG     PD        Attend to narrowing of document requests directed             0.50        625.00         $312.50
                                at insurers.

 10/28/2021   TCF     PD        Review and analysis of valuation issues and plan              1.20        875.00        $1,050.00
                                litigation matters.

 10/28/2021   TCF     PD        Review and analysis of claim valuation issues.                1.40        875.00        $1,225.00

 10/29/2021   AJK     PD        Analysis of valuation issues.                                 3.80      1145.00         $4,351.00

 10/29/2021   AJK     PD        Call with Claro re valuation issues.                          2.20      1145.00         $2,519.00

 10/29/2021   GNB     PD        Email with James K.T. Hunter regarding CBRE's                 0.10        795.00          $79.50
                                ESI.

 10/29/2021   GNB     PD        Telephone conference with PSZJ internal team                  1.40        795.00        $1,113.00
                                regarding plan discovery.

 10/29/2021   GNB     PD        Email PSZJ document review team regarding                     0.10        795.00          $79.50
                                workflow.

 10/29/2021   GNB     PD        Email with PSZJ litigation team regarding                     0.70        795.00         $556.50
                                depositions and discovery issues.
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 10/29/2021   GNB     PD        Run searches and review ESI.                                4.50        795.00        $3,577.50

 10/29/2021   GNB     PD        Update materials for PSZJ document review team.             3.00        795.00        $2,385.00

 10/29/2021   GNB     PD        Update litigation tracking chart.                           0.10        795.00          $79.50

 10/29/2021   GNB     PD        Review incoming requests from parties regarding             0.10        795.00          $79.50
                                mediation privilege holdback in TCC’s document
                                production.

 10/29/2021   GNB     PD        Email with Shelia Harding regarding PSZJ’s ESI for          0.10        795.00          $79.50
                                import into Everlaw; Email with Patricia J. Jeffries
                                regarding Everlaw issues.

 10/29/2021   GNB     PD        Read John W. Lucas email to TCC regarding                   0.10        795.00          $79.50
                                discovery.

 10/29/2021   IAWN PD           Review debtor objection to Allianz RFS motion               0.50      1025.00          $512.50

 10/29/2021   IAWN PD           Review Coalition joinder                                    0.10      1025.00          $102.50

 10/29/2021   IAWN PD           Review Golden and Allianz emails re meet and                0.20      1025.00          $205.00
                                confer

 10/29/2021   IAWN PD           Review Golden/Schulman emails re same                       0.10      1025.00          $102.50

 10/29/2021   IAWN PD           Review and respond to Golden and Schulman emails            0.30      1025.00          $307.50
                                re Chubb and Century meet and confer

 10/29/2021   IAWN PD           Review McHenry/Schulman emails re policies                  0.20      1025.00          $205.00

 10/29/2021   IAWN PD           Review Pasich/Pagay emails re coverage expert               0.10      1025.00          $102.50

 10/29/2021   IAWN PD           Review Pasich email re continental discover                 0.20      1025.00          $205.00
                                responses

 10/29/2021   IAWN PD           Review Pasich summary of Allianz/FFIC discovery             0.50      1025.00          $512.50
                                responses

 10/29/2021   IAWN PD           Exchange emails and telephone calls with Lucas re           0.30      1025.00          $307.50
                                identification of charters

 10/29/2021   IAWN PD           Review and analyze poc lists                                0.80      1025.00          $820.00

 10/29/2021   IAWN PD           Review Golden and Manning emails re Hartford                0.10      1025.00          $102.50
                                rogs

 10/29/2021   IAWN PD           Exchange emails with Golden re review of Hartford           0.10      1025.00          $102.50
                                rogs

 10/29/2021   IAWN PD           Review Stang Golden email exchange re Hartford              0.10      1025.00          $102.50
                                rogs
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 10/29/2021   IAWN PD           Review Schulman/Golden emails re timing of                   0.10      1025.00          $102.50
                                Hartford meet and confer

 10/29/2021   IAWN PD           Review Hartford ROGs and RFAs                                1.60      1025.00         $1,640.00

 10/29/2021   IAWN PD           Draft email re Hartford ROGs and RFAs                        0.10      1025.00          $102.50

 10/29/2021   JIS     PD        Review draft email to Harford regarding discovery.           0.30      1195.00          $358.50

 10/29/2021   JKH     PD        Email with Gina F. Brandt regarding Rockcreek,               1.50      1095.00         $1,642.50
                                CBRE work product issue (.1); Litigation Team
                                daily conference call (1.4).

 10/29/2021   KHB     PD        PSZJ call re discovery responses (1.4); review and           5.20        995.00        $5,174.00
                                respond to emails from mediation parties re
                                preservation of privilege and consider responses to
                                same (.7); emails with G. Brown and M. Pagay re
                                discovery responses (.3); analyze TDP’s and impact
                                on liquidation analysis (2.2); work on Debtors’ Rule
                                30(b)(6) notice and topics (.4); email from M.
                                Manning re meet and confer with Propounding
                                Insurers (.2).

 10/29/2021   MAM     PD        Updates to virtual files and tracking chart regarding        2.30        395.00         $908.50
                                recently served and filed discovery.

 10/29/2021   MSP     PD        Attention to mediation privilege issues (.5); email          0.60        875.00         $525.00
                                exchange with Kenneth H. Brown , John W. Lucas,
                                Gillian N. Brown, J. O'Connor, et al. re: same (.10).

 10/29/2021   MSP     PD        Email with Alan J. Kornfeld re: potential expert             0.10        875.00          $87.50
                                testimony re: Plan confirmation litigation.

 10/29/2021   MSP     PD        Email with John W. Lucas re: Plan discovery.                 0.10        875.00          $87.50

 10/29/2021   MSP     PD        Meeting with Claro, Alan J. Kornfeld, et al. re:             1.80        875.00        $1,575.00
                                sexual abuse verdicts (partial participation).

 10/29/2021   MSP     PD        Attention to Plan litigation and discovery issues and        0.90        875.00         $787.50
                                logistics (.60); email exchange with John W. Lucas,
                                Alan J. Kornfeld, Ira D. Kharasch, Gail S.
                                Greenwood, Jason S. Pomerantz, et al. re: same
                                (.30).

 10/29/2021   MSP     PD        Internal PSZJ call re: Plan litigation.                      1.40        875.00        $1,225.00

 10/29/2021   MSP     PD        Email exchange with P. Janci, Beth E. Levine re:             0.10        875.00          $87.50
                                status of TCJC discovery.

 10/29/2021   PJJ     PD        Work on to document production.                              1.30        425.00         $552.50

 10/29/2021   PJJ     PD        Telephone conference with KLD regarding text                 0.30        425.00         $127.50
                                collection (.2); emails regarding same (.1).
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 10/29/2021   JEO     PD        Plan /Discovery document review                              4.00        925.00        $3,700.00

 10/29/2021   JEO     PD        Revisions to Notice of Deposition and Subpoena for           1.50        925.00        $1,387.50
                                Eric Green

 10/29/2021   BEL     PD        Zoom call with PSZJ litigation team regarding                1.40        825.00        $1,155.00
                                litigation and discovery issues.

 10/29/2021   BEL     PD        Draft email to TCJC regarding follow up to meet              1.80        825.00        $1,485.00
                                and confer.

 10/29/2021   BEL     PD        Draft meet and confer emails.                                0.50        825.00         $412.50

 10/29/2021   BEL     PD        Emails to Pachulski litigation team regarding                0.30        825.00         $247.50
                                discovery issues.

 10/29/2021   JSP     PD        Update tracking chart regarding de-designation               0.40        850.00         $340.00
                                issues

 10/29/2021   JSP     PD        Call with G. Greenwood regarding de-designation,             0.20        850.00         $170.00
                                including letter to the Court in connection with same

 10/29/2021   JSP     PD        Prepare for and participate on meet and confer call          0.90        850.00         $765.00
                                with C. Hill, R. Weber and R. McDonald regarding
                                de-designation issues (Twin Rivers,
                                Leatherstocking, Greater Niagara)

 10/29/2021   JSP     PD        Analysis regarding issues raised by various local            0.60        850.00         $510.00
                                councils in response to de-designation

 10/29/2021   JSP     PD        Confer with counsel for local councils regarding             0.70        850.00         $595.00
                                de-designation; S. Kinsella (Northern Star), C.
                                Stanley (Northern Lights), S. Olsen (Crossroads of
                                the West), S. Wiehle (Longhorn), J. Moe (Greater
                                Los Angeles), H. Israel (Pathway to America), M.
                                Hostina (Midnight Sun)

 10/29/2021   MPK     PD        Work on meet and confer responses to propounding             3.20        795.00        $2,544.00
                                insurers and emails to Beth L and Gillian B re same
                                (1.8); conference call with PSZJ team re discovery
                                and case matters (1.4)

 10/29/2021   GSG     PD        Call with J. Pomerantz re de-designation of                  0.20        825.00         $165.00
                                confidentiality and letter to the Court.

 10/29/2021   GSG     PD        Preliminary review of emails and information re              0.40        825.00         $330.00
                                confidentiality analysis.

 10/29/2021   JWL     PD        Respond to inquiries from survivors regarding                8.90        825.00        $7,342.50
                                voting and plan issues (2.8); attend town hall
                                meeting hosted by Zalkin/Amala regarding plan
                                issues (1.3); call with A. Goldfarb regarding plan
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                                                                                            Hours            Rate       Amount
                                issues (.4); attend PSZJ plan and litigation discovery
                                call (1.4); attend PSZJ and Claro call regarding
                                claim valuation (1.5) (partial); respond to discovery
                                questions for meet and confer prep for I. Nasatir
                                (1.3); review voting report and respond to restriction
                                issues (.2);
 10/29/2021   SWG     PD        Draft comprehensive response to Hartford meet and             0.80        625.00         $500.00
                                confer summary and position email.

 10/29/2021   SWG     PD        Call with insurance litigation team.                          0.50        625.00         $312.50

 10/29/2021   SWG     PD        Continue drafting and editing email responses to              1.90        625.00        $1,187.50
                                insurers following meet and confers.

 10/29/2021   SWG     PD        Participate in daily discovery call with PSZJ and             1.40        625.00         $875.00
                                Pasich teams.

 10/29/2021   TCF     PD        Conference call with Claro and PSZJ regarding                 2.20        875.00        $1,925.00
                                valuation and expert issues.

 10/29/2021   TCF     PD        PSZJ team conference call regarding plan litigation           1.00        875.00         $875.00
                                issues.

 10/30/2021   GNB     PD        Review documents for potential production.                    4.10        795.00        $3,259.50

 10/30/2021   GNB     PD        Telephonic conference (partial appearance) with               1.50        795.00        $1,192.50
                                PSZJ team and Jeffrey L. Schulman regarding
                                discovery and expert report.

 10/30/2021   GNB     PD        Email with PSZJ team regarding discovery issues.              0.20        795.00         $159.00

 10/30/2021   GNB     PD        Email with KLDiscovery regarding status of ESI                0.10        795.00          $79.50
                                processing.

 10/30/2021   IAWN PD           Review K Brown email re TCC position on privilege             0.10      1025.00          $102.50

 10/30/2021   IAWN PD           Review Schiavoni email re mediation privilege                 0.10      1025.00          $102.50

 10/30/2021   IAWN PD           Review Schulman, McHenry emails re policies and               0.20      1025.00          $205.00
                                assumptions

 10/30/2021   IAWN PD           Exchange emails with Golden re Hartford admin                 0.10      1025.00          $102.50
                                claim

 10/30/2021   IAWN PD           Exchange emails with Golden re verifications                  0.10      1025.00          $102.50

 10/30/2021   IAWN PD           Exchange emails with Golden re admin claim                    0.10      1025.00          $102.50

 10/30/2021   IAWN PD           Review Schulman Golden email exchange re                      0.10      1025.00          $102.50
                                Hartford refusal to answer

 10/30/2021   JIS     PD        Call with PSZJ/BRG regarding expert report.                   2.40      1195.00         $2,868.00
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                                                                                          Hours            Rate       Amount

 10/30/2021   JIS     PD        Call J. Lucas regarding document production issues.         0.30      1195.00          $358.50

 10/30/2021   JIS     PD        Call M. Andolina re sale of artwork and plan                0.10      1195.00          $119.50
                                solicitation issues.

 10/30/2021   JIS     PD        Call K. Brown re litigation management issues.              0.50      1195.00          $597.50

 10/30/2021   JKH     PD        Litigation Team daily call (2.4); Begin review              5.00      1095.00         $5,475.00
                                documents for production by Committee (2.6).

 10/30/2021   KHB     PD        Call with PSZJ and BRG re plan objection and                2.40        995.00        $2,388.00
                                discovery issues.

 10/30/2021   MSP     PD        Email with John W. Lucas re: Plan strategy.                 0.10        875.00          $87.50

 10/30/2021   MSP     PD        Email with Gillian N. Brown re: Plan discovery.             0.10        875.00          $87.50

 10/30/2021   MSP     PD        Attention to document review issues (.40); email            0.50        875.00         $437.50
                                exchange with Gillian N. Brown et al. re: same
                                (.10).

 10/30/2021   MSP     PD        PSZJ and BRG meeting re: Plan discovery and                 2.40        875.00        $2,100.00
                                objection issues.

 10/30/2021   MSP     PD        Email exchange with Alan J. Kornfeld, Tavi C.               0.10        875.00          $87.50
                                Flanagan re: discussion re: potential additional
                                expert.

 10/30/2021   WLR     PD        Review and analyze potential plan objections re             0.50        795.00         $397.50
                                document review project

 10/30/2021   WLR     PD        Review and analyze memo from Gillian Brown                  0.60        795.00         $477.00
                                regarding privilege treatment of email parties’
                                communication re document review project

 10/30/2021   WLR     PD        Review correspondence from Gillian Brown re                 0.20        795.00         $159.00
                                document review procedures re document review
                                project

 10/30/2021   WLR     PD        Correspondence to and from Gillian Brown re                 0.10        795.00          $79.50
                                scheduling re document review project

 10/30/2021   WLR     PD        Review electronically stored information relating to        4.20        795.00        $3,339.00
                                Plan confirmation

 10/30/2021   BEL     PD        Zoom call with PSZJ litigation team and BRG                 2.40        825.00        $1,980.00
                                regarding litigation issues.

 10/30/2021   BEL     PD        Emails with PSZJ attorneys regarding litigation             0.40        825.00         $330.00
                                issues.

 10/30/2021   NLH     PD        Review background information/documents.                    1.20        875.00        $1,050.00
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 10/30/2021   JSP     PD        Correspondence to and.or from counsel concerning               0.60        850.00         $510.00
                                de-designation - M. Hostina (Midnight Sun)(.1), T.
                                Bartles (Heart of America)(.1), H. Israel (Pathway to
                                Adventure)(.1), S. Olsen (Crossroads of the
                                West)(.1), C. Hill (Leatherstocking, Greater Niagara,
                                Twin RIvers)(.2)

 10/30/2021   MPK     PD        Conference call with PSZJ, BRG and insurance                   5.60        795.00        $4,452.00
                                advisors re discovery and related matters (2.4);
                                review discovery documents regarding common
                                interest, protected parties and mediation parties (3.2)

 10/30/2021   JWL     PD        Work on Hartford meet and confer info regarding                3.30        825.00        $2,722.50
                                chartered org. insurance policies (.9); attend PSZJ
                                litigation call regarding discovery issues, and part of
                                time with BRG regarding discovery (2.4);

 10/30/2021   SWG     PD        Review and comment on Hartford response to                     0.90        625.00         $562.50
                                30(b)(6) notice and send same to litigation/plan
                                teams.

 10/30/2021   SWG     PD        Annotate Class 8 Ballot for TCC website.                       0.60        625.00         $375.00

 10/30/2021   SWG     PD        Participate in comprehensive daily discovery call              2.20        625.00        $1,375.00
                                with BRG (partial)

 10/30/2021   TCF     PD        Review and analysis of valuation, plan litigation and          1.40        875.00        $1,225.00
                                expert issues.

 10/31/2021   DG      PD        Review analysis of issues from Rob Orgel re:                   0.30      1095.00          $328.50
                                chartered organization releases and settlement issues

 10/31/2021   GFB     PD        Call with Gillian Brown regarding document review              0.30        825.00         $247.50
                                project issues.

 10/31/2021   GNB     PD        Call with G. Brandt re document review.                        0.30        795.00         $238.50

 10/31/2021   GNB     PD        Review documents for potential production.                     7.20        795.00        $5,724.00

 10/31/2021   GNB     PD        Telephone conference with James E. O’Neill                     0.20        795.00         $159.00
                                regarding document review and related privilege
                                issues.

 10/31/2021   GNB     PD        Telephone conference with Steven W. Golden                     0.20        795.00         $159.00
                                regarding electronic discovery.

 10/31/2021   GNB     PD        Telephone conference with Beth E. Levine and                   0.40        795.00         $318.00
                                Miriam Manning regarding discovery meet and
                                confer issues.

 10/31/2021   GNB     PD        Telephone conference with PSZJ internal team                   1.10        795.00         $874.50
                                regarding discovery issues.
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 10/31/2021   GNB     PD        Telephone conference with Beth E. Levine regarding           0.20        795.00         $159.00
                                discovery.

 10/31/2021   GNB     PD        Telephone conference with Malhar S. Pagay                    0.10        795.00          $79.50
                                regarding discovery and document production.

 10/31/2021   IAWN PD           Exchange emails with G Brown re Tuchin common                0.10      1025.00          $102.50
                                interest

 10/31/2021   IAWN PD           Exchange emails with Manning, Levine re insurers'            0.20      1025.00          $205.00
                                meet and confer

 10/31/2021   IAWN PD           Exchange emails and telephone calls with G Brown             0.50      1025.00          $512.50
                                re Burns emails, scope of search

 10/31/2021   IAWN PD           Exchange emails with Brandt re Burns emails                  0.10      1025.00          $102.50

 10/31/2021   IAWN PD           Draft lengthy narrative re mediation bad faith               2.40      1025.00         $2,460.00

 10/31/2021   IAWN PD           Analyze and recalculate charter orgs from Lucas list,        2.80      1025.00         $2,870.00
                                and proofs of claim, etc.

 10/31/2021   JIS     PD        Call with PSZJ litigation group regarding expert             1.10      1195.00         $1,314.50
                                report and document production.

 10/31/2021   JIS     PD        Call J. Lucas and M. Pagay re document production            0.20      1195.00          $239.00
                                issue.

 10/31/2021   JKH     PD        PSZJ plan litigation Team daily call (1.1); Review of        7.40      1095.00         $8,103.00
                                documents for production by Committee (6.3).

 10/31/2021   KHB     PD        PSZJ team call re discovery responses and plan               1.80        995.00        $1,791.00
                                objection (1.1); review and respond to emails from
                                PSZJ re discovery responses and plan objections
                                (.7).

 10/31/2021   MSP     PD        Telephone call with Gillian N. Brown re: Plan                0.20        875.00         $175.00
                                discovery and document review.

 10/31/2021   MSP     PD        Telephone call with John W. Lucas re: Plan strategy          0.80        875.00         $700.00
                                and litigation (.6); email follow up re same (.6).

 10/31/2021   MSP     PD        Attention to Plan litigation and discovery issues and        0.80        875.00         $700.00
                                logistics (.70); email exchange with John W. Lucas,
                                Gillian N. Brown, James I. Stang, Steven W.
                                Golden , et al. re: same (.10).

 10/31/2021   MSP     PD        Review and analysis of Plan confirmation issue               0.80        875.00         $700.00
                                (.70); email exchange with Victoria A. Newmark re:
                                same (.10).

 10/31/2021   MSP     PD        Internal PSZJ meeting re: Plan litigation.                   1.10        875.00         $962.50
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 10/31/2021   WLR     PD        Review electronically stored information relating to        9.10        795.00        $7,234.50
                                Plan confirmation

 10/31/2021   JEO     PD        Review Everlaw document file                                1.00        925.00         $925.00

 10/31/2021   JEO     PD        Attend call with PSZJ team on plan discovery                1.10        925.00        $1,017.50

 10/31/2021   JEO     PD        Call with Gillian Brown re plan discovery/document          0.20        925.00         $185.00
                                review

 10/31/2021   BEL     PD        Telephone conference with Gillian N. Brown and M.           0.40        825.00         $330.00
                                Manning regarding discovery issues.

 10/31/2021   BEL     PD        Emails with PSZJ team regarding multiple litigation         0.60        825.00         $495.00
                                issues.

 10/31/2021   BEL     PD        Zoom meeting with PSZJ litigation team regarding            1.10        825.00         $907.50
                                litigation issues.

 10/31/2021   BEL     PD        Revise email to counsel for TCJC.                           0.50        825.00         $412.50

 10/31/2021   BEL     PD        Telephone conference with Gillian N. Brown                  0.20        825.00         $165.00
                                regarding discovery issues.

 10/31/2021   BEL     PD        Correspondence with counsel for other parties               0.30        825.00         $247.50
                                regarding meet and confer issues.

 10/31/2021   BEL     PD        Emails with litigation team regarding discovery             0.20        825.00         $165.00
                                issues.

 10/31/2021   NLH     PD        Review background information/documents.                    1.70        875.00        $1,487.50

 10/31/2021   NLH     PD        Telephone conference with G Brown re review of              0.40        875.00         $350.00
                                documents.

 10/31/2021   JSP     PD        Review correspondence in connection with                    0.60        850.00         $510.00
                                de-designation responses in preparation for meet and
                                confer calls regarding same

 10/31/2021   MPK     PD        Emails to PSZJ team regarding meet and confer               9.20        795.00        $7,314.00
                                issues (.2); further draft notes for meet and confer
                                with insurers (1.4); conference call with Beth L and
                                Gillian B regarding meet and confer issues (.4);
                                conference call with PSZJ team regarding discovery
                                and related issues (1.1); review documents in
                                preparation for meet and confer (1.9); emails with
                                various members of PSZJ team regarding discovery
                                responses to insurers (1.5); review PSZJ documents
                                for production (2.7)

 10/31/2021   GSG     PD        Review stipulation and order re de-designation of           0.40        825.00         $330.00
                                confidentiality.
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 10/31/2021   GSG     PD        Review Dashboard re contribution analysis and                 0.60        825.00         $495.00
                                confidentiality issues.

 10/31/2021   JWL     PD        Attend PSZJ plan litigation and discovery call (1.1);         1.70        825.00        $1,402.50
                                call with M. Pagay regarding TCC discovery issues
                                (.6);

 10/31/2021   SWG     PD        Participate in daily discovery call                           1.10        625.00         $687.50

 10/31/2021   SWG     PD        Call with G. Brown re: doc review                             0.20        625.00         $125.00

 10/31/2021   TCF     PD        Review and analysis of valuation and expert matters.          0.50        875.00         $437.50

                                                                                           1766.10                  $1,530,126.
                                                                                                                            00

  Ret. of Prof./Other
 10/04/2021   KKY     RPO       Draft (.1), file (.1), and prepare for filing (.1)            0.30        425.00         $127.50
                                certification of no objection re Claro retention order

 10/04/2021   KKY     RPO       Upload order (.1) and prepare for uploading same              0.20        425.00          $85.00
                                (.1) re Claro retention order

 10/05/2021   JEO     RPO       Review status of Claro Retention Application(.2);             0.40        925.00         $370.00
                                Email to court re filing of CNO on Claro
                                Retention(.1); Email to Claro to confirm filing of
                                CNO (.1)

                                                                                              0.90                       $582.50

  Stay Litigation [B140]
 10/24/2021   JWL     SL        Review BSA motion regarding local counsel stay                0.70        825.00         $577.50
                                relief for contributions (.5); email to J. Stang
                                regarding same (.2);

 10/28/2021   KHB     SL        Review debtors opposition to insurers motion for              0.30        995.00         $298.50
                                relief from stay.

                                                                                              1.00                       $876.00

  TOTAL SERVICES FOR THIS MATTER:                                                                               $1,927,818.75
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 Expenses
 10/01/2021   RE        ( 2 @0.10 PER PG)                                              0.20
 10/01/2021   RE        ( 16 @0.10 PER PG)                                             1.60
 10/01/2021   RE        ( 2 @0.10 PER PG)                                              0.20
 10/01/2021   RE        ( 1 @0.10 PER PG)                                              0.10
 10/01/2021   RE        ( 1 @0.10 PER PG)                                              0.10
 10/01/2021   RE        ( 4 @0.10 PER PG)                                              0.40
 10/01/2021   RE        ( 1 @0.10 PER PG)                                              0.10
 10/01/2021   RE        ( 88 @0.10 PER PG)                                             8.80
 10/01/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                    0.90
 10/01/2021   RE2       SCAN/COPY ( 441 @0.10 PER PG)                                 44.10
 10/01/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                    0.10
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 10/01/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                   2.70
 10/01/2021   RE2       SCAN/COPY ( 52 @0.10 PER PG)                                   5.20
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 10/01/2021   RE2       SCAN/COPY ( 55 @0.10 PER PG)                                   5.50
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 10/01/2021   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                   3.00
 10/01/2021   RE2       SCAN/COPY ( 632 @0.10 PER PG)                                 63.20
 10/01/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                   1.70
 10/01/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                    0.30
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 10/01/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                   2.60
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 10/01/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                    0.30
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
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 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 10/01/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                         1.60
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 10/01/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                          0.40
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 10/01/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                         1.30
 10/01/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 10/01/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                         1.10
 10/01/2021   RE2       SCAN/COPY ( 73 @0.10 PER PG)                                         7.30
 10/01/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 10/01/2021   RE2       SCAN/COPY ( 592 @0.10 PER PG)                                       59.20
 10/01/2021   RE2       SCAN/COPY ( 118 @0.10 PER PG)                                       11.80
 10/01/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                         2.40
 10/01/2021   RE2       SCAN/COPY ( 106 @0.10 PER PG)                                       10.60
 10/01/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                         2.40
 10/01/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                          0.40
 10/01/2021   RE2       SCAN/COPY ( 312 @0.10 PER PG)                                       31.20
 10/01/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                         2.30
 10/01/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
 10/01/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
 10/01/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
 10/01/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 10/01/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                         1.10
 10/01/2021   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                         4.60
 10/01/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 10/02/2021   AT        Auto Travel Expense [E109]KLS Worldwide Transportation             424.99
                        Services, Inv.3002024, From LAX to Residence, IAWN
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 10/02/2021   AT        Auto Travel Expense [E109] Uber Transportation Services,                47.23
                        IAWN
 10/02/2021   AT        Auto Travel Expense [E109] Uber Transportation Service,                115.44
                        JWL
 10/02/2021   AT        Auto Travel Expense [E109] Uber Transportation Service,                 97.93
                        JWL
 10/02/2021   HT        Hotel Expense [E110] Lotte NY Palace, 09/29/21 - 10/02/21,           1,493.34
                        3 nights, IAWN
 10/02/2021   LN        85353.00002 Lexis Charges for 10-02-21                                  19.69
 10/03/2021   LN        85353.00002 Lexis Charges for 10-03-21                                  20.52
 10/03/2021   LN        85353.00002 Lexis Charges for 10-03-21                                   9.85
 10/03/2021   OS        ZOOM, Inv. INV110847870 - conference call - JIS                      3,537.05
 10/04/2021   FE        85353.00002 FedEx Charges for 10-04-21                                  10.96
 10/04/2021   FE        85353.00002 FedEx Charges for 10-04-21                                  21.92
 10/04/2021   FE        85353.00002 FedEx Charges for 10-04-21                                  18.51
 10/04/2021   FE        85353.00002 FedEx Charges for 10-04-21                                  10.96
 10/04/2021   FE        85353.00002 FedEx Charges for 10-04-21                                  10.96
 10/04/2021   PO        85353.00002 :Postage Charges for 10-04-21                               10.80
 10/04/2021   PO        85353.00002 :Postage Charges for 10-04-21                               16.30
 10/04/2021   PO        85353.00002 :Postage Charges for 10-04-21                               14.00
 10/04/2021   RE        ( 1 @0.10 PER PG)                                                        0.10
 10/04/2021   RE        ( 2 @0.10 PER PG)                                                        0.20
 10/04/2021   RE        ( 16 @0.10 PER PG)                                                       1.60
 10/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                              0.20
 10/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                              0.20
 10/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                              0.20
 10/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                              0.20
 10/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                              0.20
 10/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                              0.20
 10/04/2021   RE2       SCAN/COPY ( 789 @0.10 PER PG)                                           78.90
 10/04/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                             1.60
 10/04/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                             1.40
 10/04/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                              0.10
 10/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                              0.20
 10/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                              0.20
 10/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                              0.20
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 10/04/2021   RE2       SCAN/COPY ( 79 @0.10 PER PG)                                            7.90
 10/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/04/2021   RE2       SCAN/COPY ( 108 @0.10 PER PG)                                          10.80
 10/04/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                            2.30
 10/04/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                            1.80
 10/04/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                            2.40
 10/04/2021   RE2       SCAN/COPY ( 634 @0.10 PER PG)                                          63.40
 10/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/04/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                             0.30
 10/04/2021   RE2       SCAN/COPY ( 54 @0.10 PER PG)                                            5.40
 10/04/2021   RE2       SCAN/COPY ( 413 @0.10 PER PG)                                          41.30
 10/04/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/04/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                             0.10
 10/04/2021   RE2       SCAN/COPY ( 413 @0.10 PER PG)                                          41.30
 10/04/2021   RE2       SCAN/COPY ( 481 @0.10 PER PG)                                          48.10
 10/04/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                            1.50
 10/04/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                            1.50
 10/04/2021   RE2       SCAN/COPY ( 447 @0.10 PER PG)                                          44.70
 10/05/2021   LN        85353.00002 Lexis Charges for 10-05-21                                 10.27
 10/05/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                            1.80
 10/05/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                            1.30
 10/05/2021   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                            3.50
 10/05/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                            1.60
 10/05/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                            1.40
 10/05/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                            1.20
 10/05/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                            1.90
 10/05/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                            1.80
 10/06/2021   AT        Auto Travel Expense [E109] Elite Transportation Services,              91.13
                        Inv.1835524, BEL
 10/06/2021   FE        85353.00002 FedEx Charges for 10-06-21                                 42.20
 10/06/2021   RE2       SCAN/COPY ( 438 @0.10 PER PG)                                          43.80
 10/06/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/06/2021   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                            3.00
 10/06/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                            2.00
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 10/06/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                       1.40
 10/06/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                       1.10
 10/06/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                       2.60
 10/07/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                       1.50
 10/07/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                       2.40
 10/07/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                       1.50
 10/07/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                       1.20
 10/07/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                       1.20
 10/07/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                       2.00
 10/08/2021   AS        Attorney Service [E107] Nationwide Legal, Inv.                 3,761.00
                        00000035869, Multiple Deliveries, JEO
 10/08/2021   AS        Attorney Service [E107] Nationwide Legal, Inv.                   178.25
                        00000035869, Delivery to Woodland Hills, JEO
 10/08/2021   RE        ( 606 @0.10 PER PG)                                               60.60
 10/08/2021   RE        ( 3 @0.10 PER PG)                                                  0.30
 10/08/2021   RE        ( 2 @0.10 PER PG)                                                  0.20
 10/08/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                       1.10
 10/08/2021   RE2       SCAN/COPY ( 47 @0.10 PER PG)                                       4.70
 10/08/2021   RE2       SCAN/COPY ( 40 @0.10 PER PG)                                       4.00
 10/08/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                        0.20
 10/08/2021   RE2       SCAN/COPY ( 34 @0.10 PER PG)                                       3.40
 10/08/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                       2.60
 10/08/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                       4.20
 10/08/2021   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                       3.90
 10/08/2021   RE2       SCAN/COPY ( 200 @0.10 PER PG)                                     20.00
 10/08/2021   RE2       SCAN/COPY ( 195 @0.10 PER PG)                                     19.50
 10/08/2021   RE2       SCAN/COPY ( 235 @0.10 PER PG)                                     23.50
 10/08/2021   RE2       SCAN/COPY ( 170 @0.10 PER PG)                                     17.00
 10/08/2021   RE2       SCAN/COPY ( 210 @0.10 PER PG)                                     21.00
 10/09/2021   LN        85353.00002 Lexis Charges for 10-09-21                            29.68
 10/10/2021   LN        85353.00002 Lexis Charges for 10-10-21                            20.52
 10/10/2021   LN        85353.00002 Lexis Charges for 10-10-21                             9.85
 10/11/2021   LN        85353.00002 Lexis Charges for 10-11-21                            69.25
 10/11/2021   RE2       SCAN/COPY ( 70 @0.10 PER PG)                                       7.00
 10/11/2021   RE2       SCAN/COPY ( 86 @0.10 PER PG)                                       8.60
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 10/11/2021   RE2       SCAN/COPY ( 79 @0.10 PER PG)                                      7.90
 10/11/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                      2.30
 10/11/2021   RE2       SCAN/COPY ( 96 @0.10 PER PG)                                      9.60
 10/11/2021   RE2       SCAN/COPY ( 115 @0.10 PER PG)                                    11.50
 10/11/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                      1.10
 10/11/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                      1.10
 10/11/2021   RE2       SCAN/COPY ( 82 @0.10 PER PG)                                      8.20
 10/11/2021   RE2       SCAN/COPY ( 80 @0.10 PER PG)                                      8.00
 10/11/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10
 10/11/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                       0.30
 10/11/2021   RE2       SCAN/COPY ( 61 @0.10 PER PG)                                      6.10
 10/11/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                      2.30
 10/11/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/11/2021   RE2       SCAN/COPY ( 553 @0.10 PER PG)                                    55.30
 10/11/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                      1.40
 10/11/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                      1.50
 10/11/2021   RE2       SCAN/COPY ( 48 @0.10 PER PG)                                      4.80
 10/11/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                      1.10
 10/11/2021   RE2       SCAN/COPY ( 126 @0.10 PER PG)                                    12.60
 10/11/2021   RE2       SCAN/COPY ( 77 @0.10 PER PG)                                      7.70
 10/11/2021   RE2       SCAN/COPY ( 78 @0.10 PER PG)                                      7.80
 10/11/2021   RE2       SCAN/COPY ( 93 @0.10 PER PG)                                      9.30
 10/11/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                      2.00
 10/11/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                      1.20
 10/11/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                      1.40
 10/11/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                      2.10
 10/11/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                      1.60
 10/11/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                      1.50
 10/11/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                      1.10
 10/11/2021   TR        Transcript [E116] Reliable, Inv. WL101798, KKY                  480.00
 10/12/2021   CC        Conference Call [E105] AT&T Conference Call, IAWN                 6.90
 10/12/2021   RE        ( 1 @0.10 PER PG)                                                 0.10
 10/12/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                      1.60
 10/12/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
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 10/12/2021   RE2       SCAN/COPY ( 54 @0.10 PER PG)                                            5.40
 10/12/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/12/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                            1.30
 10/12/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/12/2021   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                            2.50
 10/12/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/12/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                            1.30
 10/12/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                             0.30
 10/12/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                            3.60
 10/12/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/12/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                            1.20
 10/13/2021   AT        Auto Travel Expense [E109] Elite Transportation Services,              91.13
                        Inv.1836021, S. Winns
 10/13/2021   LN        85353.00002 Lexis Charges for 10-13-21                                 66.03
 10/13/2021   LN        85353.00002 Lexis Charges for 10-13-21                                  5.91
 10/13/2021   RE2       SCAN/COPY ( 136 @0.10 PER PG)                                          13.60
 10/13/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                            1.30
 10/13/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                            1.60
 10/13/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                            1.30
 10/13/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                            1.60
 10/13/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                            1.70
 10/13/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                            1.60
 10/14/2021   FF        Filing Fee [E112]USBC District of Delaware, LDJ                        75.00
 10/14/2021   LN        85353.00002 Lexis Charges for 10-14-21                                 20.52
 10/14/2021   LN        85353.00002 Lexis Charges for 10-14-21                                  9.85
 10/14/2021   LN        85353.00002 Lexis Charges for 10-14-21                                 24.73
 10/14/2021   PO        Postage                                                                26.27
 10/14/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                            2.60
 10/14/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                            2.60
 10/14/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                            2.70
 10/14/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                            2.60
 10/14/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                            2.60
 10/14/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                            2.70
 10/14/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                            2.80
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 10/14/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                     2.60
 10/14/2021   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                     3.00
 10/14/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                     2.70
 10/14/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                     1.50
 10/14/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                     2.60
 10/14/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                     2.80
 10/14/2021   RE2       SCAN/COPY ( 33 @0.10 PER PG)                                     3.30
 10/14/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                     2.80
 10/14/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                     2.60
 10/14/2021   RE2       SCAN/COPY ( 33 @0.10 PER PG)                                     3.30
 10/14/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                     2.40
 10/14/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                     1.20
 10/14/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                      0.60
 10/14/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                      0.10
 10/14/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                     1.20
 10/14/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                     1.30
 10/14/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                     1.40
 10/14/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                     3.60
 10/14/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                      0.60
 10/14/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                      0.10
 10/14/2021   RE2       SCAN/COPY ( 72 @0.10 PER PG)                                     7.20
 10/14/2021   RE2       SCAN/COPY ( 98 @0.10 PER PG)                                     9.80
 10/14/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                      0.60
 10/14/2021   RE2       SCAN/COPY ( 64 @0.10 PER PG)                                     6.40
 10/14/2021   RE2       SCAN/COPY ( 64 @0.10 PER PG)                                     6.40
 10/14/2021   RE2       SCAN/COPY ( 72 @0.10 PER PG)                                     7.20
 10/15/2021   CC        Conference Call [E105] AT&T Conference Call, BEL                 0.26
 10/15/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                     2.40
 10/15/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                     2.40
 10/15/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                     2.40
 10/15/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                     2.40
 10/15/2021   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                     3.70
 10/15/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                      0.70
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20
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 10/15/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 10/15/2021   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                3.90
 10/15/2021   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                3.50
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 10/15/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                 0.40
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                2.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                2.40
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                2.80
 10/15/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                 0.70
 10/15/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                 0.80
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                1.70
 10/15/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                2.30
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/15/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 10/15/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 10/15/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                 0.70
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
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 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/15/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10
 10/15/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                      2.40
 10/15/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                      1.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/15/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                       0.40
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/15/2021   RE2       SCAN/COPY ( 41 @0.10 PER PG)                                      4.10
 10/15/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                      1.00
 10/15/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                       0.40
 10/15/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                       0.50
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/15/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10
 10/15/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/15/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                      1.60
 10/18/2021   CC        Conference Call [E105] AT&T Conference Call, IAWN                 3.75
 10/18/2021   LN        85353.00002 Lexis Charges for 10-18-21                           77.04
 10/18/2021   LN        85353.00002 Lexis Charges for 10-18-21                            5.91
 10/18/2021   RE        ( 1 @0.10 PER PG)                                                 0.10
 10/18/2021   RE        ( 5 @0.10 PER PG)                                                 0.50
 10/18/2021   RE2       SCAN/COPY ( 2378 @0.10 PER PG)                                  237.80
 10/18/2021   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                      2.90
 10/18/2021   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                      2.50
 10/18/2021   RE2       SCAN/COPY ( 3312 @0.10 PER PG)                                  331.20
 10/18/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                      1.20
 10/18/2021   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                      3.70
 10/18/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                      2.70
 10/18/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                      1.70
 10/18/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                      2.40
 10/18/2021   RE2       SCAN/COPY ( 414 @0.10 PER PG)                                    41.40
 10/18/2021   RE2       SCAN/COPY ( 200 @0.10 PER PG)                                    20.00
 10/18/2021   RE2       SCAN/COPY ( 216 @0.10 PER PG)                                    21.60
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 10/18/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/19/2021   AT        Auto Travel Expense [E109] Elite Transportation Services,              94.49
                        Inv. 1836534, from PSZJ NY to Residence, BEL
 10/19/2021   LN        85353.00002 Lexis Charges for 10-19-21                                110.05
 10/19/2021   LN        85353.00002 Lexis Charges for 10-19-21                                 11.78
 10/19/2021   LN        85353.00002 Lexis Charges for 10-19-21                                  9.85
 10/19/2021   PO        Postage                                                                 3.52
 10/19/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                             0.40
 10/19/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                            1.50
 10/19/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                             0.10
 10/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/19/2021   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                            3.00
 10/19/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                             0.40
 10/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/19/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                             0.10
 10/19/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                            1.60
 10/19/2021   RE2       SCAN/COPY ( 874 @0.10 PER PG)                                          87.40
 10/19/2021   RE2       SCAN/COPY ( 100 @0.10 PER PG)                                          10.00
 10/19/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                            1.10
 10/19/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                            1.60
 10/19/2021   RE2       SCAN/COPY ( 96 @0.10 PER PG)                                            9.60
 10/20/2021   LN        85353.00002 Lexis Charges for 10-20-21                                 98.93
 10/20/2021   RE2       SCAN/COPY ( 874 @0.10 PER PG)                                          87.40
 10/20/2021   RE2       SCAN/COPY ( 279 @0.10 PER PG)                                          27.90
 10/20/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                             0.30
 10/20/2021   RE2       SCAN/COPY ( 38 @0.10 PER PG)                                            3.80
 10/20/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                            3.20
 10/20/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/20/2021   RE2       SCAN/COPY ( 131 @0.10 PER PG)                                          13.10
 10/20/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                            1.00
 10/20/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                            2.40
 10/20/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                            2.20
 10/20/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                             0.50
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 10/20/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                      1.10
 10/20/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                      1.70
 10/20/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                      2.30
 10/21/2021   LN        85353.00002 Lexis Charges for 10-21-21                           10.27
 10/21/2021   LN        85353.00002 Lexis Charges for 10-21-21                          112.79
 10/21/2021   LN        85353.00002 Lexis Charges for 10-21-21                           16.49
 10/21/2021   LN        85353.00002 Lexis Charges for 10-21-21                           29.52
 10/21/2021   PO        Postage [E108] Postage                                          355.24
 10/21/2021   RE2       SCAN/COPY ( 140 @0.10 PER PG)                                    14.00
 10/22/2021   LN        85353.00002 Lexis Charges for 10-22-21                          215.32
 10/22/2021   LN        85353.00002 Lexis Charges for 10-22-21                           72.52
 10/22/2021   LN        85353.00002 Lexis Charges for 10-22-21                           76.92
 10/22/2021   LN        85353.00002 Lexis Charges for 10-22-21                           29.55
 10/22/2021   LN        85353.00002 Lexis Charges for 10-22-21                           11.00
 10/22/2021   RE        Reproduction Expense. [E101]                                      2.10
 10/22/2021   RE2       SCAN/COPY ( 115 @0.10 PER PG)                                    11.50
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10
 10/22/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                       0.80
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                       0.40
 10/22/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10
 10/22/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                      1.40
 10/22/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                      1.40
 10/22/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                      1.40
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
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 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                       0.30
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 115 @0.10 PER PG)                                    11.50
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                      1.40
 10/22/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                      1.50
 10/22/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                      1.50
 10/22/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                      1.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                      1.20
 10/22/2021   RE2       SCAN/COPY ( 118 @0.10 PER PG)                                    11.80
 10/22/2021   RE2       SCAN/COPY ( 238 @0.10 PER PG)                                    23.80
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                      1.40
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/22/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                       0.80
 10/22/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/23/2021   LN        85353.00002 Lexis Charges for 10-23-21                           51.28
 10/23/2021   LN        85353.00002 Lexis Charges for 10-23-21                           27.49
 10/23/2021   LN        85353.00002 Lexis Charges for 10-23-21                            9.85
 10/24/2021   LN        85353.00002 Lexis Charges for 10-24-21                           10.27
 10/24/2021   LN        85353.00002 Lexis Charges for 10-24-21                           32.97
 10/24/2021   LN        85353.00002 Lexis Charges for 10-24-21                           54.93
 10/25/2021   LN        85353.00002 Lexis Charges for 10-25-21                           51.28
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
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 10/25/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 10/25/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                 1.70
 10/25/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                 4.20
 10/25/2021   RE2       SCAN/COPY ( 120 @0.10 PER PG)                               12.00
 10/25/2021   RE2       SCAN/COPY ( 78 @0.10 PER PG)                                 7.80
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                  0.40
 10/25/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                  0.40
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                  0.10
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                  0.10
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                  0.80
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                  0.80
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                  0.30
 10/25/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                  0.40
 10/25/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                  0.40
 10/25/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                  0.40
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 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                 0.50
 10/25/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                 0.90
 10/25/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                2.70
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 56 @0.10 PER PG)                                5.60
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 10/25/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                1.00
 10/25/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 10/25/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                1.70
 10/25/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                 0.40
 10/25/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                 0.40
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/25/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                2.00
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 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/25/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                      1.20
 10/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                       0.30
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                       0.30
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/25/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/25/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                      1.20
 10/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                       0.30
 10/25/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                       0.30
 10/25/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/25/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10
 10/26/2021   LN        85353.00002 Lexis Charges for 10-26-21                            9.90
 10/26/2021   LN        85353.00002 Lexis Charges for 10-26-21                           10.61
 10/26/2021   LN        85353.00002 Lexis Charges for 10-26-21                          102.54
 10/26/2021   LN        85353.00002 Lexis Charges for 10-26-21                           72.54
 10/26/2021   LN        85353.00002 Lexis Charges for 10-26-21                           11.00
 10/26/2021   LN        85353.00002 Lexis Charges for 10-26-21                            5.50
 10/26/2021   RE2       SCAN/COPY ( 65 @0.10 PER PG)                                      6.50
 10/26/2021   RE2       SCAN/COPY ( 40 @0.10 PER PG)                                      4.00
 10/26/2021   RE2       SCAN/COPY ( 133 @0.10 PER PG)                                    13.30
 10/26/2021   RE2       SCAN/COPY ( 49 @0.10 PER PG)                                      4.90
 10/26/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                      1.60
 10/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10
 10/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10
 10/26/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                      2.80
 10/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 10/26/2021   RE2       SCAN/COPY ( 272 @0.10 PER PG)                                    27.20
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 10/26/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                  0.50
 10/26/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 10/26/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 10/26/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                  0.40
 10/26/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 10/26/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                  0.40
 10/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                  0.10
 10/26/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                  0.10
 10/26/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                 1.90
 10/26/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                 1.30
 10/26/2021   RE2       SCAN/COPY ( 136 @0.10 PER PG)                               13.60
 10/26/2021   RE2       SCAN/COPY ( 93 @0.10 PER PG)                                 9.30
 10/26/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                 1.90
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                 1.30
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
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 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                            1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                            1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                            1.20
 10/26/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                            1.50
 10/26/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                            1.90
 10/26/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                             0.70
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                            1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                            1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                            1.20
 10/26/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                            1.20
 10/27/2021   AT        Auto Travel Expense [E109] Elite Transportation Services,              91.13
                        Inv. 18378032, BEL
 10/27/2021   BB        85353.00002 Bloomberg Charges through 10-27-21                        262.69
 10/27/2021   CC        Conference Call [E105] AT&T Conference Call, DG                         3.29
 10/27/2021   LN        85353.00002 Lexis Charges for 10-27-21                                  9.90
 10/27/2021   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                            2.50
 10/27/2021   RE2       SCAN/COPY ( 2378 @0.10 PER PG)                                        237.80
 10/27/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/27/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                             0.60
 10/27/2021   RE2       SCAN/COPY ( 290 @0.10 PER PG)                                          29.00
 10/27/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                             0.50
 10/27/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                             0.70
 10/27/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                             0.30
 10/27/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                             0.70
 10/27/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                            1.90
 10/27/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                            2.40
 10/27/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                            1.60
 10/27/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                            1.50
 10/27/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/27/2021   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                            3.90
 10/27/2021   RE2       SCAN/COPY ( 2050 @0.10 PER PG)                                        205.00
 10/27/2021   RE2       SCAN/COPY ( 2050 @0.10 PER PG)                                        205.00
 10/27/2021   RE2       SCAN/COPY ( 72 @0.10 PER PG)                                            7.20
 10/27/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                            1.20
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 10/27/2021   RE2       SCAN/COPY ( 63 @0.10 PER PG)                                            6.30
 10/27/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                            2.40
 10/27/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                            1.10
 10/27/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                             0.90
 10/27/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                             0.90
 10/27/2021   RE2       SCAN/COPY ( 72 @0.10 PER PG)                                            7.20
 10/27/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                            1.30
 10/27/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                            1.30
 10/27/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                            1.90
 10/27/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                            1.20
 10/27/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                            2.40
 10/27/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                             0.90
 10/27/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                             0.90
 10/27/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                             0.90
 10/27/2021   RE2       SCAN/COPY ( 72 @0.10 PER PG)                                            7.20
 10/27/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                            1.90
 10/27/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                            2.60
 10/27/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                             0.90
 10/27/2021   RE2       SCAN/COPY ( 72 @0.10 PER PG)                                            7.20
 10/27/2021   RE2       SCAN/COPY ( 72 @0.10 PER PG)                                            7.20
 10/28/2021   AT        Auto Travel Expense [E109] Elite Transportation Services,              91.13
                        Inv. 1837032, BEL
 10/28/2021   OS        Horowitz Agency, Inc. Inv. 117                                      5,450.00
 10/28/2021   RE        ( 11 @0.10 PER PG)                                                      1.10
 10/28/2021   RE        ( 1 @0.10 PER PG)                                                       0.10
 10/28/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                            1.90
 10/28/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                            3.20
 10/29/2021   LN        85353.00002 Lexis Charges for 10-29-21                                 44.02
 10/29/2021   OS        Shai Creates, Inv. 1141, TCC BSA Website, S. Horowitz               7,950.00
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                            4.20
 10/29/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                            1.70
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                            4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                            4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                            4.20
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 10/29/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                3.60
 10/29/2021   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                2.90
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 77 @0.10 PER PG)                                7.70
 10/29/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                 0.70
 10/29/2021   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                4.60
 10/29/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 10/29/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/29/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 10/29/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 10/29/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                1.50
 10/29/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                2.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 10/29/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
 10/29/2021   RE2       SCAN/COPY ( 48 @0.10 PER PG)                                4.80
 10/29/2021   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                4.40
 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                4.20
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 10/29/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                            4.20
 10/29/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/29/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/29/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/29/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 10/29/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                             0.90
 10/29/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                            2.30
 10/30/2021   RE        Reproduction Expense. [E101]                                            0.10
 10/31/2021   OS        Everlaw, Inv. 47223, BSA Local Councils database for the            4,202.00
                        Month of October
 10/31/2021   PAC       Pacer - Court Research                                                869.80

   Total Expenses for this Matter                                                       $35,083.66
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        10/31/2021

Total Fees                                                                                         $1,927,818.75

Total Expenses                                                                                          35,083.66

Total Due on Current Invoice                                                                       $1,962,902.41

  Outstanding Balance from prior invoices as of        10/31/2021          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed             Balance Due
 124829                  03/31/2020                $776,257.50            $6,064.88                   $77,225.75

 124887                  04/30/2020                $644,670.50            $3,045.94                   $64,467.05

 125106                  06/12/2020                $659,618.50            $3,681.07                   $86,211.20

 125539                  06/30/2020                $475,879.50            $5,651.98                   $47,587.95

 125735                  07/31/2020                $678,423.50            $6,612.09                   $67,942.35

 125834                  08/31/2020                $658,721.00          $31,478.15                   $132,144.20

 126305                  09/30/2020                $588,902.00          $15,777.88                   $117,780.40

 126536                  10/31/2020                $666,283.50          $19,826.31                   $133,256.70

 126917                  11/30/2020                $504,479.00          $11,755.14                   $100,895.80

 127218                  12/31/2020                $837,406.00          $12,415.20                   $167,481.20

 127391                  01/31/2021                $901,667.00          $19,291.93                   $180,333.40

 127727                  02/28/2021                $763,250.00            $9,386.00                  $152,647.30

 127893                  03/31/2021              $1,125,268.50          $27,728.90                   $224,942.70

 128145                  04/30/2021              $1,193,655.50          $18,802.13                   $238,721.60

 128328                  05/31/2021              $1,517,191.50          $47,494.45                   $303,438.30

 128709                  06/30/2021              $1,623,890.75          $16,089.84                 $1,639,980.59

 128750                  07/31/2021                $784,586.00          $25,808.76                   $810,394.76

 128963                  08/30/2021                $863,107.25          $24,494.57                   $887,601.82
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 129089                  09/30/2021        $1,347,686.00         $31,703.72               $1,379,389.72

             Total Amount Due on Current and Prior Invoices:                              $8,775,345.20
